                IN THE UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF WISCONSIN
                            MILWAUKEE DIVISION


 ANDREW L. COLBORN,

                       Plaintiff,

         vs.                                     Civil No.: 19-CV-484-BHL

 NETFLIX, INC.; CHROME MEDIA
 LLC, F/K/A SYNTHESIS FILMS, LLC;
 LAURA RICCIARDI; AND MOIRA
 DEMOS,

                       Defendants.


     DEFENDANTS’ JOINT RESPONSE TO PLAINTIFF ANDREW COLBORN’S
              ADDITIONAL PROPOSED FINDINGS OF FACT

       Pursuant to Civil Local Rule 56(b)(3)(B), Defendants Netflix, Inc. (“Netflix”), Chrome

Media LLC, Moira Demos, and Laura Ricciardi (“the Producer Defendants”) (collectively, “the

Defendants”), by and through undersigned counsel, for their Response to Plaintiff Andrew

Colborn’s Additional Proposed Findings of Fact (“CAPFF”) (Dkt. 325), state as follows:

                                    GENERAL OBJECTIONS

I.     Colborn’s 17-page, single-spaced, un-enumerated “Addendum” violates the Local
       Rules, and the Court should disregard the Addendum and all references to it in
       Colborn’s opposition papers.

       Incorporated in Plaintiff Andrew Colborn’s memorandum of law in opposition to the

Defendants’ Motions for Summary Judgment (see Dkt. 327 at 3-27) and appended in a longer

format to his responses to the Defendants’ respective Proposed Findings of Fact (see Dkts. 323-

1, 324-1, 326-1) is a document titled “Addendum to Response to Defendants’ Proposed Findings

of Fact: Episode Summaries” (the “Addendum”). Pages 3 through 27 of the Opposition are an




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abridged version of the Addendum that then cite to the Addendum itself as the supporting,

factual record. The Addendum—a 17-page, single-spaced, un-enumerated “summary” of Making

a Murderer (“MAM”)—is improper for at least four reasons. As set forth fully below, Defendants

object to the Addendum, and respectfully request that the Court disregard it.

       First, Civil L. R. 56(b)(2)(B) does not permit such a document to be submitted or

considered by the Court on summary judgment. That rule contemplates “a concise response to

the moving party’s statement of facts” and requires “reproduction of each numbered paragraph in

the moving party’s statement of facts followed by a response to each paragraph.” Colborn

purported to file such responses at Dkts. 323, 324, and 326, and he filed his 95 additional

statements of fact at Dkt. 325. But nothing in the Local Rules contemplates the third “factual”

document Colborn filed—the Addendum. The Addendum does not include cross-cites to the

various statement of fact documents, nor do the statement of fact documents address all the facts

in the Addendum. As a result, nothing in the Local Rules provides to the Defendants a

mechanism by which to respond to the allegations contained therein. The Addendum, and any

reference to or reliance on it in the papers Colborn filed in opposition to Defendants’ Motions for

Summary Judgment, therefore severely prejudices the Defendants. Colborn had the same

opportunity as any other litigant, including the Defendants in this case, to (1) respond to the

moving party’s Proposed Findings of Fact and (2) put forth 100 additional, material facts in his

CAPFF. He did both—and he submitted the Addendum, which those same rules do not

contemplate. Accordingly, the Defendants do not respond to Colborn’s improper Addendum, and

the Court should similarly disregard it.

       Second, the Addendum is neither competent evidence nor a factual document. Rather, it

is attorney characterization and argument. Citations to the Addendum in any of his opposition




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papers are therefore improper. MaM speaks for itself, and the Court must consider the challenged

statements in the context of the whole 10-hour series. See Fed. R. Evid. 106; Fed. R. Evid. 1001–

08; Bd. of Forensic Document Exam’rs, Inc. v. ABA, 922 F.3d 827, 832 (7th Cir. 2019); Mach v.

Allison, 259 Wis. 2d 686, 712, 656 N.W.2d 766, 788 (Wis. Ct. App. 2003); see also Dkt. 269 at 8

n.3, 30, 33, 36; Dkt. 307 at 4, 9, 10 n.3; Dkt. 309 at 2, General Objection No. 1. For this reason

too, the Defendants object to the Addendum’s consideration and any reliance thereon in

Colborn’s opposition papers, and respectfully request that the Court simply watch the series.

Netflix previously filed all 10 episodes at Dkts. 120-1 to 120-10.

       Third, to the extent Colborn wishes to rely on the Addendum for the purpose of asking

the Court to make findings of material fact regarding the contents of MaM, he should have done

so under the procedures provided in the Local Rules. It was incumbent on him to describe the

portions of each episode on which he relies in opposing the Defendants’ motions for summary

judgment in separately numbered paragraphs, limited to one material fact per paragraph and with

time stamps to each passage from the series. This is what Defendants did in their respective

statements of Proposed Findings of Fact—for example, to show the many instances in which

MaM portrays a pro-law enforcement, anti-Steven Avery perspective such that no reasonable

viewer could have concluded that MaM was adopting or endorsing Avery’s frame-up theory. See

generally Dkts. 271, 291.1 Had Colborn done so, he would have far exceeded the 100-fact limit

on the “facts” in the Addendum alone. His failure to follow the procedures set forth in Civil




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  Indeed, out of an abundance of caution, Netflix made its summary of each material fact from
MaM’s episodes its own, individual enumerated paragraph. Doing so used 59 of Netflix’s
allotted 150 facts, as permitted under the Local Rules. See, e.g., Dkt. 271 ¶¶ 25-83. If Netflix had
believed an un-enumerated “Addendum” was proper, it undoubtedly would have used those 59
items to address some other topic.


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Local Rule 56 should not be rewarded, and the Court should decline to consider any “facts” to

the extent they appear only in the Addendum and not in the CAPFF.

       Fourth, and finally, to the extent Colborn’s Addendum includes statements from the

series which were not expressly pleaded in the body of his Second Amended Complaint

(“SAC”), or even either of its exhibits, these statements are not at issue in this case because

Colborn has failed to properly plead them. See Dkt. 309 at 2-3, General Objection No. 2. It was

Colborn’s burden to properly plead and put at issue all of the statements from MaM he is

challenging in this case, and he had three opportunities to do so, including his original complaint,

filed on December 17, 2018; his Amended Complaint, filed on March 4, 2019; and his Second

Amended Complaint, filed on January 3, 2020. Accordingly, the Defendants dispute the

materiality and the propriety of any statements which appear in Colborn’s Addendum, but which

were not pleaded—and therefore not put at issue—in the SAC. See Shanahan v. City of Chicago,

82 F.3d 776, 781 (7th Cir. 1996) (“A plaintiff may not amend his complaint through arguments

in his brief in opposition to a motion for summary judgment.”).

II.    The Court should disregard any additional proposed findings of fact beyond the 100
       that the Local Rules permit.

       Colborn has violated Civil Local Rule 56 in at least two other ways as well. The rule

includes an express limitation on the number of additional facts that a non-moving party can put

forth, without leave of court: 100. See Civil L. R. 56(b)(2)(B)(ii). It also directs that each

additional fact must appear in a separately numbered paragraph and “be limited to one material

fact.” Id. Colborn fails to abide by either requirement.

       Colborn did not move the Court for leave to file more than 100 facts in response to the

Defendants’ respective Motions for Summary Judgment. Instead, in an attempt to evade the 100-

fact limit, the vast majority of Colborn’s proposed facts are improperly compound. As one



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example, No. 74 includes six single-spaced, un-enumerated bullet points that run for more than a

page, where Colborn attempts to summarize several scenes that he alleges distort his real-life

physical reactions. See id. At bare minimum, each supposed “example” included in No. 74

should have been a distinct, enumerated fact. This alone would have put Colborn over the 100-

fact limit under the local rules, given that he started with 95 additional proposed facts. Yet

another example is No. 46, in which Colborn attempts to propose as material facts the contents of

at least 14 voicemail messages. Breaking these 14 voicemails out into their own distinct,

enumerated facts would, again, have exceeded the 100-fact limit of the local rules.

       Colborn also fails to include in his CAPFF all of the actual, additional “facts” he cites in

responding to the Defendants’ respective statements of Proposed Findings of Fact—allegations

that appear nowhere else in the summary judgment record. The problem with this is twofold.

First, on reply, the Local Rules do not permit for Defendants to respond to Colborn’s “response”

to their facts—rather, the rules allow only for a response to Colborn’s CAPFF. By failing to

include the new “facts” in his CAPFF, Colborn denies the Defendants a mechanism through

which to respond to those facts. Second, the rules allow only 100 additional facts to be

introduced on opposition to a motion for summary judgment. By not including the new “facts”

from his response in the CAPFF, Colborn again evades the strictures of the Local Rules with

which the Defendants complied. This is improper gamesmanship that prejudices the Defendants.

       The Defendants object to both of Colborn’s flagrant violations of Civil Local Rule

56(b)(2)(B)(ii), which it believes are sanctionable. It is entirely within the Court’s discretion to

read to whatever it considers to be the 100th fact in Colborn’s CAPFF, properly counted, and

then stop reading—and to disregard portions of Colborn’s Opposition that rely on facts that

exceed the limits of the Local Rules. In any event, Defendants have responded to the 95 items




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Colborn listed in the CAPFF, notwithstanding their compound nature, and they have also

painstakingly identified, listed, and responded to each of the new facts Colborn included in his

response to Defendants’ respective statements of Proposed Findings of Fact (Dkts. 323 and 326).

It has assigned each of these “new” facts its own number, starting with No. 96.

III.   The Court should rely on the best evidence, and MaM and the Parties’
       communications speak for themselves.

       Defendants generally object to Colborn’s characterizations of MaM and the Parties’

communications and instead ask the Court to rely on the best evidence. MaM speaks for itself,

and the Court must consider it as a whole and in context. See Fed. R. Evid. 106; Fed. R. Evid.

1001–08; Bd. of Forensic Document Exam’rs, Inc. v. ABA, 922 F.3d 827, 832 (7th Cir. 2019).

Similarly, the Parties’ communications speak for themselves. See id.

       As one example, Defendants demonstrated in their Oppositions to Plaintiff’s Motion for

Partial Summary Judgment that there are a number of transcription errors—both material and

immaterial—in Colborn’s cross motion papers, as well as misleading use of quotation marks for

words and phrases that don’t appear in the underlying evidence. See, e.g., CAPFF ¶ 15(a) infra.

Moreover, Colborn regularly selectively quotes from portions of several, unrelated documents,

representing them as if related or from a single document, and/or removing the quoted portions

from their context. See, e.g., CAPFF ¶¶ 34, 36 (attempting to impute use of the terms “key

villain” and “mastermind” as against Colborn, when the notes make clear the individuals to

whom they are referring, which are expressly not Colborn).

       These examples underscore how Colborn’s characterization of MaM and the evidence is

misleading and unreliable, and the best evidence remains MaM and the Parties’ communications

themselves.




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IV.     The Court must consider each Defendants’ subjective state of mind separately.

        In the interest of streamlining this case, Defendants file a joint response here, but they

object to any suggestion that they share a state of mind. Actual malice is based on an individual

defendant’s subjective state of mind, and one defendant’s intent cannot just be imputed to

another. See St. Amant v. Thompson, 390 U.S. 727, 731 (1968). Accordingly, Netflix objects to

Colborn conflating its state of mind with the Producer Defendants, and vice versa. The Producer

Defendants object to any suggestion that notes from Netflix reflect the Producer Defendants’

state of mind, and vice versa. Defendants also object to any efforts to conflate the personal

opinions of an employee who lacked decision-making authority with any Defendants’ state of

mind.

        In particular, Defendants object to any mischaracterization of Mary Manhardt as

“Defendants,” “Chrome’s editor,” “MaM’s primary editor,” “MaM’s creator,” or “Chrome’s

creative team,” or any efforts to conflate her personal opinions with any Defendants’ state of

mind. See, e.g., CAPFF ¶¶ 3, 7(c), 9(c), 10(c), 19(c), 37(b), 39 (a). Moira Demos was the lead

editor of the series, and Manhardt’s testimony details her project-based editing role, noting that

by the time she joined the team, “films that were 1 through 4 I guess were in very good shape.

They were very solid rough cuts, very solid,” Dkt. 330-14 (Manhardt Tr.) at 53:17–54:8, and

responding to question about being a “consulting editor” on Episodes 5 to 9, “those were really

Moira’s and I did almost nothing on them except watch them and give notes, which is what a

consulting editor does.” Id. at 54:11–19. Manhardt’s credits reflect her role, including

“consulting editor” for Episodes 5 to 9 (which includes the trial episodes), “additional editor” for

Episodes 2 to 4, “co-editor” for Episode 1, and “editor” only for Episode 10. See Dkt. 290

(Ricciardi Decl.) ¶ 39; Dkt. 288 (Demos Decl.) ¶ 40; Dkt. 330-14 at 52:8–55:13. In comparison,

Demos received “editor” credit for all ten episodes and shared editor credit for only one episode:


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Episode 10. See id.; see MaM credits. Manhardt worked under Demos and Ricciardi’s instruction

and supervision. See id. Manhard’s opinions do not reflect the subjective state of mind of either

the Producer Defendants or Netflix.

V.      Beyond state of mind, the Court should resist Colborn’s attempts to conflate one
        Defendant’s conduct with another’s in this litigation and the events giving rise to it.

        From the beginning of this case, in the original complaints, the subsequent amended

complaints, and throughout the discovery process, Colborn has demonstrated an unwillingness to

recognize that, while Chrome Media LLC, Laura Ricciardi, and Moira Demos are part of a

common enterprise, Netflix is a distinct corporate entity that had a specific role in the creation

and release of MaM. In his most recent filings, this manifests in the form of accusing

“Defendants,” in the collective, of supposedly “refusing” to produce certain evidence, including

assembled cuts. See, e.g., Dkt. 323 ¶¶ 1, 78, 110, 111. Netflix has been very clear for many

months that it never received, possessed, or even watched any raw footage or other source

material, and that it did not retain any cut of any episode except the final cut. Dkt. 271 ¶¶ 110-11.

Colborn has no evidence to the contrary. See generally, e.g., Dkt. 323. Netflix never had

possession of such video evidence, and it certainly has not “refused” to produce it.

        Nor did the Producer Defendants “refuse” to produce evidence. As explained in depth in

July and August 2022 correspondence, the Producer Defendants produced everything they

agreed to and disclosed what materials they no longer possessed. See Dkt. 316-2 at 4; see also

Supp. Decl. of Kevin Vick, Ex. 1 at 4. Tellingly, Colborn never moved to compel further

discovery. See id. Crucially, all the raw footage of Colborn was produced—the Producer

Defendants produced all raw footage from all camera feeds of Colborn testifying at Avery’s

trial. Dkt. 288 ¶ 30.




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              DEFENDANTS’ JOINT RESPONSES TO PLAINTIFF’S ADDITIONAL
                      PROPOSED FINDINGS OF FACT (DKT. 325)2

         1.      This case arises out of the Netflix series, “Making a Murderer” (“MAM”).

Defendants Chrome Media, LLC (“Chrome”) and its principals, Laura Ricciardi and Moira

Demos, take significant credit for the content of MAM, contending that they are “producers” of

the series. However, Netflix was also undeniably heavily involved in the creative development of

each and every episode, as described further below. Netflix approved the final cuts of all MAM

episodes. Dkt #286; Barker Decl., Ex. 3, Nishamura Tr. at pp. 170-71; Ex. 4, Del Deo Tr. at p.

141; see also Barker Decl., Ex. 21. Netflix aimed to craft the series from “a marketing

perspective” and also from an “awards qualifying perspective.” Barker Decl., Ex. 1 (NFXCOL

¶308).

         Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 4 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

         1(a).    This case arises out of the Netflix series, “Making a Murderer” (“MAM”).

Defendants Chrome Media, LLC (“Chrome”) and its principals, Laura Ricciardi and Moira

Demos, take significant credit for the content of MAM, contending that they are “producers” of

the series. Undisputed.




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  For the Court’s ease of reference and convenience, Defendants have followed the numerical
sequence of Colborn’s CAPFF. However, they note that there are actually 95 facts, rather than
94, as numbered by Colborn. This is so because No. 48 was intentionally left blank, but there are
two sets of No. 53 and two sets of No. 74. Additionally, several of Colborn’s facts are
compound, and should have been separately numbered statements, bringing the total of
additional proposed facts well beyond the 100 additional facts permitted by Civil L. R. 56
(b)(2)(B)(ii). Defendants object to all facts over No. 100.


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        1(b).    However, Netflix was also undeniably heavily involved in the creative

development of each and every episode, as described further below. Disputed as attorney

argument unsupported by record evidence, vague, and misleading. Defendants respond to

Colborn’s specific proposed facts regarding Netflix’s involvement in MaM as they arise below.

        1(c).    Netflix approved the final cuts of all MAM episodes. Dkt #286; Barker Decl., Ex.

3, Nishamura Tr. at pp. 170-71; Ex. 4, Del Deo Tr. at p. 141; see also Barker Decl., Ex. 21.

Undisputed.

        1(d).    Netflix aimed to craft the series from “a marketing perspective” and also from

an “awards qualifying perspective.” Barker Decl., Ex. 1 (NFXCOL ¶308). This allegation goes

only to Netflix’s state of mind and Netflix is thus in the best position to answer it. Undisputed

that the document cited contains the quotations “a marketing perspective” and “awards

qualifying perspective.” Disputed as misleading, removed from its context, and immaterial. The

document speaks for itself, see Dkt. 330-1 at NFXCOL0000308, and makes clear that these

comments were made by Netflix in reference to whether the Defendants could afford to “push

the overall start [i.e., release] date” of MaM “or else restructure” several episodes to release the

final episodes of the series “at a later date.” Id.

        2.       During the course of MAM’s production, Netflix’s creative team and the creative

team for Chrome participated in calls that were held for the most part on a weekly basis. Barker

Decl., Ex. 2 (Manhardt 65). At these calls, Netflix provided its comments and direction for the

series. Id. Netflix creators viewed numerous versions of the respective editors and had seen early

“assemblies,” or what amounted to very rough drafts, of the earliest episodes. Id. Ex. 1

(NFXCOL 1906).




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       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 3 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       2(a).   During the course of MAM’s production, Netflix’s creative team and the creative

team for Chrome participated in calls that were held for the most part on a weekly basis. Barker

Decl., Ex. 2 (Manhardt 65). Undisputed that certain creative executives from Netflix met with

Laura Ricciardi and Moira Demos on a regular basis in 2015, the year MaM was released. See

Dkt. 291 ¶ 87. The Producer Defendants object to the phrase “creative team for Chrome” as

vague and clarify that Ricciardi and Demos were Chrome’s creative leads who oversaw the work

of any contributing editors. See Dkt. 290 ¶ 39; Dkt. 288 ¶ 40; see also General Objection § IV,

supra. Disputed that Netflix was involved throughout MaM’s production, which began in

December 2005. Netflix was only involved starting in 2014. See Dkt. 290 ¶ 39; Dkt. 288 ¶ 38;

see also Dkt. 291 ¶ 86.

       2(b).   At these calls, Netflix provided its comments and direction for the series. Id.

Disputed that Netflix “directed” MaM or required the Producer Defendants to make changes to

it. Undisputed that Netflix discussed its creative notes and feedback on episodes with the

Producer Defendants on regular calls in 2015. Dkt. 271 ¶ 97.

       2(c).   Netflix creators viewed numerous versions of the respective edits and had seen

early “assemblies,” or what amounted to very rough drafts, of the earliest episodes. Id. Ex. 1

(NFXCOL 1906). Undisputed that the Producer Defendants provided Netflix with “rough cut[s]”

(or “assemblies”) of early versions of Episodes 1 and 2 of MaM when pitching the series to

Netflix. See, e.g., Dkt. 288 ¶ 38; Dkt. 290 ¶ 39; Third Decl. of Leita Walker (“Third Walker

Decl.”) Ex. 1 (CHRM000006). Further undisputed that Netflix executives testified at their




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depositions in this case to viewing several rounds of “cuts” of MaM episodes. See Third Walker

Decl. Ex. 2 (Del Deo Tr.) at 33:23-34:6; id. Ex. 3 (Nishimura Tr.) at 104:14-105:6.

        3.      Chrome intended that the “storyline” of MAM would assist viewers to “regain

faith” in Steven Avery despite his conviction for the Halbach murder and persuade them to

“question the evidence” against him. Barker Decl., Ex. 2 (Manhardt 141); see also Barker Decl.,

Ex. 2 (Manhardt 149) (MAM’s creators hoped that the audience would “feel guilty” for initially

believing prosecutors’ allegations against Avery); Barker Decl., Ex. 2 (Manhardt 63) (Chrome’s

primary editor treated the Averys as the “underdog heroes” of the series, while law enforcement

representatives were portrayed as the “overdogs.”); (Manhardt 86, 432, 469, 473, 549) (Chrome

editors also expressed personal affection – “lots of love” – to Avery and his family).

        Response: This allegation goes only to Chrome’s state of mind and Chrome is thus in the

best position to answer it. Undisputed that Mary Manhardt expressed her personal reactions and

emotions in response to reviewing source material. Disputed that Manhardt was “primary

editor” of MaM and that her personal opinions may be conflated with any Defendants’ state of

mind, which is attorney argument unsupported by record evidence. See General Objections § IV

supra. Undisputed that the Producer Defendants intended to leave viewers with open questions

but otherwise disputed as attorney argument. See Dkt. 291 ¶¶ 93, 125; Dkt. 288 ¶ 48; Dkt. 290

¶ 47.

        4.      Chrome was so invested in Avery’s quest to prove his alleged innocence that

they were also involved in efforts to brainstorm with Avery’s defense attorneys to attempt to

obtain additional testing of evidence presented in his defense, news that Netflix embraced.

Barker Decl., Ex. 1 (NFXCOL 1907, 1930). Netflix likewise started from the point of view that




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Avery was “innocent” of the Halbach murder and that the judge was “biased” against him.

Barker Decl., Ex. 1 (NFXCOL 1949, 1961, 2131).

       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 3 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       4(a).    Chrome was so invested in Avery’s quest to prove his alleged innocence that they

were also involved in efforts to brainstorm with Avery’s defense attorneys to attempt to obtain

additional testing of evidence presented in his defense. Barker Decl., Ex. 1 (NFXCOL 1907,

1930). This allegation goes only to Chrome’s state of mind and Chrome is thus in the best

position to answer it. Undisputed that the Producer Defendants filmed events as they unfolded

in real time and sought access to film case developments as they occurred. The Producer

Defendants’ discussions with Buting to access the blood vial for testing should be considered in

the context of the events of 2007 and the need for Buting himself to film the discovery of the

unsealed blood vial because the Producer Defendants were not permitted access. See Dkt. 291

¶ 49; Dkt. 290 ¶ 36; Ep. 4 (Dkt. 120-4) at 1:02:26–1:04:14; 1:05:11; Fed. R. Evid. 106. Disputed

as immaterial and inaccurate. This statement is not about Colborn and therefore not actionable by

him. Defendants had no stake in proving innocence or guilt; they did not reach a conclusion and

instead hoped MaM would raise questions for viewers. See Dkt. 291 ¶¶ 93, 125.

       4(b).    [This was] news that Netflix embraced. This allegation goes only to Netflix’s

state of mind and Netflix is thus in the best position to answer it. Disputed as attorney argument

unsupported by record evidence.

       4(c).    Netflix likewise started from the point of view that Avery was “innocent” of the

Halbach murder and that the judge was “biased” against him. Barker Decl., Ex. 1 (NFXCOL




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1949, 1961, 2131). This allegation goes only to Netflix’s state of mind and Netflix is thus in the

best position to answer it. Undisputed that NFXCOL0001949 contains the word “innocent.”

Disputed as misleading, removed from the context of the entire notes, immaterial, and not “of

and concerning” Colborn. This allegation is misleading because the note indicates that the point

of view that Avery was “innocent” belongs to Avery’s parents. The note, in relevant part, states

as follows: “Avery’s Parents: It’s heartbreaking and effective to have this up close look at

parents watching their innocent son in this situation. However, it feels that we’re leaning in on

Avery’s parents too much overall.” See Dkt. 330-1 at NFXCOL0001949. Undisputed that

NFXCOL0001961 contains the word “biased” in reference to Judge Willis. Disputed as

misleading and not “of and concerning” Colborn. The allegation is misleading because the note,

which speaks for itself, in no way indicates Netflix started from the point of view that the judge

was biased against Avery. NFXCOL0001961 is about Episode 7 of MaM.

       5.       In telling its story, MAM relies heavily on Avery and people who were friendly

to him as “reliable narrators.” Barker Decl., Ex. 2 (Manhardt 381, 406, 483, 493, 529). In

particular, Netflix sought to augment the series’ reliance on “voiceovers” by Avery himself to

tell Avery’s “narrative.” Id. Ex. 1 (NFXCOL 199, 2011).

       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 2 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       5(a).    In telling its story, MAM relies heavily on Avery and people who were friendly to

him as “reliable narrators.” Barker Decl., Ex. 2 (Manhardt 381, 406, 483, 493, 529).

Undisputed that the series has no “voice of God” narration and instead uses commentary from

identified individuals with first-hand knowledge of the events, including pro-law enforcement




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sources, with all affiliations disclosed to the audience. See Dkt. 291 ¶ 72; Dkt. 290 ¶ 47; Dkt. 288

¶ 48; Dkt. 330-14 at 94:10–95:2 (“There are different sorts of documentary films, and one sort is

the one where you have objective people. And maybe it’s the voice of God narrator or maybe it’s

outside people who are weighing in on this. This is not that sort of film. This is people who were

there and had firsthand knowledge and their experience.”); see also Dkt. 291 ¶ 72.

       5(b).    In particular, Netflix sought to augment the series’ reliance on “voiceovers” by

Avery himself to tell Avery’s “narrative.” Id. Ex. 1 (NFXCOL 199, 2011). Undisputed that the

word “narrative” appears in NFXCOL0000199. Further undisputed the words “narrative” and

“V.O.” (or “voiceovers”) appear in the separate and unrelated document NFXCOL0002011.

Disputed as misleading, removed from the context of the entire note, and immaterial. See

General Objections § III supra.

       6.       The final product for MAM, according to Netflix’s creative team, was to provide

“an immersive and all-encompassing experience for the viewer including deft and unexpected

foreshadowing of key elements, pitch perfect call-backs of evidence and breathtaking reveals,”

accompanied by a “thriller” atmosphere imparted through the music score. Id. Ex. 1 (NFXCOL

1933-34). Netflix advised Chrome that Netflix was looking for the series to leave viewers feeling

“terrified and enraged, to feel as though it’s their responsibility and need to discuss this case, to

raise it in the social consciousness and to drive awareness . . . . Leave the audience feeling

angry!” Barker Decl., Ex. 1 (NFXCOL 1964, 2125). They further directed, “Our audience needs

to be left not only feeling extremely upset and saddened for Steven and Brendan but also

incredibly angry.” Id. “We want to feel the swells of hope, the range of injustice, the horror of

the defenseless,” Netflix continued. “Viewers across the globe should be in tears and shouting at

their screens throughout.” Id. Ex. 1 (NFXCOL 1977). Netflix directed Chrome to “ratche[t] up”




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the episode in which the guilty verdict against Avery is returned, stating, “Currently the beat

emits anger and we feeling injustice was done, but given the overall investment made in

watching 8 hours thus far, the audience should be feeling more intense anger, sadness,

bewilderment, and perhaps even fury at this jury decision.” Id. (NFXCOL 2163-64, 2186-87). In

order to further infuriate viewers, Netflix encouraged Chrome to look for footage of Avery and

his family looking disappointed and footage of law enforcement officers, including Mr. Colborn,

“showing satisfaction.” Id.

       Response: This allegation goes only to Netflix’s state of mind and Netflix is thus in the

best position to answer it. Defendants object to this proposed finding of fact as compound,

joining as 1 proposed fact at least 7 distinct proposed facts which should have been separately

enumerated, in violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       6(a).    The final product for MAM, according to Netflix’s creative team, was to provide

“an immersive and all-encompassing experience for the viewer including deft and unexpected

foreshadowing of key elements, pitch perfect call-backs of evidence and breathtaking reveals,”

accompanied by a “thriller” atmosphere imparted through the music score. Id. Ex. 1 (NFXCOL

1933-34). Undisputed that the documents cited contain the quotations above. Disputed as

misleading, removed from the context of the entire note, not “of and concerning” Colborn, and

immaterial. See General Objections § III supra. The note, in context, reads:

       The macro note [about Episodes 1-4 to date] is that the elements are all there, but the
       organization, structure, and pacing of the parts needs to be re-examined and elevated
       entirely. The story begs for a more sophisticated editing style which will provide for an
       immersive and all-encompassing experience for the viewer including deft and unexpected
       foreshadowing of key elements, pitch perfect call-backs of evidence and breathtaking
       reveals.

See Dkt. 330-1 at NFXCOL0001933. The latter note from which Colborn quotes reads in full:

“MUSIC: Currently, it feels like sometimes the music works, sometimes it’s off, and other times



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simply too slow of a pace. All in all, we do need to get a composer on board that understands a

thriller atmospheric score.” See id. at NFXCOL0001934.

       6(b).    Netflix advised Chrome that Netflix was looking for the series to leave viewers

feeling “terrified and enraged, to feel as though it’s their responsibility and need to discuss this

case, to raise it in the social consciousness and to drive awareness . . . . Leave the audience

feeling angry!” Barker Decl., Ex. 1 (NFXCOL 1964, 2125). Undisputed that the documents

cited contain the words quoted above. Disputed as misleading, removed from the context of the

entire note, not “of and concerning” Colborn, and immaterial. See General Objections § III

supra. The note, in context, reads,

       ENDING: Currently, given the investment the audience has made in the 8
       episodes, the ending feels anti-climactic. . . . To close, remember, we’re looking
       for people to feel terrified and enraged; to feel as though it’s their responsibility &
       need to discuss this case, to raise it in the social consciousness and to drive
       awareness and potentially a new legal look in the same way society did for The
       West Memphis Three. Leave the audience feeling angry!

See Dkt 330-1 at NFXCOL0001964, 2125 (same note); see also Dkt. 272 ¶ 13.

       6(c).    They further directed, “Our audience needs to be left not only feeling extremely

upset and saddened for Steven and Brendan but also incredibly angry.” Id. Disputed that Netflix

“directed” MaM or required the Producer Defendants to make changes to it. Dkt. 271 ¶ 97.

Undisputed that the documents cited contain the words quoted above, but disputed as

misleading, removed from the context of the entire note, not “of and concerning” Colborn, and

immaterial. See General Objections § III supra; see also Dkt. 272 ¶ 13. This note, too, is about

the ending of the series feeling “anti-climactic,” “given the investment the audience has made in

the 8 episodes.” See Dkt. 330-1 at NFXCOL0001964, 2125 (same).

       6(d).    “We want to feel the swells of hope, the range of injustice, the horror of the

defenseless,” Netflix continued. Disputed as misleading, removed from the context of the entire



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note, not “of and concerning” Colborn, and immaterial. See General Objections § III supra.

Colborn’s use of “Netflix continued” mischaracterizes the evidence because this quote comes

from an entirely different set of notes, NFXCOL0001977, not NFXCOL0001964 as cited above.

The note from which this quotation is plucked, in context reads,

       STATUS: The series is amazing. It is a major accomplishment to lay out such a complex
       case in such a clear and suspenseful way. [] Some structural & pacing challenges may not
       support full audience engagement for such a long view that at times gets very granular.
       GOALS: [] Identify final overall series structure which supports the most impactful,
       compelling and revelatory storytelling, including:
            Ideal number of episodes (9-10?)
            Ideal length of episodes (recommending 50 minute target, no greater than 60)
            Best opens and closes (see specific notes in Structural Breakdown)
            Red Herrings
            Expand the emotional range for the viewer throughout the series. We want to feel
               the swells of hope, the rage of injustice, the horror of the defenseless. Viewers
               across the globe should be in tears and shouting at their screens throughout.

Dkt. 330-1 at NFXCOL0001977.

       6(e).   “Viewers across the globe should be in tears and shouting at their screens

throughout.” Id. Ex. 1 (NFXCOL 1977). Disputed as misleading, removed from the context of

the entire note, not “of and concerning” Colborn, and immaterial. See Response to 6(d), above,

which Defendants incorporate here by reference.

       6(f).   Netflix directed Chrome to “ratche[t] up” the episode in which the guilty verdict

against Avery is returned, stating, “Currently the beat emits anger and we feeling injustice was

done, but given the overall investment made in watching 8 hours thus far, the audience should be

feeling more intense anger, sadness, bewilderment, and perhaps even fury at this jury decision.”

Id. (NFXCOL 2163-64, 2186-87). Disputed that Netflix “directed” MaM or required the

Producer Defendants to make changes to it. Dkt. 271 ¶ 97. Further disputed as inaccurate,

misleading, removed from the context of the entire note, not “of and concerning” Colborn, and

immaterial. See General Objections § III supra. The note, in context, reads,



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       26:37 – 28:55 – THE VERDICT – The reading of the guilty verdict of Steven still
       doesn’t feel climactic enough given the entire series has been building to this
       moment. Perhaps enhancing the music and/or cutting to other members of the
       Avery family in the courtroom showing strong disappointment on their faces
       (conversely, maybe adding any shots of Kratz, Colburn, Fassbender, etc. and their
       team showing satisfaction would work too), and adding an overall intensifying of
       the cutting style would help drive this into a more climactic moment. Currently,
       the beat emits anger and we feel injustice was done, but given the overall
       investment made in watching 8 hours thus far, the audience should be feeling
       more intense anger, sadness, bewilderment, and perhaps even fury at this jury
       decision. Take a look at see if it can be ratched up.

See Dkt. 330-1 at NFXCOL0002163-2164.3

       6(g).    In order to further infuriate viewers, Netflix encouraged Chrome to look for

footage of Avery and his family looking disappointed and footage of law enforcement officers,

including Mr. Colborn, “showing satisfaction.” Id. Disputed that Netflix made this note “[i]n

order to further infuriate viewers;” this is attorney argument unsupported by record evidence.

Further disputed as inaccurate, misleading, removed from the context of the entire note, not “of

and concerning” Colborn, and immaterial. See also Response to 6(f), above, which Defendants

incorporate here by reference. It is also substantially true that Avery and his family were

disappointed, and that law enforcement, including Colborn, was “satisfied” with the guilty

verdict. See Colborn Tr. at 236:12-18; id. at 241:21-242:6.

       7.       Netflix advised Chrome that Avery’s civil suit was to be portrayed as a virtually

assured victory prior to the Halbach murder. Barker Decl., Ex. 1 (NFXCOL 1946). None of the

attorneys who were involved in the defense of the Avery suit appear in the episode, nor is there


3
 Colborn also cites to NFXCOL0002186-2187. As an initial matter, these are two separate
documents, unrelated to one another and which happen to have sequential Bates numbers.
Additionally, NFXCOL0002187-2188 is about the MaM trailer, which was never put at issue in
any of Colborn’s three complaints, and therefore is not relevant to this case. Colborn’s reliance
on NFXCOL0002185-2186 is similarly misplaced, as the email thread is about finding an
additional editor to join the Producer Defendants’ editing team, does not contain the quotes
above, and is not about—nor does it even reference—Colborn.


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any independent legal commentary that might describe, for example, the legal standard that a

plaintiff is required to meet in order to prevail on a claim like Avery’s. Cf. Dkt. #120-2 (Episode

2, featuring Steven Glynn and Walt Kelly discussing the civil case). Chrome’s editor testified

that while some films include objective commentators, this was “not that sort of film.” Barker

Decl., Ex. 13 at pp. 94-95.

       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 3 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       7(a).    Netflix advised Chrome that Avery’s civil suit was to be portrayed as a virtually

assured victory prior to the Halbach murder. Barker Decl., Ex. 1 (NFXCOL 1946). Disputed

that Netflix required the Producer Defendants to make changes to the series. Dkt. 271 ¶ 97.

Further disputed as incomplete, misleading, removed from the context of the entire note, and

immaterial. See General Objections § III supra. The note in no way suggests portraying Avery’s

civil lawsuit as a virtually assured certainty. Rather, it explains that the sequence on Avery’s

civil lawsuit “runs way too long” and “could be a quick 2-3 minute scene,” ending with a

quotation from one of Avery’s attorneys already present in the cut provided to Netflix. See Dkt.

330-1 at NFXCOL0001946.

       7(b).    None of the attorneys who were involved in the defense of the Avery suit appear

in the episode, nor is there any independent legal commentary that might describe, for example,

the legal standard that a plaintiff is required to meet in order to prevail on a claim like Avery’s.

Cf. Dkt. #120-2 (Episode 2, featuring Steven Glynn and Walt Kelly discussing the civil case).

Undisputed that the Producer Defendants included subjects who agreed to be interviewed,

which did not include the attorneys defending against Avery’s civil rights lawsuit. Dkt. 290 ¶ 12;




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Dkt. 288 ¶ 12; see also Dkt. 291 ¶¶ 66, 67. Undisputed that MaM did not include independent

legal commentators, as the Producer Defendants chose to only include commentary from

identified individuals with first-hand knowledge of the events, including pro-law enforcement

sources, with all affiliations disclosed to the audience. See Dkt. 290 ¶ 47; Dkt. 288 ¶ 48; Dkt.

330-14 at 94:10–95:2; see also Dkt. 291 ¶ 72. Disputed as immaterial as this aspect of the series

is not “of and concerning” Colborn.

       7(c).    Chrome’s editor testified that while some films include objective commentators,

this was “not that sort of film.” Barker Decl., Ex. 13 at pp. 94-95. Undisputed that Mary

Manhardt testified that MaM did not have an omniscient narrator. Disputed that Manhardt acted

as “Chrome’s editor” and that her personal opinions may be conflated with any Defendants’ state

of mind, which is attorney argument unsupported by record evidence. See General Objections

§ IV supra.

       8.       Netflix also provided direction that the episode should “set up” for viewers the

notion that Manitowoc County law enforcement were going to “seek revenge” against Avery

because of his civil suit. Barker Decl., Ex. 1 (NFXCOL 1940, 1978).

       Response: This allegation goes only to Netflix’s state of mind and Netflix is thus in the

best position to answer it. Disputed that Netflix “directed” MaM or required the Producer

Defendants to make changes to it. Dkt. 271 ¶ 97. Further disputed as misleading, removed from

the context of the entire note, and immaterial. See General Objections § III supra. First,

NFXCOL0001940, which is about Episode 3, does not include anything about a “set up” for

viewers or law enforcement “seeking revenge” against Avery. Second, NFXCOL0001978 is a

note about Episode 1 of MaM. It reads, “There should be a more explicit ending that makes it

clear that in the next episode the cops are going to seek revenge. We should have a really tight




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Episode 1 with a strong cliffhanger that immediately engages the audience to come back for

Episode 2.” See Dkt. 330-1 at NFXCOL0001978. It is also substantially true that Avery’s

defense at his trial for Halbach’s murder was that law enforcement planted evidence to ensure his

conviction due to embarrassment over his exoneration and fear of a $36 million damages award

in his civil lawsuit—i.e., Avery alleged that the cops were “seek[ing] revenge” against him. See

Dkt. 271 ¶¶ 13-15.

       9.       Netflix encouraged Chrome to include photos of Avery and his family to “make

them look like a very happy family.” Barker Decl., Ex. 1 (NFX 1935). Netflix likewise

encouraged the use of “sweet photos” of Avery and his nephew, Brendan Dassey as children “to

reinforce the sense of injustice and calamity” that was the series’ goal. Id., (NFX 1952). Where

convenient, Chrome’s editor expressed willingness to use footage from one family gathering to

represent it as another or to swap images of children regardless of their actual identities. Barker

Decl., Ex. 2 (Manhardt 0000328, 553-54).

       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 3 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       9(a).    Netflix encouraged Chrome to include photos of Avery and his family to “make

them look like a very happy family.” Barker Decl., Ex. 1 (NFX 1935). Disputed as misleading,

removed from the context of the entire note, not “of and concerning” Colborn, and immaterial.

NFXCOL0001935 highlights the contrast between the Averys’ life “before the crimes” with the

misery that followed. In any event, Colborn has not presented any evidence that the Averys were

not “a very happy family.”




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       9(b).    Netflix likewise encouraged the use of “sweet photos” of Avery and his nephew,

Brendan Dassey as children “to reinforce the sense of injustice and calamity” that was the

series’ goal. Id., (NFX 1952). Disputed as misleading, removed from the context of the entire

note, not “of and concerning” Colborn, and immaterial. NFXCOL0001952 says nothing about

“the series’ goal.” Rather, in relevant part, it discusses concerns with the pacing of Episode 3,

flagging “[o]ne macro element which may be leading to the slower pace and potential for viewer

disengagement [a]s the very abundant use of exterior shots during transition[]” moments. See

Dkt. 330-1 at NFXCOL0001952. Nor has Colborn presented any evidence that the “sweet photos

of Brendan and Steven and the family all together” are somehow materially false.

       9(c).    Where convenient, Chrome’s editor expressed willingness to use footage from

one family gathering to represent it as another or to swap images of children regardless of their

actual identities. Barker Decl., Ex. 2 (Manhardt 0000328, 553-54). Disputed as to the

characterization of Manhardt as “Chrome’s editor” and that her personal opinions may be

conflated with any Defendants’ state of mind. See General Objections § IV supra. Further

disputed as misleading, removed from its context, not “of and concerning” Colborn, and

immaterial. In the first email, Manhardt asks “how this measures up against the real chronology”

to inquire if she can use a scene from Thanksgiving. See Dkt. 330-2 at Manhardt00000328. In

the second email, Manhardt asks if she can use a baby in a photo as Jason and if it is Jason. See

Dkt. 330-2 at Manhardt00000553–54.

       10.      During his deposition in the Avery civil case, Mr. Colborn testified that he

received a call in 1994 or 1995, when he was working for the Manitowoc County jail, and the

caller indicated that someone in another county may have committed an assault and that someone

might be in the Manitowoc County jail for that same assault. Dkt. #120-14 depo. pp. 10-11. Mr.




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Colborn testified that he transferred the call to the Detective Division. Dkt. #120-14 pp. 14-15;

Dkt. #129-1 at 12:41-14:30. MAM’s editor had full access to the deposition videos and

transcripts from the civil case from which the excerpts were taken. Barker Decl., Ex. 13 pp. 70-

73, but a Chrome production email message noted that information about the call did not fit

neatly with Glynn’s accusation that nothing was done with the call at the time. Barker Decl., Ex.

2 (Manhardt 00000509, 524).

       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 3 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       10(a). During his deposition in the Avery civil case, Mr. Colborn testified that he

received a call in 1994 or 1995, when he was working for the Manitowoc County jail, and the

caller indicated that someone in another county may have committed an assault and that

someone might be in the Manitowoc County jail for that same assault. Dkt. #120-14 depo. pp.

10-11. Undisputed.

       10(b). Mr. Colborn testified that he transferred the call to the Detective Division. Dkt.

#120-14 pp. 14-15; Dkt. #129-1 at 12:41-14:30. Undisputed.

       10(c). MAM’s editor had full access to the deposition videos and transcripts from the

civil case from which the excerpts were taken. Barker Decl., Ex. 13 pp. 70-73, but a Chrome

production email message noted that information about the call did not fit neatly with Glynn’s

accusation that nothing was done with the call at the time. Barker Decl., Ex. 2 (Manhardt

00000509, 524). Undisputed that the Producer Defendants (but not Netflix) had access to

Colborn’s civil suit deposition video and transcript. Disputed as to the characterization of

Manhardt as “MaM’s editor” and that her personal opinions may be conflated with any




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Defendants’ state of mind. See General Objections § IV supra. Further disputed as misleading,

mischaracterizing the evidence, and removed from its context. In the email, Manhardt suggests

potentially adding more of Colborn’s testimony in a reordering of the segment about the jail call,

and Demos agrees to review. See Dkt. 330-2 at Manhardt00000509. And Glynn did not make an

accusation that “nothing was done with the call at the time;” he said there was “no record” of the

call until 2003, which is accurate. See Ep. 2 (Dkt. 120-2) at 18:30–20:50; see also Dkt. 291 ¶ 12.

Further disputed as immaterial. See General Objections § IV supra.

       11.      During the early stages of production, Netflix representatives complained that the

details surrounding the call were “confusing” and that “it seemed very thin that Colborn not

having specific knowledge of who called him would be key to the case.” Barker Decl., Ex. 1

(NFXCOL 210, 1937-38, 1981-82). Netflix added that this revelation initially seemed “weak.”

Despite these concerns, Netflix and Chrome jointly thereafter crafted a “clear” storyline that

“sharpened” the impression created by stacking excerpts from other witness’ depositions in the

Avery civil case. Id. Ex. 1 (NFXCOL 227, 231, 1946, 2019); MM 244-45, 280. In addition,

because the phone call was “something we keep going back to throughout the series,” Netflix

recommended bolstering it with a chart to emphasize “connections between various law

enforcement officers” referenced in the segment. Id. (NFXCOL 293, 329).

       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 4 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       11(a). During the early stages of production, Netflix representatives complained that

the details surrounding the call were “confusing” and that “it seemed very thin that Colborn not

having specific knowledge of who called him would be key to the case.” Barker Decl., Ex. 1




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(NFXCOL 210, 1937-38, 1981-82). Disputed that Netflix representatives “complained,” which is

attorney argument unsupported by record evidence. Further disputed as incomplete, misleading,

removed from the context of the entire note, and immaterial. As an initial matter,

NFXCOL0001981-1982 does not contain the quoted language above. The referenced notes from

the other documents include the observation of one Netflix executive, Adam Del Deo, offering

the perspective of the viewer up to that point in the series. The notes, in context, read,

       49:30 – How do we, the audience, know Colburn was contacted [at the jail]? Why
       does Colburn even mention it? Did it come up from the person who called him?
       This is confusing.

       [...]

       55:00 – Seems very thin that Colburn not having specific knowledge of who
       called him would be the key to the case. Who called Colburn? No email? Not fax?
       Could they track the fall? If you are Colburn, why even disclose?

See Dkt. 330-1 at NFXCOL0001937-1938, 0000210 (same notes).

       11(b). Netflix added that this revelation initially seemed “weak.” Disputed as

incomplete, misleading, removed from the context of the entire note, and immaterial See

Response to 11(a), above, which Defendants incorporate here by reference.

       11(c). Despite these concerns, Netflix and Chrome jointly thereafter crafted a “clear”

storyline that “sharpened” the impression created by stacking excerpts from other witness’

depositions in the Avery civil case. Id. Ex. 1 (NFXCOL 227, 231, 1946, 2019); MM 244-45, 280.

Disputed as incomplete, misleading, and immaterial and as attorney argument unsupported by

the record evidence.

              NFXCOL0000227 does not contain any of the quoted language and does not
               support the allegation above. It is also not about and does not mention Colborn.

              NFXCOL0000231 does not contain any of the quoted language and does not
               support the allegation above. It is also not about and does not mention Colborn.




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              NFXCOL0001946 does not contain any of the quoted language and does not
               support allegation above.

              NFXCOL0002019 does not contain any of the quoted language and does not
               support the allegation above.

              Manhardt00000244 is an email from Manhardt to the Producer Defendants that
               was never sent to Netflix. It is not about and does not mention Colborn. It also
               does not support the allegation above.

              Manhardt00000280 an email from Manhardt to the Producer Defendants that was
               never sent to Netflix. It is not about and does not mention Colborn. It also does
               not support the allegation above.

       11(d). In addition, because the phone call was “something we keep going back to

throughout the series,” Netflix recommended bolstering it with a chart to emphasize

“connections between various law enforcement officers” referenced in the segment. Id.

(NFXCOL 293, 329). Undisputed that the documents cited contained the quotes above.

Disputed as incomplete, misleading, removed from the context of the entire note, and

immaterial. As an initial matter, the notes come from different documents, not the same set of

notes, contrary to Colborn’s presentation. Further, in context, they read:

       14:00 – The phone call that Colburn receives and the subsequent flow of
       information to other figures in the Sheriff’s department is something we keep
       going back to throughout the series. It would really . . .

Dkt. 330-1 at NFXCOL0000293.

       Lisa Nishimura

       The testimony about this phone call and report (which we touch on several times
       throughout the series) is confusing – could a graphic help chart the related events
       and make it less necessary to keep repeating the story? It feels like they really
       land this with the linear time graphic between 1995 and the day after SA is
       released. Are you proposing that we minimize repetition and rely primarily on the
       testimony where the graphic is presented?

       Benjamin Cotner




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       I will try to clarify this – I’m talking about the need to chart out the connection
       between all of the various law enforcement officers when this call comes in. The
       timeline is clear, but who knows what gets really muddy.

Dkt. 330-1 at NFXCOL0000329; see also Dkt. 271 ¶ 103; Dkt. 272 ¶¶ 13-14; Dkt. 275 ¶ 16.

       12.     Netflix representatives encouraged Chrome to maintain bar patrons’ statements

that Avery had been framed by Manitowoc County law enforcement in the series. Barker Decl.,

Ex. 1 (NFXCOL 1953, 2050, 300).

       Response: Disputed as misleading, removed from the context of the entire note, not “of

and concerning” Colborn, and immaterial. Contrary to Colborn’s suggestion, in several notes,

Netflix suggests “trimming” certain scenes regarding the public opinion of the Avery case and

points to the pool hall scene in which several bar patrons provide their opinions as “an example

of where we seem to run long.” See Dkt. 330-1 at NFXCOL0001953. The same is true of

NFXCOL0002050, in which Netflix executives write that they “[l]ike the townspeople

commenting in the pool hall, but probably one too many,” again suggesting trimming the scene

rather than encouraging the Producer Defendants to keep the scene or even lengthen it. Id.

(emphasis added); see also id. at NFXCOL0000300 (same).

       13.     Avery was used as a “narrator” for his trial in the series. See, e.g., Barker Decl.,

Ex. 2 Manhardt 381, 406, 483, 493; screeners “Andrew and Catherine” note that using Avery as

narrator for his own trial works well. Id. at Manhardt 528 – 530. As he speaks, Avery’s

statements are often also shown on the screen, a technique that Chrome used to highlight the

“very important” things that Avery said in the series. Barker Decl., Ex. 2, Manhardt 493.

       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 3 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:




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       13(a). Avery was used as a “narrator” for his trial in the series. See, e.g., Barker Decl.,

Ex. 2 Manhardt 381, 406, 483, 493. Undisputed that MaM features Avery’s commentary on his

personal experience of the trial. MaM has no “voice of God” narration and instead uses

commentary from identified individuals with first-hand knowledge of the events, including pro-

law enforcement sources, with all affiliations disclosed to the audience. See Dkt. 290 ¶ 47; Dkt.

288 ¶ 48; Dkt. 330-14 at 94:10–95:2; see also Dkt. 291 ¶ 72.

       13(b). Screeners “Andrew and Catherine” note that using Avery as narrator for his

own trial works well. Id. at Manhardt 528 – 530. Undisputed that Andrew Jacobs and Catherine

Allgor provided feedback notes by email after watching draft versions of Episodes 5 and 6 that

the notes included “The Steven V.O. (from jail?) is becoming increasingly effective, having him

as a kind of commentator in his own trial. Keep it going!” See Dkt. 330-2 at Manhardt00000525.

Disputed that the document cited uses the word “narrator.” See id.

       13(c). As he speaks, Avery’s statements are often also shown on the screen, a technique

that Chrome used to highlight the “very important” things that Avery said in the series. Barker

Decl., Ex. 2, Manhardt 493. Disputed as misleading, removed from its context, and immaterial.

The cited pages do not use the quoted phrase “very important.” See Dkt. 330-2 at

Manhardt00000493. Those pages discuss the opening of Episode 10, which, as published, is

silent with images of Avery’s trailer, followed by Ken Kratz at a press conference. See id.; see

also Ep. 10 (Dkt. 120-10) at 0:00–1:17. In MaM, subtitles were used to facilitate viewer

understanding wherever dialogue with low-quality audio, phone calls, and recorded

interrogations appears, regardless of the user’s closed captioning settings. See, e.g., Dkt. 330-2 at

Manhardt00000525 (“Finally, the last interrogation with Steven Avery is a bit hard to follow—




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may need some captions there (as in previous interviews)”); Ep. 3 (Dkt. 120-3) at 9:30 (subtitles

of call between Avery and his mother).

       14.      Near the end of Episode 5 of MAM, Strang is shown asking Mr. Colborn, in

what appears to be actual, unedited trial footage, “And then, you tell the dispatcher, 99 Toyota?”

Mr. Colborn responds, “No, I thought she told me that.” Dkt. #120-5 at 55:05-55:15. The call is

replayed. In his actual testimony at trial, Mr. Colborn acknowledged that he made the statement

to the dispatcher, conceding the mistake in his prior response. Barker Decl., Ex. 19 pp. 180-186.

However, in MAM, Mr. Colborn appears to make no such correction; rather, the camera simply

pans to him after Strang shuts off the audio of the call. Dkt. #120-5 at 55:15-55:30. Netflix’s

creative team praised this point in the episode – which had been revised from a prior version, as

making Mr. Colborn look “caught in a clear lie.” Barker Decl., Ex. 1 (NFXCOL 2063). The edit

also gave viewers the impression that he “didn’t have much of a response after [Steven Avery’s]

defense attorney played the recording twice. At least not from what the documentary showed.”

Dkt. #132-7.

       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 5 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       14(a). Near the end of Episode 5 of MAM, Strang is shown asking Mr. Colborn, in what

appears to be actual, unedited trial footage, “And then, you tell the dispatcher, 99 Toyota?” Mr.

Colborn responds, “No, I thought she told me that.” Dkt. #120-5 at 55:05-55:15. The call is

replayed. Undisputed that the exchange featured in MaM occurred as quoted. Disputed as

vague as to Colborn’s reference to “what appears to be actual, unedited trial footage.” It is actual

trial footage. Undisputed that testimony from Avery’s trial for the murder of Halbach was




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edited. The trial lasted nearly five weeks, and MaM is only 10 hours long. See Dkt. 291 ¶¶ 51,

141.

       14(b). In his actual testimony at trial, Mr. Colborn acknowledged that he made the

statement to the dispatcher, conceding the mistake in his prior response. Barker Decl., Ex. 19 pp.

180-186. Undisputed.

       14(c). However, in MAM, Mr. Colborn appears to make no such correction; rather, the

camera simply pans to him after Strang shuts off the audio of the call. Dkt. #120-5 at 55:15-

55:30. Undisputed.

       14(d). Netflix’s creative team praised this point in the episode – which had been revised

from a prior version, as making Mr. Colborn look “caught in a clear lie.” Barker Decl., Ex. 1

(NFXCOL 2063). Disputed as misleading, removed from the context of the entire note, and

immaterial. The note, in full, reads, “The Colburn ending is terrific! – can we add music to help

emphasize further? He goes from being so sure and then is caught in a clear lie about the origin

of the car make and model.” Dkt. 330-1 at NFXCOL0002063. Further disputed in that the cited

evidence does not establish that this note refers to what the audience actually saw in the final

version of Episode 5.

       14(e). The edit also gave viewers the impression that he “didn’t have much of a

response after [Steven Avery’s] defense attorney played the recording twice. At least not from

what the documentary showed.” Dkt. #132-7. Undisputed that the quoted words appear in the

cited document. Disputed that this statement reflects, at most, the impression of a single viewer,

not all viewers or any reasonable viewer, and because the cited evidence is not probative or

admissible. See Dkt. 309 at 4-5, General Objection No. 6.




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       15.      Immediately following that edited footage, Strang is shown asking Mr. Colborn,

“Were you looking at those plates when you called them in?” Mr. Colborn responds, “No.” Dkt.

#120-5 at 55:25-55:35. In the Halbach trial, Strang moves right into the next question; there is

virtually no pause. Barker Decl., Ex. 19 pp. 184-186; Barker Decl. Ex. 3. In MAM, Mr.

Colborn’s response appears to be followed by a long pause, during which the camera first pans to

Mr. Strang, standing at counsel table and appearing to glare at Mr. Colborn, then to Mr. Colborn,

who appears to shift uncomfortably in his chair and then cracks his knuckles. Barker Decl. Ex. 3.

       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 3 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       15(a). Immediately following that edited footage, Strang is shown asking Mr. Colborn,

“Were you looking at those plates when you called them in?” Mr. Colborn responds, “No.” Dkt.

#120-5 at 55:25-55:35. Undisputed that MaM shows an exchange with substantially the same

gist at the referenced time stamp, with Colborn responding “No, sir” rather than “No.” MaM

speaks for itself. See General Objections § III.

       15(b). In the Halbach trial, Strang moves right into the next question; there is virtually

no pause. Barker Decl., Ex. 19 pp. 184-186; Barker Decl. Ex. 3. Disputed as inaccurate,

misleading, mischaracterizing the evidence, removed from context, and immaterial. In Colborn’s

Exhibit 3, there is an approximate eight-second pause between questions in the raw footage of

the witness. Dkt. 312, Ex. 3 CHRM867 comparison at 0:06–0:14. The Unterminated Feed

Footage Issue, set forth below, explains the edits addressed here. See CAPFF ¶ 17, infra.

       15(c). In MAM, Mr. Colborn’s response appears to be followed by a long pause, during

which the camera first pans to Mr. Strang, standing at counsel table and appearing to glare at




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Mr. Colborn, then to Mr. Colborn, who appears to shift uncomfortably in his chair and then

cracks his knuckles. Barker Decl. Ex. 3. Undisputed that in MaM, Colborn’s response is

followed by a similar seven or eight-second pause as in the raw footage with an exchange of eye

contact between Strang and Colborn. Compare Dkt. 312, Ex. 3 CHRM867 comparison at 0:33–

0:40 with 0:06–0:14. Disputed as misleading, mischaracterizing the evidence, removed from

context, and immaterial. Colborn here complains that this shot shows him “shift[ing]

uncomfortably,” but Colborn later cites this same shot/moment as making him “look[] more

confident” and criticizes Defendants for not using in another sequence. See CAPFF ¶ 74, infra;

see also Dkt. 288 ¶ 66. Further noted the Unterminated Feed Footage Issue explains the edits

addressed here. See Response to 17, below, which Defendants incorporate here by reference .

       16.     Netflix’s production notes instructing Chrome to “hold a bit longer” on Mr.

Colborn in another instance to ensure that he would look “caught in a lie,” despite

acknowledging that it might require “court footage that might not exist.” Barker Decl., Ex. 1

(NFXCOL 213, 215).

       Response: Disputed that Netflix required the Producer Defendants to make changes to

the series. Dkt. 271 ¶ 97; Dkt. 320, Prod. Def. SPFOF ¶ 3. Further disputed as inaccurate,

misleading, removed from the context of the entire note, and immaterial. Contrary to Colborn’s

suggestion, Netflix did not and would not instruct the filmmakers to fabricate footage that did not

exist—the opposite is true, and the document speaks for itself: Netflix was acknowledging that

the filmmakers must work with the footage that they have. See Dkt. 269 at 23. The full note

reads, “47:37 – Can we hold a bit longer on Colburn’s face here. He looks caught. Same at 48:10

– 48:25. We know this is court footage that may not exist. Just a suggestion.” See Dkt. 330-1 at

NFXCOL0000213. Moreover, NFXCOL0000215 lends no support to Colborn’s proposed fact.




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       17.      When asked about changes in Mr. Colborn’s responses that appear in MAM,

Demos testified that some of Chrome’s footage was not usable because it was unusable in its

appearance. Barker Decl., Ex. 10 at 210-213. She claimed that as a result, Chrome was “forced”

to seek other news reporters’ footage, and that because it was not necessarily co-extensive with

their footage, they had to “find sections” that appeared to be similar and insert them. Id.

       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 2 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       17(a). When asked about changes in Mr. Colborn’s responses that appear in MAM,

Demos testified that some of Chrome’s footage was not usable because it was unusable in its

appearance. Barker Decl., Ex. 10 at 210-213. Undisputed. The Producer Defendants made

concerted efforts to substitute comparable footage of witnesses responding, listening, and

waiting with the footage available to them due to the Unterminated Feed Footage Issue.4 The

feed from the witness-facing camera at trial was “unterminated,” making the image distorted and

blown out in a way that was irreparable and unusable. See Dkt. 291 ¶¶ 76, 77, 81; compare Dkt.

312, Exs. 3–5 with Dkt. 283 Exs. 1–32 (videos reflecting difference in color, visibility, and

quality between the feeds). Thus, the Producer Defendants sought to fill in gaps from

unterminated feed footage with comparable mixed-feed footage from local television stations

that had covered Avery’s trial, specifically including witness responses and reactions. See Dkt.

291 ¶¶ 76–82, 114. The substituted shots do not alter the meaning of any testimony or present

Colborn in a materially different manner than at trial. See id.



4
  All references to the “Unterminated Feed Footage Issue” herein incorporate by reference the
response and explanation provided here to CAPFF ¶ 17.


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       17(b). She claimed that as a result, Chrome was “forced” to seek other news reporters’

footage, and that because it was not necessarily co-extensive with their footage, they had to

“find sections” that appeared to be similar and insert them. Id. Undisputed that, due to the

Unterminated Feed Footage Issue, the Producer Defendants sought to fill in gaps from unusable

footage with comparable mixed-feed footage from local television stations that had covered

Avery’s trial. See Dkt. 291 ¶¶ 76–82, 114; see also Response to 17(a), above, which Defendants

incorporate here by reference. Disputed that the words “forced” and “find sections” appear in

the cited testimony. See Dkt. 330-10 at 210–13.

       18.      Immediately following that edited segment, MAM shows Strang asking, “Do you

have any recollection of making that call?” MAM substitutes a response that appears far more

equivocal than his trial testimony. Dkt. #120-5 at 55:35-56:10; cf. Barker Decl., Ex. 19 pp. 182-

185. A portion of a different sentence in Mr. Colborn’s testimony is inserted to start his response

with the words, “I’m guessing 11/3/05. . .” Id. Strang is then shown asking Mr. Colborn,

“Investigator Wiegert, did he give you that plate number before you called it in?” Id. Again, in

MAM, Mr. Colborn seems far less certain than his response at trial, appearing to respond, “No, I

just don’t recall the exact content of our conversation back then, but he had to have given it to

me, as I wouldn’t have had the number any other way.” Dkt. #120-5 at 55:35-56:10; cf. Barker

Decl., Ex 19 trans. pp. 182-185.

       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 5 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       18(a). Immediately following that edited segment, MAM shows Strang asking, “Do you

have any recollection of making that call?” Undisputed.




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         18(b). MAM substitutes a response that appears far more equivocal than his trial

testimony. Dkt. #120-5 at 55:35-56:10; cf. Barker Decl., Ex. 19 pp. 182-185. A portion of a

different sentence in Mr. Colborn’s testimony is inserted to start his response with the words,

“I’m guessing 11/3/05. . .” Id. Undisputed that Colborn’s response in MaM begins with, “I’m

guessing 11/03/05, probably after I received a phone call from Investigator Wiegert letting me

know that there was a missing person,” which condenses several lines of testimony from the trial

transcript. See Ep. 5 (Dkt. 120-5) at 55:35–55:49. Disputed to the extent Colborn characterizes

his response as “far more equivocal,” which is attorney argument unsupported by record

evidence. MaM speaks for itself. See General Objections §§ I, III supra.

         18(c). Strang is then shown asking Mr. Colborn, “Investigator Wiegert, did he give you

that plate number before you called it in?” Id. Undisputed that Strang asked a similar question

with substantially the same gist (MaM shows Strang asking, “Investigator Wiegert did he give

you the license plate number for Teresa Halbach when he called you?”). See Ep. 5 (Dkt. 120-5)

at 55:49-56:03; Dkt. 330-20 at 185:2-4. MaM speaks for itself. See General Objections § III

supra.

         18(d). Again, in MAM, Mr. Colborn seems far less certain than his response at trial,

appearing to respond, “No, I just don’t recall the exact content of our conversation back then,

but he had to have given it to me, as I wouldn’t have had the number any other way.” Dkt. #120-

5 at 55:35-56:10; cf. Barker Decl., Ex 19 trans. pp. 182-185. Undisputed that Colborn provided

a similar response with substantially the same gist (MaM shows Colborn’s response as “You

know, I just don’t remember the exact content of our conversation then. But he had to have given

it to me because I wouldn’t have had the number any other way.”). See Ep. 5 (Dkt. 120-5) at

56:03–56:12; Dkt. 330-20 at 186:17–25. Disputed to the extent Colborn characterizes himself as




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appearing “far less certain,” which is attorney argument unsupported by record evidence. MaM

speaks for itself. See General Objections §§ I, III supra.

       19.      The technique of creating an amalgamated statement by inserting words spoken

at a different time into a statement in order to revise the portrayed statement was something that

the Chrome team referenced as the “frankenbite.” Barker Decl., Ex. 13 (Manhardt depo. pp. 90-

91; Barker Decl., Ex. 2 (Manhardt 0000142, 244-45, and 385). Netflix encouraged Chrome to

shorten trial sequences by “clip[ping] bits and pieces together.” Id. Ex. 2 (Manhardt 1055). When

asked in deposition whether viewers should be advised that segments of trial footage were

“Frankenstein” versions of the testimony rather than verbatim recordings of the testimony,

Chrome’s editor asserted that it was not necessary because a documentary like MAM is “not

journalism.” Barker Decl., Ex. 13 depo. p. 207.

       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 3 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       19(a). The technique of creating an amalgamated statement by inserting words spoken

at a different time into a statement in order to revise the portrayed statement was something that

the Chrome team referenced as the “frankenbite.” Barker Decl., Ex. 13 (Manhardt depo. pp. 90-

91; Barker Decl., Ex. 2 (Manhardt 0000142, 244-45, and 385). Disputed as misleading,

mischaracterizing the evidence, removed from context, and immaterial. In her deposition

testimony, Manhardt testified that a “frankenbite” is an industry term used in documentaries,

podcasts, and “radio reporting.” See Dkt. 330-14 at 90:20–25. Asked “So how would you define

a Frankenbite?” Manhardt testified, “You know, if you said -- you take a word from one place

and you put it in another. So if you said he robbed him that day, but I don't know who ‘he’ is, I




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will find somebody saying Patrick, Patrick robbed him that day. So that's what Frankenbiting is.”

Dkt. 330-13 at 91:1–7.

       19(b). Netflix encouraged Chrome to shorten trial sequences by “clip[ping] bits and

pieces together.” Id. Ex. 2 (Manhardt 1055). Undisputed that Netflix provided notes to improve

pacing and episode length in order to engage viewers and help them digest the most salient

points of a long and sprawling account. See Dkt. 271 ¶¶ 98-100. Disputed as to any implication

that Netflix sacrificed accuracy in order to speed up the pace of a scene. Id. ¶¶ 101-102.

       19(c). When asked in deposition whether viewers should be advised that segments of

trial footage were “Frankenstein” versions of the testimony rather than verbatim recordings of

the testimony, Chrome’s editor asserted that it was not necessary because a documentary like

MAM is “not journalism.” Barker Decl., Ex. 13 depo. p. 207. Undisputed that, at her deposition

in this case, Manhardt testified to the following:

       I think that there's sort of a big misunderstanding about documentaries, you know.
       They're not journalism. And you can't -- like you can't just play things in real
       time, and you cut; and sometimes, yes, you do cut for effect,” in response to the
       question “Would it be appropriate if it appeared that a different reaction was
       inserted in order to make Mr. Colborn look more uneasy or uncomfortable after
       responding to a question from the questioning attorney?

Dkt. 330-14 at 206:24–207:11 (objections omitted); see also Dkt. 291 ¶¶ 54 (detailing the length

of Colborn’s trial testimony); 141 (discussing the need to compress 30 years of history into 10

hours of television). Disputed that Manhardt was asked any question with the word

“Frankenstein,” rather than “frankenbite” or “frankenbiting.” See Dkt. 330-14. Further disputed

as to the characterization of Manhardt as “Chrome’s editor” and that her personal opinions may

be conflated with any Defendants’ state of mind. See General Objections § IV supra.




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       20.      The edits to testimony were made by Manhardt, after Netflix’s involvement, for

the first two episodes and by Demos for the trial sequences in the later episodes. Barker Decl.,

Ex. 13 at pp. 52-55.

       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 2 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       20(a). The edits to testimony were made by Manhardt, after Netflix’s involvement, for

the first two episodes. Disputed as inaccurate. Demos was lead editor for the entire series,

including Episodes 1 and 2. Demos only shared “editor” credit with Manhardt on Episode 10.

See MaM credits. Manhardt testified that by the time she joined the team, “[cuts for episodes]

that were 1 through 4 I guess were in very good shape. They were very solid rough cuts, very

solid,” Dkt. 330-14 at 53:17–54:8. Manhardt’s credits were “additional editor” for Episode 2 and

“co-editor” for Episode 1. See Dkt. 290 ¶ 39; Dkt. 288 ¶ 40; Dkt. 330-14 at 52:8–55:13.

       20(b). The edits to testimony were made by . . . Demos for the trial sequences in the

later episodes. Barker Decl., Ex. 13 at pp. 52-55. Undisputed.

       21.      In MAM, Strang next asks, “Well, and you can understand how someone

listening to that might think that you were calling in a license plate that you were looking at on

the back end of a 1999 Toyota” Dkt. #120-5 at 56:10-56:28. In the Halbach trial, Mr. Colborn

did not respond to that question, because the judge sustained an objection to it. Barker Decl., Ex.

19 trans. pp. 186-187. However, in MAM, Mr. Colborn instead appears to damagingly admit,

“Yes.” Dkt. #120-5 at 56:20-56:28. Strang then says, “But there is no way that you should have

been looking at Teresa Halbach’s license plate on November 3, 2005.” Mr. Colborn responds, “I

shouldn’t have been and I was not looking at the license plate.” Strang states, “Because you’re




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aware now that the first time that the license plate was reported found was two days later . . . .”

Dkt. #120-5 at 56:20-56:28.

       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 4 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       21(a). In MAM, Strang next asks, “Well, and you can understand how someone

listening to that might think that you were calling in a license plate that you were looking at on

the back end of a 1999 Toyota” Dkt. #120-5 at 56:10-56:28. Undisputed.

       21(b). In the Halbach trial, Mr. Colborn did not respond to that question, because the

judge sustained an objection to it. Barker Decl., Ex. 19 trans. pp. 186-187. Undisputed that the

objection and the court ruling are not shown in MaM.

       21(c). However, in MAM, Mr. Colborn instead appears to damagingly admit, “Yes.”

Dkt. #120-5 at 56:20-56:28. Undisputed that MaM shows Colborn responding “Yes” to Strang’s

question, “Well, and you can understand how someone listening to that might think that you

were calling in a license plate that you were looking at on the back end of a 1999 Toyota?” Ep. 5

(Dkt. 120-5) at 56:10–56:28. Disputed as to phrase “damagingly admit,” which is attorney

argument unsupported by record evidence. MaM speaks for itself. See General Objections §§ I,

III supra.

       21(d). Strang then says, “But there is no way that you should have been looking at

Teresa Halbach’s license plate on November 3, 2005.” Mr. Colborn responds, “I shouldn’t have

been and I was not looking at the license plate.” Strang states, “Because you’re aware now that

the first time that the license plate was reported found was two days later . . . .” Dkt. #120-5 at

56:20-56:28. Undisputed that MaM depicts an exchange with substantially the same gist (MaM




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shows that Strang says, “But there is no way that you should have been looking at Teresa

Halbach’s license plate on November 3, on the back end of a 1999 Toyota.” Colborn responds, “I

shouldn’t have been and I was not looking at the license plate.” Strang follows up, “Because

you’re aware now that the first time that Toyota was reported found was two days later on

November 5.”). Ep. 5 (Dkt. 120-5) at 56:30–56:49. MaM speaks for itself. See General

Objections § III.

         22.     Netflix refers to this segment in its production notes as the “Colborn license

plates bomb” and celebrated it as a perfect “cliffhanger” and as a “[s]ensational and strong end”

the episode. (NFXCOL 229, 278, 2150). In the series notes shared with Chrome, Netflix creative

team members likewise chortled that because of the edits made since the prior version, “setting

up Colborn as the potential cop to plant the car really works well now.” Id. (NFXCOL 278,

2150).

         Response: This allegation goes only to Netflix’s state of mind and Netflix is thus in the

best position to answer it. Defendants object to this proposed finding of fact as compound,

joining as 1 proposed fact at least 2 distinct proposed facts which should have been separately

enumerated, in violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

         22(a). Netflix refers to this segment in its production notes as the “Colborn license

plates bomb” and celebrated it as a perfect “cliffhanger” and as a “[s]ensational and strong

end” the episode. (NFXCOL 229, 278, 2150). Disputed as inaccurate, misleading, removed from

the context of the entire note, and immaterial. As an initial matter, none of the documents

Colborn cites contain the quote “Colborn license plates bomb.” Nor does Netflix describe

Colborn’s call to dispatch as the “perfect” cliffhanger. Rather, in NFXCOL0000229, Netflix

executives noted that the current cut of Episode 5 they viewed included the plot point that




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“Sergeant Colborn had called dispatch and called in Teresa’s license plate before the missing car

was found,” and suggested this as a “potential cliffhanger” on which to end the episode. Id. In a

subsequent “cut” of Episode 5, Netflix comments that using the dispatch call as the cliffhanger

ending “works really well now. Sensational and strong end to this episode.” See also Dkt. 271

¶ 100. It is also substantially true that Colborn called into dispatch over Halbach’s license plate

number before the missing car was found. See Dkt. 290-19 at 180–183; Ep. 5 (Dkt. 120-5) at

54:02–54:29; Dkt. 291 ¶ 22 (call to dispatch); Dkt. 290-18 at 170; Ep. 2 (Dkt. 120-2) at 37:13–

38:01; Dkt. 291 ¶ 26 (November 5 discovery of Halbach's car).

       22(b). In the series notes shared with Chrome, Netflix creative team members likewise

chortled that because of the edits made since the prior version, “setting up Colborn as the

potential cop to plant the car really works well now.” Id. (NFXCOL 278, 2150). Disputed as

inaccurate, misleading, removed from the context of the entire note, and immaterial. Among

other reasons, there is no “chortling” in the referenced notes. See Response to 22(a), above,

which Defendants incorporate here by reference.

       23.      In Episode 7, Calumet County Sgt. Tyson is shown testifying that he was told

that no Manitowoc County officer was to be alone on the property and that if they were to locate

evidence, it was to be turned over to Manitowoc County. Dkt. #120-7 at 4:20-4:40. Buting asks

Tyson whether he ever had to “act like a babysitter” while other officers were conducting a

search. He is shown as responding, “No.” Id. at 5:20-5:35. In the trial transcript, he denies that he

felt like a babysitter Dkt. #290-19 trans. pp. 25-26.

       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 3 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:




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         23(a). In Episode 7, Calumet County Sgt. Tyson is shown testifying that he was told that

no Manitowoc County officer was to be alone on the property and that if they were to locate

evidence, it was to be turned over to Manitowoc County. Dkt. #120-7 at 4:20-4:40. Undisputed

that MaM depicts an exchange with substantially the same gist. However, Calumet County Sgt.

Tyson’s testimony begins at 3:40 of Episode 7 when he details that Calumet County (not

Manitowoc) take possession of any evidence seized by Manitowoc County officers. See Ep. 7

(Dkt. 120-7) at 3:40–6:18.

         23(b). Buting asks Tyson whether he ever had to “act like a babysitter” while other

officers were conducting a search. He is shown as responding, “No.” Id. at 5:20-5:35.

Undisputed that MaM depicts an exchange with substantially the same gist. MaM speaks for

itself, and the Court must consider it as a whole and in context. See General Objections §§ I, III

supra.

         23(c). In the trial transcript, he denies that he felt like a babysitter Dkt. #290-19 trans.

pp. 25-26. Undisputed. Immediately following this was:

         BUTING:        “Had you ever, in any of your years as an officer, had to watch the
                        officers who were searching where you were, to make sure that
                        they weren't alone?”

         TYSON:         “No.”

         BUTING:        “This was a first for you, wasn't it?”

         TYSON:         “Yes.”

Compare Dkt. 290-19 at 25 with Ep. 5 (Dkt. 120-5) at 5:20–5:35.

         24.     Netflix creative team members recognized at numerous times that the claims of

planting evidence needed to be buttressed because they were not very credible on their own. For

example, representatives proposed cuts to Lenk’s testimony as shown in MAM because it never

really delivered “enough of a silver bullet” to support a direct claim that Lenk planted evidence.


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Barker Decl., Ex. 1 (NFXCOL 273). They also noted that “Buting’s claim that [Lenk] put the

DNA on the key is really weak.” Id. at NFXCOL 2078. In addition, Netflix representatives noted

that it could have been a “simple oversight” that Lenk didn’t sign in at one point during the

search of the Avery property, but recommended that a “timeline” be added to ensure that the

segment didn’t appear to viewers to be “speculative and grasping for conspiracy.” Id. at

NFXCOL 288.

       Response: This allegation goes only to Netflix’s state of mind and Netflix is thus in the

best position to answer it. Defendants object to this proposed finding of fact as compound,

joining as 1 proposed fact at least 4 distinct proposed facts which should have been separately

enumerated, in violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       24(a). Netflix creative team members recognized at numerous times that the claims of

planting evidence needed to be buttressed because they were not very credible on their own.

Disputed as attorney argument unsupported by record evidence, vague, and misleading. Netflix

responds to Colborn’s specific “examples” as they arise below. To the extent this allegation is

construed as a fact, Netflix disputes and deny this allegation, including the implication that they

were making credibility determinations rather than simply documenting the claims and defenses

at Avery’s trial for Halbach’s murder. In any event, any “recognition” that Avery’s evidence-

planting claims “needed to be buttressed” shows care and due diligence as to the factual accuracy

of MaM, the opposite of actual malice.

       24(b). For example, representatives proposed cuts to Lenk’s testimony as shown in

MAM because it never really delivered “enough of a silver bullet” to support a direct claim that

Lenk planted evidence. Barker Decl., Ex. 1 (NFXCOL 273). Undisputed that the quote above

appears in the cited document. Disputed as misleading, removed from the context of the entire




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note, not “of and concerning” Colborn, and immaterial. The document speaks for itself. See

General Objections § III supra.

       24(c). They also noted that “Buting’s claim that [Lenk] put the DNA on the key is really

weak.” Id. at NFXCOL 2078. Undisputed that the quote above appears in the cited document.

Disputed as misleading, removed from the context of the entire note, not “of and concerning”

Colborn, and immaterial. The document speaks for itself. See General Objections § III supra.

       24(d). In addition, Netflix representatives noted that it could have been a “simple

oversight” that Lenk didn’t sign in at one point during the search of the Avery property, but

recommended that a “timeline” be added to ensure that the segment didn’t appear to viewers to

be “speculative and grasping for conspiracy.” Id. at NFXCOL 288. Undisputed that the quote

above appears in the cited document. Disputed as misleading, removed from the context of the

entire note, not “of and concerning” Colborn, and immaterial. The document speaks for itself.

See General Objections § III supra.

       25.     Netflix advised Chrome during production to avoid using images of Avery in

court that made him look “smug.” Barker Decl., Ex. 1 (NFXCOL 1974). In contrast, Chrome

suggested to Netflix that they incorporate a shot of Mr. Colborn looking “squirmy” to include in

the trailer for the series. Barker Decl., Ex. 6 (CHRM 395).

       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 2 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       25(a). Netflix advised Chrome during production to avoid using images of Avery in

court that made him look “smug.” Barker Decl., Ex. 1 (NFXCOL 1974). Undisputed that, in

response to a draft version of Episode 5, Netflix made the following suggestion, “Dean Strang




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soliloquy on the difficulty of this type of trial. v/o over shot of Steven looking a little smug –

might be better to use a different shot?” Dkt. 330-1 at NFXCOL0001974. Disputed as

immaterial to Colborn’s defamation claim as the note is not of and concerning the Colborn. See

Dkt. 320, Producer Defendants’ Responses to Plaintiff’s PFOF (“Prod. Def. Resp. PFOF”) ¶ 77.

       25(b). In contrast, Chrome suggested to Netflix that they incorporate a shot of Mr.

Colborn looking “squirmy” to include in the trailer for the series. Barker Decl., Ex. 6 (CHRM

395). Undisputed that Moira Demos suggested substituting a “squirmy shot” of Colborn for the

MaM trailer. Disputed as immaterial because the MaM trailer is not at issue in the case or

mentioned in the SAC, Demos already explained the reason the substitution was made, and

Colborn does not deny that he squirmed while testifying. See Dkt. 105; Dkt. 288 ¶ 98; Dkt. 320

Producer Defendants’ Supp. Proposed Findings of Fact (“Prod. Def. SPFOF”) ¶ 45. Even

Colborn’s former counsel of record in this lawsuit described watching Avery civil lawsuit

deposition testimony of “the officers who were most directly accused of wrongdoing—either in

the first Avery case or in the second” as “watching them squirm.” See Dkt. 320, Prod. Def.

SPFOF ¶¶ 46, 78.

       26.      In Episode 7, spooky music plays while Mr. Colborn is asked to describe the call

that he received while he was working in the Manitowoc County jail. Ken Kratz asks him, “Do

you even know whether that call was about Steven Avery?” He responds, “No sir.” Dkt. #120-7

at 18:35-18:45. Mr. Colborn’s response that no names were given is omitted. Cf. Barker Decl.,

Ex. 19 trans. p. 213.

       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 3 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:




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       26(a). In Episode 7, spooky music plays while Mr. Colborn is asked to describe the call

that he received while he was working in the Manitowoc County jail. Undisputed that music

plays during Ken Kratz’s questioning about the Jail Call in Episode 7. Ep. 7 (Dkt. 120-7) at

17:30–18:41. Disputed as to the characterization of the music as “spooky” as attorney argument

unsupported by the record. MaM speaks for itself. See General Objections §§ I, III supra.

       26(b). Ken Kratz asks him, “Do you even know whether that call was about Steven

Avery?” He responds, “No sir.” Dkt. #120-7 at 18:35-18:45. Undisputed that Kratz asked a

question with substantially the same gist (MaM shows Kratz asking, “Well, let me ask you this,

Sergeant Colborn, do you even know whether that call was about Mr. Steven Avery?” and

Colborn replied, “No, sir.”) Ep. 7 (Dkt. 120-7) at 18:35–18:45. MaM speaks for itself. See

General Objections § III.

       26(c). Mr. Colborn’s response that no names were given is omitted. Cf. Barker Decl.,

Ex. 19 trans. p. 213. Undisputed that the redundant testimony that “There were no names given”

was not included in MaM.

       27.      In further questioning by Kratz, MAM eliminates Mr. Colborn’s emphatic denial

that he ever planted any evidence against Mr. Avery, which was “That’s ridiculous, no I have

not.” Dkt. #120-7 at 19:00-19:15; cf. Barker Decl., Ex. 19 trans. pp. 140-141. It instead

substitutes his answer to a different question, “Have you ever planted any evidence against

anybody in the course of your law enforcement career,” to which Mr. Colborn responded, “I

have to say that this is the first time my integrity has ever been questioned and, no, I have not.”

Id.

       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 2 distinct proposed facts which should have been separately enumerated, in




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violation of Civil L.R. 56(b)(2)(B)(ii). Defendants further object to this proposed finding of fact

as duplicative of CAPFF ¶ 61, infra. Responding to each subpart:

       27(a). In further questioning by Kratz, MAM eliminates Mr. Colborn’s emphatic denial

that he ever planted any evidence against Mr. Avery, which was “That’s ridiculous, no I have

not.” Dkt. #120-7 at 19:00-19:15; cf. Barker Decl., Ex. 19 trans. pp. 140-141. Undisputed that

this particular line of testimony is not included in MaM.

       27(b). It instead substitutes his answer to a different question, “Have you ever planted

any evidence against anybody in the course of your law enforcement career,” to which Mr.

Colborn responded, “I have to say that this is the first time my integrity has ever been questioned

and, no, I have not.” Id. Undisputed that MaM features an exchange with substantially the same

gist (MaM shows Kratz asking, “Have you ever planted any evidence against Mr. Avery?” and

Colborn responding, “I have to say that this is the first time my integrity has ever been

questioned and, no, I have not.”). Ep. 7 (Dkt. 120-7) at 19:00–19:15. MaM speaks for itself. See

General Objections § III.

       28.      In Episode 7, MAM shows what appears to be Mr. Colborn’s testimony as Strang

asks him about reports concerning the Halbach investigation. He asks Mr. Colborn, “Your total

contribution is a little less than half a page?” Dkt. #120-7 at 22:29-22:40. Mr. Colborn appears to

respond yes to this question, id. at 22:35-22:40, but in fact, MAM edits out from this exchange

discussion of a second report written by Mr. Colborn. Barker Decl., Ex. 62.

       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 3 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Defendants further object to this proposed finding of fact

as duplicative of CAPFF ¶ 62, infra. Responding to each subpart:




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          28(a). In Episode 7, MAM shows what appears to be Mr. Colborn’s testimony as Strang

asks him about reports concerning the Halbach investigation. Undisputed.

          28(b). He asks Mr. Colborn, “Your total contribution is a little less than half a page?”

Dkt. #120-7 at 22:29-22:40. Mr. Colborn appears to respond yes to this question, id. at 22:35-

22:40, Undisputed that MaM depicts a question with substantially the same gist (MaM shows

Strang ask, “Your total contribution is what, a little bit under half a page?” to which Colborn

responds, “Correct.”). See Ep. 7 (Dkt. 120-7) at 22:29–22:40. MaM speaks for itself. See General

Objections § III.

          28(c). [B]ut in fact, MAM edits out from this exchange discussion of a second report

written by Mr. Colborn. Barker Decl., Ex. 62. Undisputed that Colborn’s testimony regarding

the June 2006 report is not included in that segment of Episode 7 at 22:29–22:40, but it is instead

discussed two minutes earlier at 20:02–20:40.5

          29.     MAM then appears to show the following exchange between the prosecutor and

Mr. Colborn:

          Mr. Kratz:     As you look back, back in 1994 or ’95, if you would have written a
                         report, what would it have been about?

          Mr. Colborn: That is why I didn’t do one. I don’t know what it would have been
                       about, that I received a call and transferred it to the Detective
                       Division. If I wrote a report about every call that came in, I would
                       spend my whole day writing reports.

Dkt. #120-7 at 23:46-24:03; Dkt. #290-19 pp. 212-213, Ex. 62. MAM includes the exchange but

omits the words, “that I received a call and transferred it to the Detective Division.” Id.

          Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 2 distinct proposed facts which should have been separately enumerated, in


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    Defendants note that there is no Exhibit 62 to the Barker Declaration.



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violation of Civil L.R. 56(b)(2)(B)(ii). Defendants further object to this proposed finding of fact

as duplicative of CAPFF ¶ 58, infra. Responding to each subpart:

       29(a). MAM then appears to show the following exchange between the prosecutor and

Mr. Colborn:

       Mr. Kratz:      As you look back, back in 1994 or ’95, if you would have written a report,
                       what would it have been about?

       Mr. Colborn: That is why I didn’t do one. I don’t know what it would have been about,
                    that I received a call and transferred it to the Detective Division. If I wrote
                    a report about every call that came in, I would spend my whole day
                    writing reports.

Dkt. #120-7 at 23:46-24:03; Dkt. #290-19 pp. 212-213, Ex. 62. Undisputed that MaM depicts an

exchange with substantially the same gist (MaM shows Kratz asking, “Sergeant Colborn, back in

1994 or -95, if you would’ve written a report, what would it have been about?” Colborn

responded, “I don’t know what it would’ve been about. If I wrote a report about every call that

came in, I would spend my whole day writing reports.”). See Ep. 7 (Dkt. 120-7) at 23:46–24:03.

MaM speaks for itself. See General Objections § III.

       29(b). MAM includes the exchange but omits the words, “that I received a call and

transferred it to the Detective Division.” Id. Undisputed that MaM does not include the phrase

“that I received a call and transferred it to the Detective Division” in Episode 7 from 23:46–

24:03 but noted that MaM includes Colborn’s testimony explaining that he transferred the jail

call to someone at the Manitowoc County Sheriff’s Department (“MTSO”). See Dkt. 271 ¶ 57.

       30.      Strang concludes his cross-examination, saying, “That’s all I have.” Dkt. #120-7

at 24:20-24:30. At the trial, the judge immediately says, “You’re excused,” to Mr. Colborn.

Barker Decl., Ex. 4. Without hesitation, Mr. Colborn stands and exits the witness stand. Id.

However, in MAM, Mr. Colborn is shown sitting on the stand for several seconds looking

deflated while ominous, pounding music plays in the background. Dkt. #120-7 at 24:20-24:30.


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       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 4 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       30(a). Strang concludes his cross-examination, saying, “That’s all I have.” Dkt. #120-7

at 24:20-24:30. Undisputed.

       30(b). At the trial, the judge immediately says, “You’re excused,” to Mr. Colborn.

Barker Decl., Ex. 4. Undisputed that, at trial, Judge Willis excused Colborn as a witness once

his testimony concluded.

       30(c). Without hesitation, Mr. Colborn stands and exits the witness stand. Id.

Undisputed that, in the raw footage, Colborn stood and exited the witness stand. Disputed as to

the characterization that it was “without hesitation,” as this is attorney argument unsupported by

record evidence. See Dkt. 312, Ex. 4 comparison at 0:02–0:10. Further, the Unterminated Feed

Footage Issue explains the edits addressed here. See Response to 17, above, which Defendants

incorporate here by reference.

       30(d). However, in MAM, Mr. Colborn is shown sitting on the stand for several seconds

looking deflated while ominous, pounding music plays in the background. Dkt. #120-7 at 24:20-

24:30. Undisputed that, in the two seconds of footage from MaM after Strang concludes his

cross-examination, Colborn is shown still seated. See Dkt. 312, Ex. 4 comparison at 0:14–0:16.

Due to the Unterminated Feed Footage Issue, there was no usable footage of Colborn seated on

the witness stand at this moment while Strang finished his questioning, so Demos substituted

footage of Colborn waiting after his direct examination. See Dkt. 288 ¶ 55; see also Dkt. 283,

Exs. 9–12 (video demonstrating how usable footage from that moment was unavailable due to

Unterminated Feed Footage Issue); see also Response to 17, above, which Defendants




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incorporate here by reference (Unterminated Feed Footage Issue). The Producer Defendants did

not substitute footage out of any bias or ill will, nor did they believe the substitution altered the

meaning of Plaintiff’s testimony in any way. See Dkt. 288 ¶ 55. Disputed as to Colborn’s

characterizations that MaM made him “look[] deflated” or that the music was “ominous,

pounding,” as these are attorney argument unsupported by record evidence. MaM speaks for

itself. See General Objections §§ I, III supra.

         31.     During production, Netflix commented to Chrome that it was “unlikely” that FBI

representatives would “aid and abet” Manitowoc County as part of a conspiracy to frame Avery

unless the department had a “deep history” with the agency. Barker Decl., Ex. 1 (NFX 2132).

         Response: This allegation goes only to Netflix’s state of mind and Netflix is thus in the

best position to answer it. Disputed as misleading, removed from the context of the entire note,

not “of and concerning” Colborn, and immaterial. The note, in full, reads:

         1:17:00- BIG QUESTION: Why would the FBI have a specific interest in
         covering up for and possibly aiding and abetting with Manitowoc County? Seems
         like we would maybe need to know that Manitowoc had some deep history with
         Lebeau/other FBI officials for them to testify in the case in such a subject manner.
         We are not saying we shouldn’t do this arc, it just feels unlikely. This was
         something we bumped on. Let’s discuss.

Dkt. 330-1 at NFXCOL0002132. The document speaks for itself. See General Objections § III

supra.

         32.     In episodes 8 through 10, MAM includes essentially extended reactions to the

guilty verdict returned against Avery for Halbach’s murder and the verdict returned against

Dassey, including the points described in the Addendum / Episode Summary. Chrome creatives

commiserated with one another that the sequences involving the verdicts were “devastating” for

them. Barker Decl., Ex. 2 (Manhardt 271, 288, 361-62, 432).




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       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 2 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       32(a). In episodes 8 through 10, MAM includes essentially extended reactions to the

guilty verdict returned against Avery for Halbach’s murder and the verdict returned against

Dassey, including the points described in the Addendum / Episode Summary. Undisputed that

Episodes 8 through 10 thoroughly cover the guilty verdicts against Avery and Dassey and the

varied reactions to them, both positive and negative. See Dkt. 291 ¶¶ 64, 70; Eps. 8–10 (Dkts.

120-8, 120-9, 120-10). Disputed that the episodes “extended” reactions. MaM speaks for itself.

See General Objections §§ I, III supra. Defendants also object to Colborn’s improper Addendum,

see General Objections § I, supra.

32(b). Chrome creatives commiserated with one another that the sequences involving the

verdicts were “devastating” for them. Barker Decl., Ex. 2 (Manhardt 271, 288, 361-62, 432).

Disputed as misleading, mischaracterizes the evidence, removed from context, and immaterial.

The documents cited lend no support for the fact alleged here and instead are emails with

Manhardt’s personal reactions to various episodes, not to the verdict. The documents speak for

themselves. See General Objections § III supra. Further disputed as to the characterization of

Manhardt as part of the “creative team for Chrome,” which is attorney argument unsupported by

record evidence. See General Objections § IV supra.

       33.      To avoid viewers losing interest through the actual details of the Halbach trial or

the Avery civil suit, Netflix repeatedly directed Chrome to edit, cut and tighten scenes, especially

those involving courtroom testimony, to tell a clearer “story” and to avoid the potential for “a

really dry episode.” Barker Decl., Ex. 1 (NFXCOL 224-25, 212, 1949, 1959, 1996, 2131, 2062,




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2076, 2078, 2083). Netflix also advised that Chrome should look for ways to use the series to

“allude to” planting of evidence by officers during their visits to the property. Barker Decl., Ex. 1

(NFXCOL 202, 1940). They also complained about commentary by Buting in a draft version of

MAM that “actually detracts” from the argument that “Lenk/Colborn” could have “planted” Ms.

Halbach’s vehicle key. Id. at NFXCOL 2078.

       Response: This allegation goes only to Netflix’s state of mind and Netflix is thus in the

best position to answer it. Defendants object to this proposed finding of fact as compound,

joining as 1 proposed fact at least 3 distinct proposed facts which should have been separately

enumerated, in violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       33(a). To avoid viewers losing interest through the actual details of the Halbach trial or

the Avery civil suit, Netflix repeatedly directed Chrome to edit, cut and tighten scenes, especially

those involving courtroom testimony, to tell a clearer “story” and to avoid the potential for “a

really dry episode.” Barker Decl., Ex. 1 (NFXCOL 224-25, 212, 1949, 1959, 1996, 2131, 2062,

2076, 2078, 2083). Disputed that Netflix “directed” MaM or required the Producer Defendants

to make changes to it. Dkt. 271 ¶ 97; Dkt. 320, Prod. Def. SPFOF ¶ 3. Undisputed that Netflix

provided notes to improve pacing and episode length in order to engage viewers and help them

digest the most salient points of a long and sprawling account. See Dkt. 271 ¶¶ 98-100. Disputed

as to any implication that Netflix sacrificed accuracy in order to speed up the pace of a scene or

make a scene more impactful. Id. ¶¶ 101-102.

       33(b). Netflix also advised that Chrome should look for ways to use the series to

“allude to” planting of evidence by officers during their visits to the property. Barker Decl., Ex.

1 (NFXCOL 202, 1940). Undisputed that the cited documents contain the quoted words above.

Disputed as misleading, removed from the context of the entire note, and immaterial. The note,




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in full, reads, “21:23 – Is there anything we can use/show to clarify whether or not the cops had a

warrant to search [Avery’s] property and allude to the fact that they may have planted something

when they were there without permission?” Dkt. 330-1 at NFXCOL0000202, 1940 (same note).

It refers only to Episode 3, not the entire series, as Colborn suggests. It is also substantially true

that Avery’s defense at his trial for Halbach’s murder was that law enforcement planted evidence

to ensure his conviction. See Dkt. 271 ¶¶ 13-15.

        33(c). They also complained about commentary by Buting in a draft version of MAM

that “actually detracts” from the argument that “Lenk/Colborn” could have “planted” Ms.

Halbach’s vehicle key. Id. at NFXCOL 2078. Disputed as misleading, removed from the context

of the entire note, not “of and concerning” Colborn, and immaterial. The note, in context, reads,

        25:20 – 26:00 – Buting’s claim that [Lenk] put the DNA on the key is really
        weak.

        19 – 26 This whole section detracts from connecting Lenk’s testimony to the
        officer earlier testifying [who was not Colborn] that they should not have been
        there to begin with.

        29:03 – Could we cut Orth after 30:45 once we’ve established that Lenk/Colburn
        weren’t there at the beginning and that he started the Log (until 31:16)? Lenk’s
        presence on the site is better established with Fassbender reading the log (and
        finding a record of Lenk leaving but not signing in) and Lenk himself with
        conflicting testimony across 2 dates (2:05 arrival vs. 6:30pm arrival).

Dkt. 330-1 at NFXCOL0002078. The only part of the note about Colborn is the suggestion to

maintain a scene that establishes Colborn was not on Avery’s property. See id.

        34.     Likewise, Netflix encouraged Chrome to look for opportunities in MAM to

include music that would help identify the “baddies” – i.e., law enforcement representatives,

Barker Decl., Ex. 1 (NFXCOL 1953; see also 2009-2010, 243, 2174), – and to convey a “bad

guy theme” or “villain theme” when they appeared on screen. Id. Ex. 2 (Manhardt 793, 817); see

also Ex. 1, NFXCOL 2133 (identifying law enforcement character as a “key villain” in the



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series); NFXCOL 241-43, 339, 296 (music was to “really up the stakes”). This advice from

Netflix was consistent with Chrome’s intent to portray law enforcement representatives as

“villains” in the series. Id. Ex. 2 (Manhardt 829).

       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 2 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       34(a). Likewise, Netflix encouraged Chrome to look for opportunities in MAM to

include music that would help identify the “baddies” – i.e., law enforcement representatives,

Barker Decl., Ex. 1 (NFXCOL 1953; see also 2009-2010, 243, 2174), – and to convey a “bad

guy theme” or “villain theme” when they appeared on screen. Id. Ex. 2 (Manhardt 793, 817);

see also Ex. 1, NFXCOL 2133 (identifying law enforcement character as a “key villain” in the

series); NFXCOL 241-43, 339, 296 (music was to “really up the stakes”). Disputed as

misleading, removed from the context of the entire note, not “of and concerning” Colborn, and

immaterial. First, the note on “the baddies” is as follows: “Can we work to establish a subtle but

impactful ‘theme’ track for the baddies, e.g. Lenk, Petersen, Kratz and certainly for Len

Kachinsky & Michael O’Kelly to help clearly support that despite their appointed roles to protect

Brendan—they are doing him great harm.” See Dkt. 330-1 at NFXCOL0002009 (emphasis

added), 2174 (same note). Second, although Colborn provides no citation to a document that

references a “bad guy” or “villain” theme, the note on the “bad guy theme” references a scene in

Episode 8, stating, “42:00 – learning that Tom Fassbender is calling Scot Tadych to convince

Barbara make Brendan take a plea – perfect moment for ‘bad guy theme.’” See Dkt. 286 Ex. 9 at

NFXCOL0002037. Third, all of the remaining notes are about music in the series, and therefore

are not statements that can defame Colborn. See Dkt. 269 at 25; Dkt. 271 ¶ 150; see also Dkt.




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320, Prod. Def. Resp. PFFOF ¶ 73; Dkt. 320, Prod. Def. SPFOF ¶ 9. Several of the documents to

which Colborn cites for support—NFXCOL0001953, NFXCOL0002010, NFXCOL0002173—

have nothing to do with notes about “the baddies,” or a “bad guy” or “villain” theme, so they

neither lend support for Colborn’s point nor are defamatory of him.6

       34(b). This advice from Netflix was consistent with Chrome’s intent to portray law

enforcement representatives as “villains” in the series. Id. Ex. 2 (Manhardt 829). This allegation

goes only to Chrome’s state of mind and Chrome is thus in the best position to answer it.

Disputed as attorney argument unsupported by record evidence, vague, misleading, removed

from its context, not “of and concerning” Colborn, and immaterial. The referenced note is not

about Colborn or about the Halbach investigation or trial. The cited note reads, “Punctuate

discover that DV [Denis Vogel] knew about GA [Gregory Allen] – plus, possible place for

‘villain’ theme.” Dkt. 330-3 at Manhardt00000829.

       35.     Netflix also recommended and approved the series’ graphics. Id. Ex. 1

(NFXCOL 219).

       Response: Undisputed that Netflix recommended the use of graphical elements to

enhance the clarity and factual accuracy of the series for viewers. See Dkt. 271 ¶ 103; Dkt. 272

¶ 13-14; Dkt. 275 ¶ 16; Dkt. 320, Prod. Def. SPFOF ¶ 10. Further undisputed that Netflix

approved the final cuts of all MAM episodes. See Response to 1(c), above, which Defendants

incorporate here by reference. Disputed as immaterial because Colborn does not allege that any

of the graphics or visual elements in MaM are false. See Dkt. 269 at 25.



6
 Colborn’s parenthetical on NFXCOL0002133 is similarly misleading. The note reads, “Should
we foreshow Vogel a[s] a key villain earlier.” Id. Once again, here, the note has nothing to do
with Colborn—or even law enforcement—and highlights Colborn’s grasping at straws to find
actual malice where none exists.


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       36.      Netflix representatives’ notes demonstrate that they were brainstorming with

Chrome to determine whom should be portrayed as the “mastermind” of the alleged law

enforcement conspiracy and that they approved using Avery’s lawyers’ analysis of law

enforcement officers’ alleged motive and content. Barker Decl., Ex. 1 (NFXCOL 2134).

       Response: This allegation goes only to Netflix’s state of mind and Netflix is thus in the

best position to answer it. Defendants object to this proposed finding of fact as compound,

joining as 1 proposed fact at least 2 distinct proposed facts which should have been separately

enumerated, in violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       36(a). Netflix representatives’ notes demonstrate that they were brainstorming with

Chrome to determine whom should be portrayed as the “mastermind” of the alleged law

enforcement conspiracy[.] Undisputed that the word “mastermind” appears in

NFXCOL0002134. Disputed as attorney argument unsupported by record evidence, vague,

misleading, removed from the context of the entire note, not “of and concerning” Colborn, and

immaterial. The note reads, “Good to see Tom Kocourek, but we need to understand if he is the

mastermind, the driver, of the original arrest of Steven, the entire cover up, and the second cover

up of Steven.” Dkt. 330-1 at NFXCOL0002134 (emphasis added).

       36(b). Netflix representatives’ notes demonstrate . . . that they approved using Avery’s

lawyers’ analysis of law enforcement officers’ alleged motive and content. Barker Decl., Ex. 1

(NFXCOL 2134). Disputed as misleading, removed from the context of the entire note, not “of

and concerning” Colborn, and immaterial. The note reads, “Jerry Buting analysis of Petersen,

Lenk, Kratz is strong…Should we use analytical approach throughout.” Dkt. 330-1 at

NFXCOL0002134 (emphasis added).




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       37.      Chrome held in high personal regard Glynn, who appears early on to interpret

and explain the events as told by MAM. Barker Decl., Ex. 2 (Manhardt 262, 429). After the

release of the series, Chrome’s editor expressed giddiness at the prospect of sharing a stage with

Glynn in public comments about the series. Id.

       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 2 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       37(a). Chrome held in high personal regard Glynn, who appears early on to interpret

and explain the events as told by MAM. Barker Decl., Ex. 2 (Manhardt 262, 429). This allegation

goes primarily to Chrome’s state of mind and Chrome is thus in the best position to answer it.

Undisputed that Manhardt expressed positive personal impressions of Stephen Glynn after MaM

was released. But see General Objections § IV supra. Colborn himself referred to Glynn as

“amiable” and a “raconteur” in his opposition briefing. See Dkt. 327 at 7. Undisputed that

Stephen Glynn was one of many individuals who provided commentary for MaM based on his

first-hand knowledge of the events, with his affiliation as Avery’s attorney disclosed to the

audience. See Dkt. 290 ¶ 47; Dkt. 288 ¶ 48; Dkt. 330-14 at 94:10–95:2; see also Ep. 1 (Dkt. 120-

1) at 26:00 (“Stephen Glynn, Steven’s Civil Rights Lawyer”).

       37(b). After the release of the series, Chrome’s editor expressed giddiness at the

prospect of sharing a stage with Glynn in public comments about the series. Id. Disputed as the

characterization of Manhardt as “Chrome’s editor” and that her personal opinions may be

conflated with any Defendants’ state of mind. See General Objections § IV supra. Further

disputed to “giddiness,” which is attorney argument unsupported by record evidence. See also

Response to 37(a), above, which Defendants incorporate here by reference.




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       38.      In contrast, Netflix and Chrome traded snide emails about MAM viewers giving

negative Yelp! Reviews to the Avery prosecutors. Barker Decl., Ex. 2 (Manhardt 411).

       Response: Undisputed that, in an email exchange after MaM’s release, Manhardt shared

links to news articles from an NBC-affiliate and Buzzfeed about negative Yelp reviews

regarding Kratz. Disputed as to the implication that Netflix “traded . . . emails” as no Netflix

executive is copied or otherwise included on the thread in the document cited. See Dkt. 330-2 at

Manhardt00000411. Further disputed as to “snide,” which is attorney argument unsupported by

record evidence. Further disputed as inaccurate, misleading, removed from context, not “of and

concerning” Colborn, and immaterial.

       39.      Early on, Chrome’s editor asked whether the Avery civil lawsuit claims should

be clarified as allegations rather than fact, Barker Decl., Ex. 2, but as the series’ content

demonstrates, the question was resolved in favor of the latter.

       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 2 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       39(a). Early on, Chrome’s editor asked whether the Avery civil lawsuit claims should be

clarified as allegations rather than fact, Barker Decl., Ex. 2[.] Disputed as vague, misleading,

removed from context, unsupported by record evidence, which speaks for itself, and immaterial.

Colborn provides no page citation for this assertion, and Exhibit 2 is nearly 60 pages in length.

Further disputed that Exhibit 2 does not use the words “allegation,” “allege,” or “fact” in the

manner suggested. Further disputed as to the characterization of Manhardt as “Chrome’s editor”

and that her personal opinions may be conflated with any Defendants’ state of mind. See General

Objections § IV supra.




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       39(b). [B]ut as the series’ content demonstrates, the question was resolved in favor of

the latter. Disputed as attorney argument unsupported by record evidence, vague, and

misleading. MaM speaks for itself and is the best evidence to resolve the claims. See General

Objections §§ I, III supra; see also Dkt. 291 ¶¶ 93, 125.

       40.      Netflix also looked for ways to draw attention to Plaintiff’s appearances in

footage throughout the series, in order to enhance the “shock” for the audience of seeing him

performing his duties because according to MAM’s storyline, he was “always a suspect” in

alleged “tampering with evidence.” Barker Decl., Ex. 1 (NFXCOL 245, 2039, 2043, 2167, 2174,

2089). Likewise, Netflix lauded Chrome’s use of “danger” music to accompany images of Mr.

Colborn in the series. Id. Ex. 1 (NFXCOL 287).

       Response: This allegation goes only to Netflix’s state of mind and Netflix is thus in the

best position to answer it. Defendants object to this proposed finding of fact as compound,

joining as 1 proposed fact at least 2 distinct proposed facts which should have been separately

enumerated, in violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       40(a). Netflix also looked for ways to draw attention to Plaintiff’s appearances in

footage throughout the series, in order to enhance the “shock” for the audience of seeing him

performing his duties because according to MAM’s storyline, he was “always a suspect” in

alleged “tampering with evidence.” Barker Decl., Ex. 1 (NFXCOL 245, 2039, 2043, 2167, 2174,

2089). Disputed as attorney argument unsupported by record evidence, vague, misleading,

removed from the context of the entire note, and immaterial. Undisputed that Netflix suggested

identifying Colborn when he appeared in the several scenes. See Dkt. 330-1 at

NFXCOL0000245 (“Andy Colburn is there, again? Maybe worth ID’ing him.”);

NFXCOL0002039 (“Would it help to point out that Colburn is escorting him out with a lower-




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third?”); NFXCOL0002167 (“ID both Colburn and Petersen”); id. (“ID that Colburn is walking

Steven Avery out of the court.”); see also NFXCOL0002089 (same note). Netflix provided notes

to enhance the clarity and factual accuracy of the series, especially because Avery’s prosecution

for Halbach’s murder involved a large number of facts and relevant players, including several

law enforcement agencies and legal teams. See Dkt. 271 ¶ 103. Further disputed that several of

the cited notes are about music in the series which are not statements that can defame Colborn,

see Dkt. 330-1 at NFXCOL0002043 (“MUSIC BEATS . . . Enhance shock of Colburn escorting

Brendan out when his verdict is read”); NFXCOL0002174 (same note); Dkt. 269 at 25; Dkt. 271

¶ 150.

         40(b). Likewise, Netflix lauded Chrome’s use of “danger” music to accompany images

of Mr. Colborn in the series. Id. Ex. 1 (NFXCOL 287). Disputed as misleading, removed from

the context of the entire note, and immaterial. The note, in full, reads, “51:20 – Good ‘danger’

music when Colburn is walking [Avery] out,” meaning from the courtroom after the verdict. See

Dkt. 330-1 at NFXCOL0000287. At his deposition in this case, Colborn agreed that the subject

matter of MaM involved a murder, which is a horrific crime, and that he believes Avery is and

was a dangerous perpetrator. See Third Walker Decl. Ex. 4 (Colborn Tr.) at 224:9-225:13.

Colborn’s cited evidence does not support his assumption that the “danger” music in this scene

was somehow tied to or targeted at him. Further disputed as the note is about music in the series

and therefore is not a statement that can defame Colborn. See Dkt. 269 at 25; Dkt. 271 ¶ 150.

         41.    Netflix notes recognize that its creative team was aware that out-of-court

statements by Avery’s attorneys in MAM were “directly claiming that [law enforcement officers]

framed Steven” or that law enforcement officers went so far as to [sic] Halbach in order to frame

Avery. Barker Decl., Ex. 1 (NFXCOL 2071, 2079); NFXCOL 294-95. However, Netflix team




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members confided to one another that despite these concerns, they were reluctant to confuse

Chrome because asking to dial these references back would be “contrary to the direction” Netflix

had been pushing them. Barker Decl., Ex. 1 (NFXCOL 294-95). Their exchange, in pertinent

part, was as follows:

       Adam Del Deo:

        ...

        In this sequence, it feels like Jerry Buting, on an almost definitive basis, is accusing the
officers. Although I think the officers have the strongest motive, I think Jerry’s statement come
across at [sic] fact . . .they thought, for sure, we’re going to make sure he’s convicted.” It may be
worth soften his statement so it doesn’t come across so subjective.

       Benjamin Cotner:

       I will do a last pass and draft an email for you, Lisa, to review and send in the morning.

        Adam, I am kind of worried that this note goes contrary to the direction we’ve been
pushing them in. I’ve been under the impression that we are desperate to say that someone else
could have done it. I’m afraid that if we tell them to soften something it is going to really confuse
the filmmakers . . . . I don’t think that subjective is necessarily bad, but if it is complete
unfounded then you might be right. Let me know what you think . . . .

       Adam del Deo:

       I hear you. Let me try to clarify.

         I think the statement as Jerry currently communicates it comes across, to me, as a matter
of fact that the officers did it (as oppose to highly likely they did it). In other words, I think if
Jerry’s statement involving the officers can come across as a highly possible/very likely scenario
(since the officers had a very strong motive to kill Steven) it would be convincing that someone
else, most likely one of/some of the officers, were involved.

        I think we’re saying the same thing. However, I just wanted to make sure Jerry isn’t
saying the officers killed as a matter of pure fact since there’s no physical evidence to really
prove the officers were there, rather just very strong motive. Take a look at Jerry’s statement
again and see if you agree. If not, leave the way it is.

       Benjamin Cotner:

       I think its a really valid point but I would rather leave it in for now – it is something we
can always pull out later, but I am so happy that they finally have a point of view. I hope people
know it is just a theory . . . .



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       Response: This allegation goes only to Netflix’s state of mind and Netflix is thus in the

best position to answer it. Defendants object to this proposed finding of fact as compound,

joining as 1 proposed fact at least 3 distinct proposed facts which should have been separately

enumerated, in violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       41(a). Netflix notes recognize that its creative team was aware that out-of-court

statements by Avery’s attorneys in MAM were “directly claiming that [law enforcement officers]

framed Steven” or that law enforcement officers went so far as to [sic] Halbach in order to

frame Avery. Barker Decl., Ex. 1 (NFXCOL 2071, 2079); NFXCOL 294-95. Undisputed that the

quote “directly claiming that they framed Steven” appears in NFXCOL0002079. Disputed as

misleading, removed from the context of the note, and immaterial. The note, in full, reads,

“51:55 – Triple check Buting’s statement here for legal. He is directly claiming they framed

Steven. Make sure this is 100% covered in their legal filings.” Dkt. 330-1 at NFXCOL0002079.

The note is a clear request from a non-lawyer at Netflix to the filmmakers to ensure the factual

accuracy of MaM, including by confirming that Buting’s out-of-court statements were consistent

with his in-court statements. Further disputed that the quoted language appears in

NFXCOL0002071.

       41(b). However, Netflix team members confided to one another that despite these

concerns, they were reluctant to confuse Chrome because asking to dial these references back

would be “contrary to the direction” Netflix had been pushing them. Barker Decl., Ex. 1

(NFXCOL 294-95). Undisputed that the quoted phrase appears in the cited document. Disputed

that Netflix “directed” MaM or required the Producer Defendants to make changes to it. See Dkt.

271 ¶ 97; Dkt. 320, Prod. Def. SPFOF ¶ 3. Further disputed as misleading, removed from the




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context of the entire note, not “of and concerning” Colborn, and immaterial. The document

speaks for itself. See General Objections § III supra.

       41(c). Their exchange, in pertinent part, was [provided above, but omitted here for

length]. Undisputed that the quoted exchange above appears in NFXCOL0000294-95. Disputed

insofar as the document speaks for itself. See General Objections § III supra. Further disputed

that such comments by Buting do not appear in the final version of MaM and therefore are not at

issue. MaM speaks for itself. See General Objection § I, III supra.

       42.      Besides production notes and comments from Netflix, Chrome also received

feedback through screenings with people they knew in the industry. Through these screenings,

Chrome sought to ensure that audience members would have a sense of the “antagonists” and

“what they were accused of doing.” The reviewers opined that the technique of using Avery as a

“narrator” for his own trial was “effective.” Barker Decl., Ex. 2 (Manhardt 525).

       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 3 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       42(a). Besides production notes and comments from Netflix, Chrome also received

feedback through screenings with people they knew in the industry. Undisputed that the

Producer Defendants received feedback about draft versions of MaM episodes from third parties

Andrew Jacobs and Catherine Allgor. See Dkt. 330-2 at Manhardt00000528.

       42(b). Through these screenings, Chrome sought to ensure that audience members

would have a sense of the “antagonists” and “what they were accused of doing.” Undisputed

that the Producer Defendants asked Andrew Jacobs and Catherine Allgor questions over email

about the Pilot Episode including “7) Do you have any sense of the antagonists? Do you know




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what they are accused of doing?” See Dkt. 330-2 at Manhardt00000529–30. Disputed as

misleading, mischaracterizing the evidence, not “of and concerning” Colborn, removed from

context, and immaterial. The evidence speaks for itself.

       42(c). The reviewers opined that the technique of using Avery as a “narrator” for his

own trial was “effective.” Barker Decl., Ex. 2 (Manhardt 525). Undisputed that Andrew Jacobs

and Catherine Allgor provided feedback notes by email after watching draft versions of Episodes

5 and 6 that included “The Steven V.O. (from jail?) is becoming increasingly effective, having

him as a kind of commentator in his own trial. Keep it going!” See Dkt. 330-2 at

Manhardt00000525. Disputed that the cited document contains the word “narrator.” See id.

MaM has no “voice of God” narration. See also Response to 5(a), above, which Defendants

incorporate here by reference.

       43.      A preliminary decision by Judge Willis at Avery’s trial permitted his attorneys to

introduce evidence of framing despite its low probative value, in deference to the constitutional

rights afforded a criminal defendant. Excerpts from the hearing are included in MAM. In

describing Avery’s attorneys’ arguments, the judge noted the highly unlikely nature of the basis

for the defense in a written decision:

       [as] pointed out by the State at oral argument: How could Lenk or Colborn have
       known that Teresa Halbach was dead at the time they are alleged to have planted
       the defendant’s blood in her vehicle? Under the defendant’s theory, either Lenk,
       Colborn, or both would have had to have formulated a plan involving their own
       commission of serious felonies and executed that plan within a very short period
       of time, motivated apparently only by their embarrassment for not allegedly
       having acted more responsibly on information that could have led to Mr. Avery’s
       exoneration back in 1995 or 1996.

See Dkt. 290 ¶ 110, Ex. 15, CHRM034924. MAM does not incorporate this portion of the

judge’s decision nor explain that Avery was permitted to introduce the defense because of the

very “low bar” that the constitution requires be set for criminal defendants.



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       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 5 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       43(a). A preliminary decision by Judge Willis at Avery’s trial permitted his attorneys to

introduce evidence of framing despite its low probative value, in deference to the constitutional

rights afforded a criminal defendant. Undisputed that Judge Willis issued a preliminary ruling

allowing the defense to introduce evidence of framing by James Lenk or Andrew Colborn. See

Dkt. 290-16 at CHRM003732–34. Disputed as to the characterization of Judge Willis’ basis for

doing so. The order speaks for itself. Id.

       43(b). Excerpts from the hearing are included in MAM. Undisputed that MaM includes

excerpts from the pretrial hearing on the state’s motion seeking FBI testing of the blood vial in

response to the defense’s planting theory after denying their motion to exclude blood vial

evidence. See Ep. 5 (Dkt. 120-5) at 0:56–2:40.

       43(c). In describing Avery’s attorneys’ arguments, the judge noted the highly unlikely

nature of the basis for the defense in a written decision[.] Disputed as inaccurate, misleading,

mischaracterizing the evidence, removed from context, and immaterial. The order does not

include the phrase “highly unlikely.” Further, Judge Willis granted Avery’s motion to admit the

frame-up evidence with the narrowing instruction that any planting theory must be asserted

specifically against James Lenk and Andrew Colborn. See Dkt. 290-16 at CHRM003733–34.

The order speaks for itself. See General Objections § III supra.

       43(d). [The written decision includes the passage provided above, but omitted here for

length]. Undisputed that this passage appears in Judge Willis’s order admitting evidence of the

blood vial and defense planting theory. See Dkt. 290-16 at CHRM003731. The citation Colborn




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references, Dkt. 290-15 at CHRM034294, is to Judge Willis’s order granting admission of

evidence of Avery’s wrongful conviction, which does not contain the cited passage.

       43(e). MAM does not incorporate this portion of the judge’s decision nor explain that

Avery was permitted to introduce the defense because of the very “low bar” that the constitution

requires be set for criminal defendants. Undisputed. MaM shows excerpts from hearings and

brief screengrabs summarizing the outcomes of motion practice, not the full text of multi-page

court orders. See Ep. 5 (Dkt. 120-5) at 0:56 (Onscreen text: “The State moves to exclude the

blood vial as evidence. Judge Willis denies their motion.”); 1:05 (Onscreen text: “The State then

asks the judge to allow the FBI to develop a new chemical test, which the State argues will prove

the blood in the RAV4 was not planted.”); 1:11–2:40 (footage from the hearing).

       44.      Nor does MAM acknowledge that in opening and closing arguments to the jury,

Avery’s attorneys conspicuously avoided statements that made positive accusations of planting

evidence. In fact, they carefully limited their argument to an effort to persuade the jury that the

fact that if they believed that any officer may have planted evidence, that meant they also had to

find that there was reasonable doubt as to Avery’s guilt and return a not-guilty verdict. Barker

Decl., Ex. 17 trans. p. 18; Barker Decl., Ex. 18 trans. pp. 46-48.

       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 2 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       44(a). Nor does MAM acknowledge that in opening and closing arguments to the jury,

Avery’s attorneys conspicuously avoided statements that made positive accusations of planting

evidence. Disputed as inaccurate. Avery’s attorneys did make positive accusations of planting

evidence in their opening statement and closing argument, and thus there was no “conspicuous[]




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avoid[ance] for MaM to “acknowledge.” In his opening argument, Dean Strang argued the

following:

       Suggesting this sort of tunnel vision [by law enforcement], suggesting this kind of
       investigative bias, planting blood in her car, [are] fairly serious allegations to
       make. In fact, I will take away the fairly, they are serious allegations. Understand
       them, that bias and tunnel vision are human anomalies. And if you conclude,
       reluctantly, that Mr. Lenk or Mr. Colborn, in additional to all the other
       interests they took in searching and focusing on Steven Avery, planted blood in
       [Halbach’s] car, you will also conclude that they put it there because they
       figured it had to be there. It should be there. It must be him. This wasn’t so much .
       . . an effort to frame an innocent man, it was an intense, intense desire to conclude
       that he, in fact, was the guilty man; all other possible leads for information not
       withstanding.

Dkt. 120-28 at 147:13-148:7 (emphasis added); see also Dkt. 291 ¶ 53.

       In his closing argument, Jerome Buting argued the following:

       Now, from the very beginning, Steven Avery has proclaimed his innocence in this
       case. He told . . . everybody that had a camera, anybody who talked to him, that
       he was not guilty, and that he was being framed. That the police planted his
       blood.

       [...]

       [Who], after all of this evidence comes out, and police, who better than anyone
       else would know how to plant evidence[.]

       [...]

       I would also point out, Dr. – Mr. Riddle, I asked him, well, you took the
       fingerprint standards of Lieutenant Lenk and Sergeant Colborn. You know what
       the defense here is. You know what we have been accusing them of for the
       last month or more.

Dkt. 120-34 at 133:20-25 (emphasis added); id. at 134:3-6; id. at 151:18-23 (emphasis added);

see also Dkt. 291 ¶ 62 (Strang’s closing). Both are affirmative statements by Buting and Strang

accusing Colborn of planting evidence to frame Avery for Halbach’s murder. Further disputed

that the only trial statements that matter are statements included in counsel’s opening statement

and closing argument. As the trial transcript shows, Avery built his entire defense around the




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claim that he was framed for Halbach’s murder, and his attorneys examined witnesses, including

Colborn, on topics related to that defense. The examples are too numerous to catalog here, but

the trial transcript speaks for itself and Colborn himself admits that a “central part of Avery’s

defense at trial was that [Colborn] and other Manitowoc officers planted” evidence to frame

Avery for Halbach’s murder. See SAC ¶ 33; see also Dkt. 325 ¶ 64 (Colborn denying planting

evidence to examination questions about the same).

       44(b). In fact, they carefully limited their argument to an effort to persuade the jury that

the fact that if they believed that any officer may have planted evidence, that meant they also had

to find that there was reasonable doubt as to Avery’s guilt and return a not-guilty verdict. Barker

Decl., Ex. 17 trans. p. 18; Barker Decl., Ex. 18 trans. pp. 46-48. Disputed as inaccurate. See

Response to 44(a), above, which Defendants incorporate here by reference. Moreover, as shown

in MaM, Strang’s closing argument emphasized that the defense’s theory was that officers

planted evidence “to ensure the conviction of someone they’ve decided is guilty.” See Ep. 8

(Dkt. 120-8) at 8:51–9:00; see also Dkt. 290 ¶ 119, Ex. 24 (CHRM004546) at 46; Dkt. 291 ¶ 62.

Also depicted in MaM, Kratz noted in his closing that it “shouldn’t matter whether or not that

key was planted” because “that key, in the big picture, in the big scheme of things, means very

little” compared to the bulk of evidence against Steven Avery. See Ep. 8 (Dkt. 120-8) at 9:02,

9:30; see also Dkt. 290-24 (CHRM004546) at 64; see also Dkt. 291 ¶ 61.

       45.      Defendants can point to nothing in the public or court record of Avery’s civil suit

that mentions Mr. Colborn.

       Response: Disputed as inaccurate. Colborn was deposed in Avery’s civil lawsuit against

Manitowoc County. See generally Dkt. 120-14 (deposition transcript of Andrew Colborn from

Avery’s civil lawsuit, which is publicly available on numerous platforms, including Reddit).




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       46.     Viewers’ reactions to MAM, both online and in angry verbal attacks directed at

Mr. Colborn, reflect that they understood MAM as irrefutably establishing that Mr. Colborn was

a central figure in a law enforcement conspiracy to plant evidence and frame Steven Avery for

Ms. Halbach’s murder. The following represent a sampling of messages received by Mr. Colborn

following the release of MAM:

       . . . I’m just calling in regards to the documentary that I just finished watching it
       and it appears pretty clearly that you were obviously involved beyond a detective
       role. . .

Dkt. #130-1 and Colborn Decl., Ex. 1, 1/7/16 4:04 PM.

       Hi Detective Colborn, I’m calling about the Steven Avery case – I wanted to
       know if you planted evidence with Detective Lenk. It sure seems like that from
       the documentary. . . . I think you definitely planted evidence . . . .

Dkt. #130-1 and Colborn Decl., Ex. 1, 1/20/16 1:16 PM.

       Hi. This is regarding the Steven Avery case . . . . You know what you have done.

       This is completely unprofessional. You framed him and I don’t care if the
       documentary was one-sided. You know what you did . . . . You are going to
       hell. . . .

Dkt. #130-1 and Colborn Decl., Ex. 1, 1/21/16 10:54 AM.

       Some callers’ messages make it apparent that they formed the belief, based on the

edited versions of testimony presented in MAM, that Mr. Colborn had been “caught” in lies

under oath:

         . . . This man was innocent. . . .The Sheriff Sergeant Colborn and Lieutenant
       Lenk, they were caught in lies under oath . . . . Shame on those corrupt cops . . .
       .

Dkt. #130-1 and Colborn Decl., Ex. 1, 1/21/16 11:26 AM.

       Detective Colborn should be out of a job. Steven Avery and Brendan Dassey are
       both innocent. . . . You lied under oath multiple times along with all of your
       other fellow employees. I’m disgusted by the Sheriff’s Department completely
       and fully. . . . I hope you know that everyone knows that you’re a **** liar.



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Dkt. #130-1 and Colborn Decl., Ex. 1, 1/14/16 2:16 PM.

       . . . I’ve been calling numerous times and been getting no answer . . . . only
       awful disgusting human beings would do such a thing to innocent people, not
       only once, but twice, Colborn. The whole world has observed your lies . . . . I
       hope you’re harassed . . . until the day you die     I hope that your wife is the
       next victim. . .

Dkt. #130-1 and Colborn Decl., Ex. 1, 1/21/16 11:14 AM.

       . . . You lied . . . You are a horrible disgusting person for . . . planting evidence
       in the Steven Avery case . . .

Dkt. #130-1 and Colborn Decl., Ex. 1, 1/7/16 4:27 PM.

       Hi Detective Colborn. I just watched Making a Murder and you are soooo
       guilty. You were at the . . . you were at the lot . . . the Avery yard, and you saw
       the car before, um and you’re in it with Lenk. You guys are so shady and
       corrupt. . . .

Dkt. #130-1 and Colborn Decl., Ex 1, 1/26/16 to 1/27/16, 3:42 PM.

       Yeah, I believe that Lt. Andrew Colborn needs to be investigated for his
       involvement and manipulating a crime scene and um ah his involvement and I, I
       think he should probably be in prison right now um for his ah for his behavior
       because he’s obviously perverted justice and manipulated evidence and he has
       lied under oath, he’s perjured himself. And, um everyone knows that man drove
       Teresa Halbach’s car and placed it on Steven Avery’s property and um, that man
       deserves justice and Andrew Colborn needs to be held accountable for his
       criminal behavior. Thank you.

Dkt. #130-1 and Colborn Decl., Ex. 1, 2/8/16 to 2/14/15 11:09 PM.

       My theory is that ah, [laughter] in the ah, Colborn was a dimwitted corrections
       officer who felt like a loser and committed a crime in order to advance his career
       and he’s a corrupt public servant. . . . it is quite obvious that he is not just a
       crooked cop but he’s a liar. Um and he’s got some some sick perversions and
       when you watched him in that documentary you could just see his eyes twitching.
       Um, and ah, he just looks like he is guilty of something. And probably of ah,
       corroborating ah, him and James Lenk, framing Steve Avery for Theresa
       Halbach’s murder. It’s just a disgusting thing . . .

Dkt. #130-1 and Colborn Decl., Ex. 1, 2/8/16 to 2/14/15 12:46 AM (emphasis added).

       Hey Andy . . . . You’re probably out planting evidence on somebody right now,
       but um I just want to let you know that I saw your appearance on the television
       program and I really couldn’t believe how scared you were in that one scene. I


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       just wanted to talk to you about it, when you were upon the stand. Um, I actually
       thought you were going to wet your pants you were so scared

Dkt. #130-1 and Colborn Decl., Ex. 1, 2/15/16 to 2/19/16 2:13 PM (emphasis added).

       . . . . I can’t even sleep watching this show . . . . you’re disgusting. I can see it in
       your eyes on every interview. . . .

Dkt. #130-1 and Colborn Decl., Ex. 1, 11/16/16 3:31 AM (emphasis added).

       . . . . Hello, so, I’m from Canada, and I’ve watched the Netflix series, called
       Making a Murderer. . . . Every viewer knows your mistake. So why did you
       volunteer exactly to view the case when you had problems with this individual in
       in the past, with the last case? Is it possible that you were trying to take revenge
       back on this person? Because the Calumet County Department could have clearly
       taken over this case. Because it is quite obvious that you guys are quite mad with
       the fact that you caught the wrong guy ruining your reputation as a police officer.
       ...

Dkt. #130-1 and Colborn Decl., Ex. 1, 1/21/16 11:19 AM.

       . . . . My biggest question to you, sir, is why were you on the scene when the key
       was found? . . . That scene was searched seven times before that key was found
       by other investigators not yourself. So, do you really believe that these other
       investigators were that incompetent, to find such an item in plain sight?

Dkt. #130-1 and Colborn Decl., Ex. 1, 1/15/16 to 1/18/16 4:35 PM.

       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 17 distinct proposed facts which should have been separately enumerated,

in violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       46(a). Viewers’ reactions to MAM, both online and in angry verbal attacks directed at

Mr. Colborn, reflect that they understood MAM as irrefutably establishing that Mr. Colborn was

a central figure in a law enforcement conspiracy to plant evidence and frame Steven Avery for

Ms. Halbach’s murder. Undisputed that Colborn claims to have received anonymous voicemails

and online comments. Disputed because the messages are inadmissible and immaterial as not

probative of any allegation at issue in this case. Colborn has made no effort to authenticate the

alleged anonymous voicemails or comments, they are hearsay to the extent offered to prove the


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truth of the matter asserted, and such evidence has been soundly rejected by courts across the

country in defamation actions.7 Further disputed that these are “viewers” of MaM—Colborn

testified in this case that he does not know whether they watched MaM unless they expressly said

so in their message. See Dkt. 271 ¶ 128. Further disputed that that the individuals who left

Colborn anonymous messages are representative of the reasonable viewer; indeed, Colborn has

admitted they are not. See id.; see also Dkt. 309 at 4-5, General Objection No. 6.

       46(b). The following represent a sampling of messages received by Mr. Colborn

following the release of MAM[.] Undisputed that Colborn claims to have received the

anonymous voicemails listed below. Disputed for the reasons set forth in the Response to 46(a),

above, which Defendants incorporate here by reference.

       46(c). . . . I’m just calling in regards to the documentary that I just finished watching it

and it appears pretty clearly that you were obviously involved beyond a detective role. . . Dkt.

#130-1 and Colborn Decl., Ex. 1, 1/7/16 4:04 PM. Undisputed that Colborn claims to have


7
  See, e.g., Daniels v. Loop Interactive Grp., LLC, No. B254005, 2015 WL 134308, at *7 (Cal.
Ct. App. Jan. 9, 2015), review denied (Mar. 25, 2015) (pseudonymous comments posted to
online version of article “are not indicative of whether the average reader understood” article’s
alleged defamatory meaning); Auraria Student Hous. at the Regency, LLC v. Campus Vill.
Apartments, LLC, No. 10-CV-02516-WJM-KLM, 2014 WL 4651643, at *7 (D. Colo. Sept. 18,
2014) (online comments are “inherently unreliable” because “Defendant has no way of testing
who made the comments, the bases for these comments, or even verifying that the comments
were not made by Plaintiff or its representatives”); Digital Music News LLC v. Superior Court,
226 Cal. App. 4th 216, 230, 171 Cal. Rptr. 3d 799, 810 (2014) (noting anonymous “commentary
has become ubiquitous on the Internet and is widely perceived to carry no indicium of reliability
and little weight”); SolidFX, LLC v. Jeppesen Sanderson, Inc., No. 11-CV-01468-WJM-BNB,
2014 WL 1319361, at *5 (D. Colo. Apr. 2, 2014) (declining to consider iTunes reviews because
as “essentially anonymous online comments, they are inherently unreliable”); KTRK Television,
Inc. v. Robinson, 409 S.W.3d 682, 691-92 (Tex. App. 2013) (“Media defendants cannot be liable
for varying subjective impressions that may have been generated from the broadcast of true
statements.”); Doe v. Kamehameha Sch./Bernice Pauahi Bishop Estate, No. CIV.08-00359JMS-
BMK, 2008 WL 5423191, at *4 (D. Haw. Dec. 31, 2008) (declining to consider anonymous
online comments because “under the cloak of anonymity, people will make outrageous,
offensive, and even nonsensical statements”).


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received this anonymous voicemail. Disputed for the reasons set forth in the Response to 46(a),

above, which Defendants incorporate here by reference. Further disputed as immaterial as this

proposed fact does not pertain to Colborn’s allegation that MaM conclusively accuses him of

planting evidence.

       46(d). Hi Detective Colborn, I’m calling about the Steven Avery case – I wanted to

know if you planted evidence with Detective Lenk. It sure seems like that from the documentary. .

. . I think you definitely planted evidence . . . . Dkt. #130-1 and Colborn Decl., Ex. 1, 1/20/16

1:16 PM. Undisputed that Colborn claims to have received this anonymous voicemail. Disputed

for the reasons set forth in the Response to 46(a), above, which Defendants incorporate here by

reference.

       46(e). Hi. This is regarding the Steven Avery case . . . . You know what you have done.

This is completely unprofessional. You framed him and I don’t care if the documentary was one-

sided. You know what you did . . . . You are going to hell. . . . Dkt. #130-1 and Colborn Decl., Ex.

1, 1/21/16 10:54 AM. Undisputed that Colborn claims to have received this anonymous

voicemail. Disputed for the reasons set forth in the Response to 46(a), above, which Defendants

incorporate here by reference.

       46(f).   Some callers’ messages make it apparent that they formed the belief, based on

the edited versions of testimony presented in MAM, that Mr. Colborn had been “caught” in lies

under oath[.] Undisputed that Colborn claims to have received messages of this nature.

Disputed for the reasons set forth in the Response to 46(a), above, which Defendants incorporate

here by reference. Further disputed as attorney characterization of messages that speak for

themselves.




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       46(g). . . . This man was innocent. . . .The Sheriff Sergeant Colborn and Lieutenant

Lenk, they were caught in lies under oath . . . . Shame on those corrupt cops . . . . Dkt. #130-1

and Colborn Decl., Ex. 1, 1/21/16 11:26 AM. Undisputed that Colborn claims to have received

this anonymous voicemail. Disputed for the reasons set forth in the Response to 46(a), above,

which Defendants incorporate here by reference.

       46(h). Detective Colborn should be out of a job. Steven Avery and Brendan Dassey are

both innocent. . . . You lied under oath multiple times along with all of your other fellow

employees. I’m disgusted by the Sheriff’s Department completely and fully. . . . I hope you know

that everyone knows that you’re a **** liar. Dkt. #130-1 and Colborn Decl., Ex. 1, 1/14/16 2:16

PM. Undisputed that Colborn claims to have received this anonymous voicemail. Disputed for

the reasons set forth in the Response to 46(a), above, which Defendants incorporate here by

reference.

       46(i).   . . . I’ve been calling numerous times and been getting no answer . . . . only awful

disgusting human beings would do such a thing to innocent people, not only once, but twice,

Colborn. The whole world has observed your lies . . . . I hope you’re harassed . . . until the day

you die. I hope that your wife is the next victim. . . Dkt. #130-1 and Colborn Decl., Ex. 1, 1/21/16

11:14 AM. Undisputed that Colborn claims to have received this anonymous voicemail.

Disputed for the reasons set forth in the Response to 46(a), above, which Defendants incorporate

here by reference.

       46(j).   . . . You lied . . . You are a horrible disgusting person for . . . planting evidence in

the Steven Avery case . . . Dkt. #130-1 and Colborn Decl., Ex. 1, 1/7/16 4:27 PM. Undisputed

that Colborn claims to have received this anonymous voicemail. Disputed for the reasons set

forth in the Response to 46(a), above, which Defendants incorporate here by reference.




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       46(k). Hi Detective Colborn. I just watched Making a Murder and you are soooo guilty.

You were at the . . . you were at the the lot . . . the Avery yard, and you saw the car before, um

and you’re in it with Lenk. You guys are so shady and corrupt. . . . Dkt. #130-1 and Colborn

Decl., Ex 1, 1/26/16 to 1/27/16, 3:42 PM. Undisputed that Colborn claims to have received this

anonymous voicemail. Disputed for the reasons set forth in the Response to 46(a), above, which

Defendants incorporate here by reference.

       46(l).   Yeah, I believe that Lt. Andrew Colborn needs to be investigated for his

involvement and manipulating a crime scene and um ah his involvement and I, I think he should

probably be in prison right now um for his ah for his behavior because he’s obviously perverted

justice and manipulated evidence and he has lied under oath, he’s perjured himself. And, um

everyone knows that man drove Teresa Halbach’s car and placed it on Steven Avery’s property

and um, that man deserves justice and Andrew Colborn needs to be held accountable for his

criminal behavior. Thank you. Dkt. #130-1 and Colborn Decl., Ex. 1, 2/8/16 to 2/14/15 11:09

PM. Undisputed that Colborn claims to have received this anonymous voicemail. Disputed for

the reasons set forth in the Response to 46(a), above, which Defendants incorporate here by

reference.

       46(m). My theory is that ah, [laughter] in the ah, Colborn was a dimwitted corrections

officer who felt like a loser and committed a crime in order to advance his career and he’s a

corrupt public servant. . . . it is quite obvious that he is not just a crooked cop but he’s a liar. Um

and he’s got some some sick perversions and when you watched him in that documentary you

could just see his eyes twitching. Um, and ah, he just looks like he is guilty of something. And

probably of ah, corroborating ah, him and James Lenk, framing Steve Avery for Theresa

Halbach’s murder. It’s just a disgusting thing . . . Dkt. #130-1 and Colborn Decl., Ex. 1, 2/8/16




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to 2/14/15 12:46 AM (emphasis added). Undisputed that Colborn claims to have received this

anonymous voicemail. Disputed for the reasons set forth in the Response to 46(a), above, which

Defendants incorporate here by reference.

       46(n). Hey Andy . . . . You’re probably out planting evidence on somebody right now,

but um I just want to let you know that I saw your appearance on the television program and I

really couldn’t believe how scared you were in that one scene. I just wanted to talk to you about

it, when you were upon the stand. Um, I actually thought you were going to wet your pants you

were so scared. Dkt. #130-1 and Colborn Decl., Ex. 1, 2/15/16 to 2/19/16 2:13 PM (emphasis

added). Undisputed that Colborn claims to have received this anonymous voicemail. Disputed

for the reasons set forth in the Response to 46(a), above, which Defendants incorporate here by

reference.

       46(o). . . . . I can’t even sleep watching this show . . . . you’re disgusting. I can see it in

your eyes on every interview. . . . Dkt. #130-1 and Colborn Decl., Ex. 1, 11/16/16 3:31 AM

(emphasis added). Undisputed that Colborn claims to have received this anonymous voicemail.

Disputed for the reasons set forth in the Response to 46(a), above, which Defendants incorporate

here by reference.

       46(p). . . . . Hello, so, I’m from Canada, and I’ve watched the Netflix series, called

Making a Murderer. . . . Every viewer knows your mistake. So why did you volunteer exactly to

view the case when you had problems with this individual in in the past, with the last case? Is it

possible that you were trying to take revenge back on this person? Because the Calumet County

Department could have clearly taken over this case. Because it is quite obvious that you guys are

quite mad with the fact that you caught the wrong guy ruining your reputation as a police officer.

. . . Dkt. #130-1 and Colborn Decl., Ex. 1, 1/21/16 11:19 AM. Undisputed that Colborn claims to




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have received this anonymous voicemail. Disputed for the reasons set forth in the Response to

46(a), above, which Defendants incorporate here by reference.

       46(q). . . . . My biggest question to you, sir, is why were you on the scene when the key

was found? . . . That scene was searched seven times before that key was found by other

investigators not yourself. So, do you really believe that these other investigators were that

incompetent, to find such an item in plain sight? Dkt. #130-1 and Colborn Decl., Ex. 1, 1/15/16

to 1/18/16 4:35 PM. Undisputed that Colborn claims to have received this anonymous

voicemail. Disputed for the reasons set forth in the Response to 46(a), above, which Defendants

incorporate here by reference.

       47.      Viewers also criticized Mr. Colborn based on the series’ failure to fairly convey to

viewers Mr. Colborn’s reasonable explanation that he received the license plate number from the

officer who asked him to look for the vehicle:

        . . . Also when you called the dispatcher and asked her about that license and where
       it was registered to, where you were reading that license plate number from . . . I just
       don’t understand how you would have that number and how you would know what
       the car was registered to

Dkt. #130-1 and Colborn Decl., Ex. 1, 1/15/16 to 1/18/16 4:35 PM.

       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 2 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       47(a). Viewers also criticized Mr. Colborn based on the series’ failure to fairly convey

to viewers Mr. Colborn’s reasonable explanation that he received the license plate number from

the officer who asked him to look for the vehicle[.] Undisputed that Colborn claims to have

received messages of this nature. Disputed for the reasons set forth in the Response to 46(a),




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above, which Defendants incorporate here by reference. Further disputed as attorney

characterization of messages that speak for themselves.

       47(b). . . . Also when you called the dispatcher and asked her about that license and

where it was registered to, where you were reading that license plate number from . . . I just

don’t understand how you would have that number and how you would know what the car was

registered to[.] Dkt. #130-1 and Colborn Decl., Ex. 1, 1/15/16 to 1/18/16 4:35 PM. Undisputed

that Colborn claims to have received this anonymous voicemail. Disputed for the reasons set

forth in the Response to 46(a), above, which Defendants incorporate here by reference.

       48.      Intentionally left blank.

       49.      Other callers’ messages showed that Avery’s alleged innocence was linked in

their minds with the conclusion that Mr. Colborn had planted evidence:

       Hi Sir. I was just wondering if you felt bad for sending an innocent man to prison
       and planting evidence. It’s not good police work.

Dkt. #130-1 and Colborn Decl., Ex. 1, 1/7/16 3:38 PM.

       Why the **** did you frame Steven? You **** son of a *****. You’re a sick,
       crooked, disgusting cop. You should be in prison, you son of a *****

Dkt. #130-1 and Colborn Decl., Ex. 1, 1/3/16 12:03 PM.

       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 3 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       49(a). Other callers’ messages showed that Avery’s alleged innocence was linked in

their minds with the conclusion that Mr. Colborn had planted evidence[.] Undisputed that

Colborn claims to have received messages of this nature. Disputed for the reasons set forth in

the Response to 46(a), above, which Defendants incorporate here by reference. Further disputed

as attorney characterization of messages that speak for themselves.


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       49(b). Hi Sir. I was just wondering if you felt bad for sending an innocent man to prison

and planting evidence. It’s not good police work. Dkt. #130-1 and Colborn Decl., Ex. 1, 1/7/16

3:38 PM. Undisputed that Colborn claims to have received this anonymous voicemail. Disputed

for the reasons set forth in the Response to 46(a), above, which Defendants incorporate here by

reference.

       49(c). Why the **** did you frame Steven? You **** son of a *****. You’re a sick,

crooked, disgusting cop. You should be in prison, you son of a *****[.] Dkt. #130-1 and

Colborn Decl., Ex. 1, 1/3/16 12:03 PM. Undisputed that Colborn claims to have received this

anonymous voicemail. Disputed for the reasons set forth in the Response to 46(a), above, which

Defendants incorporate here by reference.

       50.     Others took to heart out-of-court accusations by Avery’s defense attorneys and

others that asserted that federal prosecutors had proven conspiracy cases on less evidence than the

defense allegedly mounted against Mr. Colborn:

       Mr. Colborn, this is a concerned citizen of the state of California. I’ve seen the case
       with Steven Avery. . . everybody knows what is going on here with you guys setting
       up and framing this poor man Steven Avery . . . be ready to sit in federal prison for
       a long long time. I hope you rot in hell, you son of a ****

Dkt. #130-1 and Colborn Decl., Ex. 1, 1/15/16 to 1/18/16 4:34 PM.

       . . . Everybody knows you’re **** guilty . . .

Dkt. #130-1 and Colborn Decl., Ex. 1, 1/7/16 11:11 AM.

       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 3 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       50(a). Others took to heart out-of-court accusations by Avery’s defense attorneys and

others that asserted that federal prosecutors had proven conspiracy cases on less evidence than



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the defense allegedly mounted against Mr. Colborn[.] Undisputed that Colborn claims to have

received messages of this nature. Disputed for the reasons set forth in the Response to 46(a),

above, which Defendants incorporate here by reference. Further disputed as attorney

characterization of messages that speak for themselves.

       50(b). Mr. Colborn, this is a concerned citizen of the state of California. I’ve seen the

case with Steven Avery. . . everybody knows what is going on here with you guys setting up and

framing this poor man Steven Avery . . . be ready to sit in federal prison for a long long time. I

hope you rot in hell, you son of a ****[.] Dkt. #130-1 and Colborn Decl., Ex. 1, 1/15/16 to

1/18/16 4:34 PM. Undisputed that Colborn claims to have received this anonymous voicemail.

Disputed for the reasons set forth in the Response to 46(a), above, which Defendants incorporate

here by reference.

       50(c). . . . Everybody knows you’re **** guilty . . . Dkt. #130-1 and Colborn Decl., Ex.

1, 1/7/16 11:11 AM. Undisputed that Colborn claims to have received this anonymous

voicemail. Disputed for the reasons set forth in the Response to 46(a), above, which Defendants

incorporate here by reference.

       51.      Many other messages left for Mr. Colborn are simply strings of profanity or

insults. Mr. Colborn received hundreds of similar calls. Countless online commenters and

bloggers have likewise explained that, after viewing MAM, they are convinced that Avery was

framed by law enforcement officers, including Mr. Colborn. See, e.g., Dkt. #139-7, Andrew

Colborn Decl. Ex. 2.

       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 2 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:




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        51(a). Many other messages left for Mr. Colborn are simply strings of profanity or

insults. Undisputed that Colborn claims to have received messages of this nature. Disputed for

the reasons set forth in the Response to 46(a), above, which Defendants incorporate here by

reference. Further disputed as attorney characterization of messages that speak for themselves.

        51(b). Mr. Colborn received hundreds of similar calls. Countless online commenters

and bloggers have likewise explained that, after viewing MAM, they are convinced that Avery

was framed by law enforcement officers, including Mr. Colborn. See, e.g., Dkt. #139-7, Andrew

Colborn Decl. Ex. 2. Undisputed that Colborn claims to have received messages of this nature.

Further undisputed that, among online commenters and bloggers, both Avery and Colborn have

their supporters. See Dkt. 289-2 (Schuler Tr.) at 104:3–18, 231:3–232:8. Further noted that

Colborn’s supporters are at work on a counter-documentary titled Convicting a Murderer. See

Dkt. 300 at 2. Disputed for the reasons set forth in the Response to 46(a), above, which

Defendants incorporate here by reference. Further disputed as attorney characterization of

content that speaks for itself.

        52.     As Mr. Colborn explained at his deposition, MAM’s edits made him seem more

“wishy washy” and therefore, less believable. Barker Decl., Ex. 14 depo pp. 358-359.

        Response: Undisputed that, at his deposition in this case, Colborn used the words

“wishy-washy.” Disputed as inaccurate that MaM's edits altered Colborn’s behavior. Any

moments in MaM showing Colborn testifying actually occurred and were captured in raw

footage. See Dkt. 288 ¶¶ 17–20, 29, 55, 78, 79; Dkt. 291 ¶¶ 71, 76–82, 114. At his deposition,

Colborn testified that as an “introvert” who doesn’t like being the “center of attention,” the act of

testifying makes him feel uncomfortable. Dkt. 321-2 (Colborn Tr.) at 495:4–498:2; Dkt. 320,

Prod. Def. SPFOF ¶ 45; Dkt. 320, Prod. Def. Resp. PFOF ¶ 78; see also Dkt. 289-31 (excerpts of




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Griesbach’s Indefensible) at 31-32; Dkt. 320, Prod. Def. SPFOF ¶ 46. Further disputed that

MaM speaks for itself, and the Court must consider it as a whole and in context. See General

Objections §§ I, III supra.

         53.      At her deposition, the head of Netflix’s creative team, Lisa Nishamura8,

responded to the complaint that this alteration changed Mr. Colborn’s testimony. Nishamura

claimed that Mr. Colborn “made his point” in a line included thereafter, in which he denies having

looked at the plate when he called it in. Dkt #279, Walker Decl. Ex. 21 (Nishimura Tr.) at 176:16-

25.

         Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 2 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

         53(a). At her deposition, the head of Netflix’s creative team, Lisa Nishamura,

responded to the complaint that this alteration changed Mr. Colborn’s testimony. Undisputed

that at her deposition in this case, Lisa Nishimura was asked the following question regarding

Colborn’s allegation that some of his testimony had been altered in MaM:

         Q.       . . . so [I’m] representing to you, also, that Mr. Colborn’s allegation in this
                 document – and specific to this passage – is that the lines that are in
                 yellow highlight were edited out or removed from the representation of
                 that passage in Making a Murderer, Episode. And my question is: Do you
                 agree that remove the yellow highlight lines from that passage would
                 effect the meaning of the testimony provided by Mr. Colborn?

See Dkt. 279-21 (Nishimura Tr.) at 176:7-15. Further undisputed that Nishimura responded to

counsel’s question.




8
    The correct spelling is Nishimura, but Defendants have retained Colborn’s misspelling here.



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       53(b). Nishamura claimed that Mr. Colborn “made his point” in a line included

thereafter, in which he denies having looked at the plate when he called it in. Dkt #279, Walker

Decl. Ex. 21 (Nishimura Tr.) at 176:16-25. Undisputed that Nishimura testified at her

deposition that Colborn “made his point” that he was not looking at Halbach’s license plate when

he called into dispatch as follows:

       A.       . . . I believe that, again, just reading this for the first time, that Colborn
               successfully makes his point saying, “I should not have been and I was not
               looking at the license plate.” So I believe he made his point.

See Dkt. 279-21 (Nishimura Tr.) at 176:16-21.

       53.      The altered version of Mr. Colborn’s testimony regarding the call to dispatch that

left out his testimony that “obviously” he had been provided it by the investigator with whom he

had previously spoken was effective in leading viewers to conclude that Mr. Colborn did not

testify that he received the license number prior to the call. Dkt # 132-7 (“Maybe he was given

the license plate number before calling dispatch and just wanted to verify it? Still doesn’t make

sense why he just wouldn’t say that in court.”).

       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 2 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       53(a). The altered version of Mr. Colborn’s testimony regarding the call to dispatch [ ]

left out his testimony that “obviously” he had been provided it by the investigator with whom he

had previously spoken[.] Undisputed that MaM does not include Colborn saying he “obviously”

received information from Investigator Wiegert, and instead shows an exchange with

substantially the same gist: Strang asking, “Investigator Wiegert did he give you the license plate

number for Teresa Halbach when he called you?” See Ep. 5 (Dkt. 120-5) at 55:49–56:03; Dkt.

330-20 at 185:2–4. And Colborn responding, “You know, I just don’t remember the exact


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content of our conversation then. But he had to have given it to me because I wouldn’t have had

the number any other way.” See Ep. 5 (Dkt. 120-5) at 56:03–56:12; Dkt. 330-20 at 186:17–25.

MaM speaks for itself, and the Court must consider it as a whole and in context. See General

Objections §§ I, III supra.

       53(b). The altered version of Mr. Colborn’s testimony regarding the call to dispatch . . .

was effective in leading viewers to conclude that Mr. Colborn did not testify that he received the

license number prior to the call. Dkt # 132-7 (“Maybe he was given the license plate number

before calling dispatch and just wanted to verify it? Still doesn’t make sense why he just

wouldn’t say that in court.”). Disputed as inaccurate, incomplete, misleading, and immaterial

and as attorney argument unsupported by the record evidence. MaM includes an exchange with

substantially the same gist. See Ep. 5 (Dkt. 120-5) at 56:03-56:12; Dkt. 330-20 at 186:17-25.

Further disputed that there is no way to know whether the cited evidence reflects the

impressions of a MaM viewer—Colborn testified in this case that he does not know whether an

unidentified online commenter watched MaM unless they expressly said so in their message. See

Dkt. 271 ¶ 128. At most, the cited evidence reflects the impressions of a single viewer, not

“viewers.” MaM speaks for itself, and the Court must consider it as a whole and in context. See

General Objections §§ I, III supra. Further disputed for the reasons set forth in the Response to

46(a), above, which Defendants incorporate here by reference.

       54.      MAM omits from a response Mr. Colborn’s statement that he answered the jail

call identifying himself as “Manitowoc County Jail, Officer Colborn.” Dkt. #290-19 trans. p.

139; cf. Dkt. #120-5 55:53-56:10.

       Response: Undisputed that MaM does not include the phrase “Manitowoc County Jail,

Officer Colborn” in Episode 5 at 55:53-56:10, which is testimony about the call to dispatch but




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further noted that that MaM includes information with substantially the same gist. Episode 7

includes Colborn’s testimony that he received the 1995 jail call “when I was working [in] my

capacity as a corrections officer at the Manitowoc County Jail.” See Dkt. 271 ¶ 59 (citing Dkt.

120-7 at 17:46-18:30). Further disputed as MaM speaks for itself, and the Court must consider it

as a whole and in context. See General Objections §§ I, III supra.

        55.      MAM omits from the above response Mr. Colborn’s testimony that it was his

impression that the person who called him mistook him for a police officer despite his

identification of himself as a jail officer. Id.

        Response: Undisputed that MaM, a 10-hour documentary series about events that

spanned two decades, including a five-week murder trial, truncated certain testimony.

        56.      MAM omits testimony that further underscores the internal consistency of Mr.

Colborn’s testimony in this exchange. In Episode 7, after suggesting otherwise in Episode 2,

MAM finally includes testimony in which Mr. Colborn explains that he transferred the call to a

detective, but MAM edits from the conclusion of the sentence Mr. Colborn’s clarification that he

transferred the call to the Detective Division (identifying the proper division to address the call

as an entirely separate division). Id.

        Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 2 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

        56(a). MAM omits testimony that further underscores the internal consistency of Mr.

Colborn’s testimony in this exchange. Undisputed that MaM, a 10-hour documentary series

about events that spanned two decades, including a five-week murder trial, truncated certain

testimony. Disputed as misleading, mischaracterizing the evidence, attorney argument




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unsupported by record evidence, and immaterial. MaM speaks for itself, and the Court must

consider it as a whole and in context. See General Objections §§ I, III supra.

        56(b). In Episode 7, after suggesting otherwise in Episode 2, MAM finally includes

testimony in which Mr. Colborn explains that he transferred the call to a detective, but MAM

edits from the conclusion of the sentence Mr. Colborn’s clarification that he transferred the call

to the Detective Division (identifying the proper division to address the call as an entirely

separate division). Undisputed that MaM includes Colborn’s testimony explaining that he

transferred the jail call to someone at the MTSO. See Dkt. 271 ¶ 57. Disputed as to the rest

because MaM speaks for itself, and the Court must consider it as a whole and in context. See

General Objections §§ I, III supra.

        57.      MAM incorporates into Mr. Kratz’s supposed direct examination what are in fact

redirect examination questions as to allegations by the defense that Mr. Colborn had animosity

toward Avery because of the prior civil case.

        The exchange on redirect, in full was:

        Mr. Kratz:      “Did this person ever identify the individual that they were talking
                        about?

        Mr. Colborn: “No sir. There were no names given.”

        Mr. Kratz:      Let me ask you this, as you sit here today, Sergeant Colborn, do you
                        even know whether that call was about Mr. Steven Avery?

        Mr. Colborn: No, I don’t.

Dkt. #290-19 trans. p. 213. MAM removes from its amalgamation of direct and re-direct

testimony the first two lines of the redirect testimony, which emphasize that “no names were

given” in the call. Dkt. #120-7 at 18:35-18:43. Only the portion that focuses on what Mr. Colborn

subjectively claims to be the case – that he does not know whether the call about Avery – is

included, eliminating the objective basis for that assertion, i.e., the caller’s failure to state any


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names. Moreover, the response, “No, I don’t,” which is a more forceful response, was replaced

with “No sir.” Dkt. #105 at p. 48. In contrast, MAM substitutes a more forceful response to a

question – “No, I did not sir,” for a response that was “No sir,” – when it attempts to portray Mr.

Colborn as later inconsistently admitting that he wrote a statement about the jail call. Dkt. #290-

19 trans. p. 199; cf. Dkt. #120-7 at 23:10-23:43.

       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 6 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       57(a). MAM incorporates into Mr. Kratz’s supposed direct examination what are in fact

redirect examination questions as to allegations by the defense that Mr. Colborn had animosity

toward Avery because of the prior civil case. Undisputed that MaM does not formally

distinguish direct, cross, re-direct, and re-cross witness examination in the series. Further

undisputed that MaM, a 10-hour documentary series about events that spanned two decades,

including a five-week murder trial, truncated certain testimony. See Dkt. 291 ¶ 54.

       57(b). The exchange on redirect, in full was [provided above]. Undisputed.

       57(c). MAM removes from its amalgamation of direct and re-direct testimony the first

two lines of the redirect testimony, which emphasize that “no names were given” in the call. Dkt.

#120-7 at 18:35-18:43. Undisputed that the redundant testimony that “There were no names

given” was not included in MaM but noted that the series shows an exchange with substantially

the same gist. See Ep. 7 (Dkt. 120-7) at 18:35–18:45. MaM speaks for itself, and the Court must

consider it as a whole and in context. See General Objections §§ I, III supra.

       57(d). Only the portion that focuses on what Mr. Colborn subjectively claims to be the

case – that he does not know whether the call about Avery – is included, eliminating the




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objective basis for that assertion, i.e., the caller’s failure to state any names. Disputed as

attorney argument unsupported by record evidence. Undisputed that the redundant testimony

that “There were no names given” was not included in MaM. Disputed for the reasons provided

in Response to 57(c), above, which Defendants incorporate here by reference.

       57(e). Moreover, the response, “No, I don’t,” which is a more forceful response, was

replaced with “No sir.” Dkt. #105 at p. 48. Undisputed that MaM shows Colborn responding

“No, sir” at 18:35–18:45 of Episode 7. Disputed that “No, I don’t” is materially different from

“No, sir.”9 When usable footage of the witness was not available for a specific response, the

Producer Defendants replaced it with an equivalent response that did not alter the meaning. See

Dkt. 291 ¶ 82; see also Response to 17, above, which Defendants incorporate here by reference

(Unterminated Feed Footage Issue).

       57(f).   In contrast, MAM substitutes a more forceful response to a question – “No, I did

not sir,” for a response that was “No sir,” – when it attempts to portray Mr. Colborn as later

inconsistently admitting that he wrote a statement about the jail call. Dkt. #290-19 trans. p. 199;

cf. Dkt. #120-7 at 23:10-23:43. Undisputed that MaM shows Colborn responding “No, I did not,

sir” at 22:55–23:18 of Episode 7. Disputed for the reasons provided in Response to 57(e), above,

which Defendants incorporate here by reference

       58.      MAM removes from Mr. Colborn’s answer to the testimony immediately

preceding the above exchange Mr. Colborn’s explanation why he did not prepare a report of the

call in 1995. The actual exchange, as represented in the trial transcript, is as follows:




9
  Noted that Colborn has repeatedly mistranscribed trial testimony, including mistaking a “No”
for a “No, sir,” see CAPFF ¶ 15(a) supra, underscoring just how immaterial any difference
between the variations on “No” truly are.


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       Mr. Kratz:      As you look back, back in 1994 or ’95, if you would have written a
                       report, what would it have been about?

       Mr. Colborn: That is why I didn’t do one. I don’t know what it would have been
                    about, that I received a call and transferred it to the Detective
                    Division. If I wrote a report about every call that came in, I would
                    spend my whole day writing reports.

Dkt. #290-19 trans. p. 212-213. MAM removed the explanation, “That is why I didn’t do one,”

Dkt. #120-7 at 23:46-24:03, which would directly respond to the numerous criticisms that the

series levels at Mr. Colborn because no report was written in 1995. In addition, starting the

response instead with the phase, “I don’t know what it would have been about” makes it look as

though Mr. Colborn did not answer the question or respond in a normal way of speaking, which

is pertinent to an assessment of his credibility by viewers. In addition, MAM again omitted the

conclusion of his first sentence, consisting of the words, “that I received a call and transferred it

to the Detective Division.” Id.

       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 5 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Defendants further object to this proposed finding of fact

as duplicative of CAPFF ¶ 29, supra. Responding to each subpart:

       58(a). MAM removes from Mr. Colborn’s answer to the testimony immediately

preceding the above exchange Mr. Colborn’s explanation why he did not prepare a report of the

call in 1995.

       58(b). The actual exchange, as represented in the trial transcript, is as follows:

       Mr. Kratz:      As you look back, back in 1994 or ’95, if you would have written a report,
                       what would it have been about?

       Mr. Colborn: That is why I didn’t do one. I don’t know what it would have been about,
                    that I received a call and transferred it to the Detective Division. If I wrote
                    a report about every call that came in, I would spend my whole day
                    writing reports.


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Dkt. #290-19 trans. p. 212-213. Undisputed that MaM includes an exchange with substantially

the same gist. See Ep. 7 (Dkt. 120-7) at 23:46–24:03. MaM speaks for itself, and the Court must

consider it as a whole and in context. See General Objections §§ I, III supra.

       58(c). MAM removed the explanation, “That is why I didn’t do one,” Dkt. #120-7 at

23:46-24:03, which would directly respond to the numerous criticisms that the series levels at

Mr. Colborn because no report was written in 1995. Undisputed that the phrase “That is why I

didn’t do one” is not included in Episode 7 at 23:46–24:03 but noted that the series shows an

exchange with substantially the same gist at that timestamp. Further disputed that “which would

directly respond to the numerous criticisms that the series levels at Mr. Colborn” as attorney

argument unsupported by record evidence. MaM speaks for itself, and the Court must consider it

as a whole and in context. See General Objections §§ I, III supra.

       58(d). In addition, starting the response instead with the phase, “I don’t know what it

would have been about” makes it look as though Mr. Colborn did not answer the question or

respond in a normal way of speaking, which is pertinent to an assessment of his credibility by

viewers. Undisputed that MaM shows Colborn’s response starting with the phrase “I don’t know

what it would’ve been about” in Episode 7 at 23:46–24:03. Disputed as to the rest as misleading,

mischaracterizing the evidence, attorney argument unsupported by record evidence, and

immaterial. MaM speaks for itself and must be considered as a whole and in context. See General

Objections §§ I, III supra.

       58(e). In addition, MAM again omitted the conclusion of his first sentence, consisting of

the words, “that I received a call and transferred it to the Detective Division.” Id. Undisputed

that the phrase “that I received a call and transferred it to the Detective Division” is not included

in Episode 7 from 23:46–24:03 but noted that the series includes a statement with substantially




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the same gist. See Dkt. 271 ¶ 57. MaM speaks for itself, and the Court must consider it as a

whole and in context. See General Objections §§ I, III supra.

        59.       MAM splices together an edited version of a question-and-answer exchange

between cross-examining counsel and Mr. Colborn that appeared as follows in the trial

transcript:

        Strang:         You wrote a statement after Sheriff Peterson suggested that maybe
                        you should?

        Colborn:        Yes, sir.

        Strang:         You wrote that statement in 2003, about the 1994 or 1995
                        telephone call?

        Colborn:        Yes.

Dkt. #290-19 trans. p. 199.

        MAM’s version of the exchange is as follows:

        Strang:         You wrote a statement in 2003, about the 1994 or 1995 telephone
                        call?

        Colborn:        Yes.

Dkt. #120-7 at 23:10-23:43.

        Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 2 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

        59(a). MAM splices together an edited version of a question-and-answer exchange

between cross-examining counsel and Mr. Colborn that appeared as follows in the trial

transcript:

        Strang:         You wrote a statement after Sheriff Peterson suggested that maybe you
                        should?

        Colborn:        Yes, sir.



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       Strang:          You wrote that statement in 2003, about the 1994 or 1995 telephone call?

       Colborn:         Yes.

Dkt. #290-19 trans. p. 199. Undisputed that this exchange appears in the trial transcript and does

not appear verbatim in MaM. See Dkt. 290-19 at 199; cf. Ep. 7 (Dkt. 120-7) at 23:10–23:43.

       59(b). MAM’s version of the exchange is as follows:

       Strang:          You wrote a statement in 2003, about the 1994 or 1995 telephone call?

       Colborn:         Yes.

Dkt. #120-7 at 23:10-23:43. Undisputed that MaM includes an exchange with substantially the

same gist but does not include the exact lines as transcribed here. See Ep. 7 (Dkt. 120-7) at

23:10–23:43; see also Dkt. 290-19 at 199. MaM speaks for itself. See General Objections § III.

Undisputed that MaM, a 10-hour documentary series about events that spanned two decades,

including a five-week murder trial, truncated certain testimony. See Dkt. 291 ¶ 54.

       60.       MAM removes language from a question-and-answer exchange that would have

included references to the fact that the call to the jail was “way back in 1994 or 1995” and that it

occurred “when you [Mr. Colborn] were working in the jail.” Dkt. #105, p. 51; cf. Dkt. #290-19

pp. 65, 139, 198-199.

       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 2 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       60(a). MAM removes language from a question-and-answer exchange that would have

included references to the fact that the call to the jail was “way back in 1994 or 1995.”

Undisputed that the phrase “way back in 1994 or 1995” does not appear in Episode 7 at 23:10–

43 but noted that MaM includes a statement with substantially the same gist. See Ep. 7 (Dkt. 120-

7) at 23:10–23:43; Dkt. 290-19 at 198–99. Undisputed that MaM, a 10-hour documentary series


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about events that spanned two decades, including a five-week murder trial, truncated certain

testimony. See Dkt. 291 ¶ 54. MaM speaks for itself, and the Court must consider it as a whole

and in context. See General Objections §§ I, III supra. Further, Episode 7 includes the following

testimony from Colborn:

       Kratz:          Sergeant Colborn, you were asked, as I understand, as part of a
                       civil lawsuit to provide what’s called a deposition. Can you tell the
                       jury what you were asked about?

       Colborn:        In 1994 or ’95, I had received a telephone call when I was working
                       in my capacity as a corrections officer in the Manitowoc County
                       jail.

Dkt. 120-7 at 17:36-18:02.

       60(b). MAM removes language from a question-and-answer exchange that would have

included references to the fact that the call to the jail . . . occurred “when you [Mr. Colborn]

were working in the jail.” Dkt. #105, p. 51; cf. Dkt. #290-19 pp. 65, 139, 198-199. Undisputed

that MaM does not include the phrase “when you were working in the jail” in Episode 7 at

23:10–23:43 but noted that MaM includes an exchange that conveys substantially the same gist.

See Ep. 7 (Dkt. 120-7) at 17:36–18:02; see Dkt. 291 ¶¶ 9, 10. MaM speaks for itself, and the

Court must consider it as a whole and in context. See General Objections §§ I, III supra.

Undisputed that MaM, a 10-hour documentary series about events that spanned two decades,

including a five-week murder trial, truncated certain testimony. See Dkt. 291 ¶ 54.

       61.      With respect to testimony regarding the discovery of Teresa Halbach’s vehicle

key in Avery’s bedroom, MAM again makes numerous edits to testimony without any indication

that the testimony has been edited. For example, MAM eliminates Mr. Colborn’s emphatic

denial that he ever planted any evidence against Mr. Avery, which was “That’s ridiculous, no I

have not.” Barker Decl., Ex. 62. It instead substitutes his answer to a different question, “Have

you ever planted any evidence against anybody in the course of your law enforcement career,” to


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which Mr. Colborn responded, “I have to say that this is the first time my integrity has ever been

questioned and, no, I have not.” Id.

       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 3 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Defendants further object to this proposed finding of fact

as duplicative of CAPFF ¶ 27, supra. Responding to each subpart:

       61(a). With respect to testimony regarding the discovery of Teresa Halbach’s vehicle

key in Avery’s bedroom, MAM again makes numerous edits to testimony without any indication

that the testimony has been edited. Undisputed that MaM, a 10-hour documentary series about

events that spanned two decades, including a five-week murder trial, truncated certain testimony.

See Dkt. 291 ¶ 54. Disputed that there are no indications that the testimony included had been

edited. See Ep. 5 (Dkt. 120-5) at 8:40-8:49; Ep. 8 (Dkt. 120-8) at 3:47. Further disputed that

“any indication that the testimony [in MaM] ha[d] been edited” was needed because it was

obvious to the viewer. Id.

       61(b). For example, MAM eliminates Mr. Colborn’s emphatic denial that he ever

planted any evidence against Mr. Avery, which was “That’s ridiculous, no I have not.” Barker

Decl., Ex. 62. Undisputed that this particular line of testimony is not included in MaM.

Disputed as to “emphatic denial” which is attorney argument unsupported by record evidence.

       61(c). It instead substitutes his answer to a different question, “Have you ever planted

any evidence against anybody in the course of your law enforcement career,” to which Mr.

Colborn responded, “I have to say that this is the first time my integrity has ever been questioned

and, no, I have not.” Id. Undisputed that MaM includes an exchange with substantially the same




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gist. See Ep. 7 (Dkt. 120-7) at 19:00–19:15. MaM speaks for itself, and the Court must consider

it as a whole and in context. See General Objections §§ I, III supra.

       62.      MAM revises Mr. Colborn’s answers about reports that he wrote in connection

with the search at the Avery property so that it appears that he wrote only one report that was less

than half a page, when in fact, he wrote two reports, as the actual answers to the questions would

have made clear. Dkt. #290-19 at 196-199; Dkt. #120-7 22:22-22:39, 22:54-23:43.

       Response: Defendants object to this proposed finding of fact as duplicative of CAPFF

¶ 28, infra. Disputed as inaccurate, misleading, and immaterial. MaM speaks for itself, and the

Court must consider it as a whole and in context. See General Objections §§ I, III supra. In two

scenes in Episode 7, Avery’s attorney, Strang, examines Colborn about his two reports regarding

his activity on or at the Avery property: first, that Colborn did not record his November 3, 2005

conversation with Avery until June 2006, see Dkt. 291 ¶¶ 21, 57; Ep. 7 (Dkt. 120-7) at 20:02–

20:40; second, how Colborn’s November 8, 2005 entry on the MTSO investigative report was a

mere half page with no mention of the RAV4 key being discovered that day, see Dkt. 291 ¶ 57;

Ep. 7 (Dkt. 120-7) at 21:38–22:57.

       63.      MAM omits an entire “soft cross” that immediately follows the above discussion.

Dkt. #105 p. 47; Dkt. #290-19 trans. P. 132; Dkt. #120-7 at 17:06-17:32. In his response to

questions in the “soft cross,” Mr. Colborn testified that he was “very surprised” that the key was

there given that he and the other officers had been in the room “for quite some time” before it was

discovered. Id. Mr. Colborn also emphasized this by stating, “I believe I said to myself, damn,

how did I miss that.” Id.




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       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 3 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       63(a). MAM omits an entire “soft cross” that immediately follows the above discussion.

Dkt. #105 p. 47; Dkt. #290-19 trans. P. 132; Dkt. #120-7 at 17:06-17:32. Undisputed that MaM,

a 10-hour documentary series about events that spanned two decades, including a five-week

murder trial, truncated certain testimony. See Dkt. 291 ¶ 54. Disputed as to “soft cross,” which is

attorney argument unsupported by record evidence. The testimony cited comes from Colborn’s

direct examination during the Avery trial for Halbach’s murder. See Dkt. 290-19 at 132.

       63(b). In his response to questions in the “soft cross,” Mr. Colborn testified that he was

“very surprised” that the key was there given that he and the other officers had been in the room

“for quite some time” before it was discovered. Id. Undisputed that MaM does not include

Colborn testifying that he was “very surprised” and had been in the room “for quite some time”

in Episode 7 at 17:06–17:32. Further undisputed MaM, a 10-hour documentary series about

events that spanned two decades, including a five-week murder trial, truncated certain testimony.

See Dkt. 291 ¶ 54. Disputed for the reasons provided in Response 63(a), above, which

Defendants incorporate here by reference.

       63(c). Mr. Colborn also emphasized this by stating, “I believe I said to myself, damn,

how did I miss that.” Id. Undisputed.

       64.     Mr. Colborn’s repeated denials in direct examination that he planted evidence, in

questions that were obviously intended to build emphasis and effect, are also blunted by cutting

and splicing them together into one question and eliminating Mr. Colborn’s straightforward,




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“No” response to whether he “set up Mr. Avery for a charge of murder.” Dkt. #290-19 trans. P.

140; cf. Dkt. #120-7 at 18:43-19:15.

       Response: Undisputed that, at trial, Colborn repeatedly denied that he planted evidence

and MaM included those denials. See Dkt. 271 ¶¶ 55, 63. Undisputed that MaM, a 10-hour

documentary series about events that spanned two decades, including a five-week murder trial,

truncated certain testimony. Disputed as attorney argument unsupported by record evidence,

vague, and misleading. MaM speaks for itself, and the Court must consider it as a whole and in

context. See General Objections §§ I, III supra.

       65.     MAM omits from Mr. Colborn’s statements his testimony that the Toyota

emblem was on the key and his knowledge that Ms. Halbach’s vehicle was a Toyota as

influencing why he thought this “was a very important piece of evidence.” Dkt. #290-19 trans. P.

131; Dkt. #120-7 at 17:06-17:32. The omission removes a credible explanation by Mr. Colborn

that contradicts MAM’s insinuation that Mr. Colborn already knew the key was Ms. Halbach’s

because he conspired to plant it in the bedroom.

       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 2 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       65(a). MAM omits from Mr. Colborn’s statements his testimony that the Toyota emblem

was on the key and his knowledge that Ms. Halbach’s vehicle was a Toyota as influencing why

he thought this “was a very important piece of evidence.” Dkt. #290-19 trans. P. 131; Dkt. #120-

7 at 17:06-17:32. Undisputed that a portion of Colborn’s testimony that the key had a Toyota

emblem on it and that he knew Halbach’s vehicle was a Toyota was omitted from this scene of

MaM, see Ep. 7 (Dkt. 120-7) at 17:06-17:32, but noted that MaM includes prior scenes that




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establish Colborn’s knowledge that the car was a Toyota. Episode 2 includes a close up of the

RAV4 key, including the Toyota emblem on it. Dkt. 120-2 at 47:40-47:48. Episode 3 makes

clear that Halbach’s vehicle was a Toyota RAV4. Dkt. 120-3 at 5:40-6:06; Dkt. 291 ¶ 26; Dkt.

271 ¶ 37. Episode 5 includes Colborn’s testimony about calling dispatch about Teresa Halbach’s

“99 Toyota.” See Ep. 5 (Dkt. 120-5) at 55:15-55:30; see also CAPFF ¶¶ 14, 21 supra. MaM

speaks for itself, and the Court must consider it as a whole and in context. See General

Objections §§ I, III supra.

        65(b). The omission removes a credible explanation by Mr. Colborn that contradicts

MAM’s insinuation that Mr. Colborn already knew the key was Ms. Halbach’s because he

conspired to plant it in the bedroom. Disputed. This is not a fact, but a legal conclusion and

unsupported argument by counsel about what MaM allegedly “insinuates.” To the extent

construed as a fact, Defendants dispute and deny this allegation. Further disputed as misleading,

removed from its context, and immaterial. MaM speaks for itself, and the Court must consider it

as a whole and in context. See General Objections §§ I, III supra. See also Response to 65(a),

above, which Defendants incorporate here by reference.

        66.      MAM omits Plaintiff’s direct and forthright response, “yes,” to the question

whether he manipulated “this piece of furniture” – the furniture is not identified in the lead-up in

MAM because it has been edited out, but refers to the small bookcase from which law enforcement

officers believe the key fell – and severely truncates Mr. Colborn’s testimony regarding that critical

issue. Dkt. #105 p. 45; cf. Dkt. #290-19 trans. Pp. 125-129. Instead, MAM substitutes a response

that does not appear to directly answer the question, and which therefore appears evasive and as

volunteering unrequested information, which is often interpreted as done by those who are not

being truthful: “I will be the first to admit, I handled it rather roughly, twisting it, shaking it,




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pulling it.” Dkt. #120-7 at 16:34-16:50. The question that was in fact asked prior to the shown

response was “If you can describe that further, I don’t know if you can do it with your words or

show us with your hands, how you did it?” Id. The response was also edited; it began, “I will be

the first to admit, I wasn’t any too gentle, as we were, you know, getting exasperated. . . .” Id.

        Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 6 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

        66(a). MAM omits Plaintiff’s direct and forthright response, “yes,” to the question

whether he manipulated “this piece of furniture[.]” Undisputed.

        66(b). [T]he furniture is not identified in the lead-up in MAM because it has been edited

out, but refers to the small bookcase from which law enforcement officers believe the key fell[.]

Disputed as inaccurate. On screen during the question about “this piece of furniture” is an image

of the small bookcase in Avery’s bedroom. See Ep. 7 (Dkt. 120-7) at 16:41. Additional images of

Avery’s bedroom, including the Toyota key on the floor next to the bookcase, are shown during

this segment. Id. at 16:3416:50.

        66(c). [MaM] severely truncates Mr. Colborn’s testimony regarding that critical issue.

Dkt. #105 p. 45; cf. Dkt. #290-19 trans. Pp. 125-129. Undisputed that MaM, a 10-hour

documentary series about events that spanned two decades, including a five-week murder trial,

truncated certain testimony. See Dkt. 291 ¶ 54. Disputed as to “severely” and “critical” as

attorney argument unsupported by record evidence. Episode 7 features both Kucharski and Lenk

testifying about the discovery of the key, so it did not materially alter the testimony of the key to

compress Colborn’s segment, which followed the others’ testimonies. See Dkt. 288 ¶ 75; Dkt.

291 ¶¶ 136, 137, 139.




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       66(d). Instead, MAM substitutes a response that does not appear to directly answer the

question, and which therefore appears evasive and as volunteering unrequested information,

which is often interpreted as done by those who are not being truthful: “I will be the first to

admit, I handled it rather roughly, twisting it, shaking it, pulling it.” Dkt. #120-7 at 16:34-16:50.

Undisputed that in response to the question, “In performing that search, did you move or

manipulate this piece of furniture,” MaM shows Colborn responding, “Well, I’ll be the first to

admit I handled it rather roughly, twisting it, shaking it, pulling it.” See Dkt. 120-7 at 16:34-

16:50. Disputed that “volunteering unrequested information … is often interpreted as done by

those who are not being truthful;” this is attorney argument unsupported by record evidence.

       66(e). The question that was in fact asked prior to the shown response was “If you can

describe that further, I don’t know if you can do it with your words or show us with your hands,

how you did it?” Id. Undisputed that, in the trial transcript, the above quoted question preceded

Colborn’s testimony that “I will be the first to admit, I wasn’t any too gentle, as we were, you

know, getting exasperated. I handled it rather roughly, twisting it, shaking it, pulling it.” See Dkt.

290-19 at 126. Further undisputed that MaM, a 10-hour documentary series about events that

spanned two decades, including a five-week murder trial, truncated certain testimony. See Dkt.

291 ¶ 54.

       66(f).   The response was also edited; it began, “I will be the first to admit, I wasn’t any

too gentle, as we were, you know, getting exasperated. . . .” Id. Undisputed that the phrase “I

wasn’t any too gentle, as we were, you know, getting exasperated” was not included in Episode 7

at 16:34–16:50 but noted that MaM includes testimony with substantially the same gist. See id.

MaM speaks for itself, and the Court must consider it as a whole and in context. See General

Objections §§ I, III supra.




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       67.      MAM omits critical context from Mr. Colburn’s testimony regarding the exact

moment of discovery of the key, including omission of testimony that explains that Deputy

Kucharski, who is portrayed as likely not in on the alleged conspiracy to plant evidence, was “in

very close proximity” to the bookcase near the place where the key was discovered at the time of

its discovery, and that Mr. Colborn also “wasn’t very far away” and that he had to turn around to

see the key at the time that Lieutenant Lenk mentioned it. Dkt. #290-19 trans. P. 140; Dkt. #120-

7 at 16:19-17:32. The omitted testimony also reduces Mr. Colborn’s testimony about Mr. Lenk’s

statements upon noticing the key, omits his description of what he could see of the key, omits his

direction to Deputy Kurcharski to photograph the key, and omits direct testimony that the spot

from which the key was photographed was “as close as [they] got” to the key at the time. Dkt.

#290-19 trans. Pp. 128-134; cf. Dkt. #120-7.

       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 7 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       67(a). MAM omits critical context from Mr. Colburn’s testimony regarding the exact

moment of discovery of the key[.] Disputed as attorney argument unsupported by record

evidence. MaM speaks for itself, and the Court must consider it as a whole and in context. See

General Objections §§ I, III supra.

       67(b). MAM omits . . . testimony that explains that Deputy Kucharski, who is portrayed

as likely not in on the alleged conspiracy to plant evidence, was “in very close proximity” to the

bookcase near the place where the key was discovered at the time of its discovery[.] Disputed as

inaccurate. Episode 7 includes Colborn testifying that “Deputy Kucharski was sitting on the bed




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filling out paperwork” when Lenk announced that he saw the key. See Ep. 7 (Dkt. 120-7) at

16:53–17:33.

         67(c). MAM omits . . . testimony that explains . . . that Mr. Colborn also “wasn’t very

far away” and that he had to turn around to see the key at the time that Lieutenant Lenk

mentioned it. Dkt. #290-19 trans. P. 140; Dkt. #120-7 at 16:19-17:32. Disputed as inaccurate.

Episode 7 includes Colborn testifying that “I was searching the desk here” when Lenk

announced that he saw the key, while images of Avery’s bedroom, including the desk, the bed,

and the bookshelf, are shown during Colborn’s testimony. See Ep. 7 (Dkt. 120-7) at 16:53–

17:33.

         67(d). The omitted testimony also reduces Mr. Colborn’s testimony about Mr. Lenk’s

statements upon noticing the key[.] Disputed as inaccurate that MaM eliminates Colborn’s

testimony about Lenk’s statements upon noticing the key. Episode 7 includes Colborn testifying

that Lenk said, “There’s a key on the floor here.” See Ep. 7 (Dkt. 120-7) at 16:19–17:32.

Undisputed that MaM, a 10-hour documentary series about events that spanned two decades,

including a five-week murder trial, truncated certain testimony. See Dkt. 291 ¶ 54.

         67(e). The omitted testimony . . . omits his description of what he could see of the key[.]

Undisputed that MaM does not include Colborn’s testimony about what he could see of the key.

Disputed as immaterial. MaM includes images onscreen of the key sitting next to the bookcase

from the search by Colborn of Avery’s bedroom. See Ep. 7 (Dkt. 120-7) at 16:19–17:32. MaM

speaks for itself, and the Court must consider it as a whole and in context. See General

Objections §§ I, III supra.

         67(f).   The omitted testimony . . . omits his direction to Deputy Kurcharski to

photograph the key[.] Undisputed that MaM does not include Colborn’s testimony that he told




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Deputy Kucharski to photograph the key. Disputed as immaterial. Episode 7 includes Kucharski

testifying that he was searching and taking photographs. See Ep. 7 (Dkt. 120-7) at 6:22–9:44.

MaM speaks for itself, and the Court must consider it as a whole and in context. See General

Objections §§ I, III supra.

       67(g). The omitted testimony . . . omits direct testimony that the spot from which the key

was photographed was “as close as [they] got” to the key at the time. Dkt. #290-19 trans. Pp.

128-134; cf. Dkt. #120-7. Undisputed that MaM does not include Colborn’s testimony that the

photograph was as close as he got to the key. Disputed as immaterial. MaM provides

information about Colborn’s proximity to the key, through Kratz asking, “ . . . Sergeant Colborn,

did either you, Lieutenant Lenk, or Deputy Kucharski touch that key?” to which he responds,

“No, sir.” Ep. 7 (Dkt. 120-7) at 17:03–17:33. MaM speaks for itself, and the Court must consider

it as a whole and in context. See General Objections §§ I, III supra.

       68.      MAM omits 20 lines of trial testimony elicited by prosecutor Ken Kratz. Dkt.

#105, p. 45 (referencing pages 122-23 of trial testimony). The testimony provides context for Mr.

Colborn’s assignment to return to the Avery property on the date in question. See Dkt. #290-19

trans. P. 122-23; Dkt. #120-7 at 16:19-17:32. Elsewhere, MAM includes accusations, including

direct accusations by Avery’s defense team investigator, that it was improper for Mr. Colborn

and other Manitowoc County Sheriff’s deputies to be on the property.

       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 3 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       68(a). MAM omits 20 lines of trial testimony elicited by prosecutor Ken Kratz. Dkt.

#105, p. 45 (referencing pages 122-23 of trial testimony). Undisputed that MaM, a 10-hour




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documentary series about events that spanned two decades, including a five-week murder trial,

truncated certain testimony. See Dkt. 291 ¶ 54.

       68(b). The testimony provides context for Mr. Colborn’s assignment to return to the

Avery property on the date in question. See Dkt. #290-19 trans. P. 122-23; Dkt. #120-7 at 16:19-

17:32. Undisputed that the trial transcript reflects this context. See Dkt. 290-19 at 122. Further

undisputed that MaM, a 10-hour documentary series about events that spanned two decades,

including a five-week murder trial, truncated certain testimony. See Dkt. 291 ¶ 54. Disputed as

immaterial. MaM speaks for itself. See General Objections §§ I, III supra.

       68(c). Elsewhere, MAM includes accusations, including direct accusations by Avery’s

defense team investigator, that it was improper for Mr. Colborn and other Manitowoc County

Sheriff’s deputies to be on the property. Disputed that MaM includes “accusations,” which is

attorney argument unsupported by record evidence. Undisputed that MaM includes Avery’s

investigator’s discussion of the conflict-of-interest concerns, which is non-actionable statement

of opinion. See Ep. 7 (Dkt. 120-7) at 20:42–21:42. It is also substantially true that Calumet

County was responsible for leading the investigation into Avery for Halbach’s murder because of

the conflict of interest presented by Avery’s pending lawsuit against Manitowoc County. Dkt.

271 ¶ 11.

       69.      MAM also omitted 30 pages of testimony regarding the lead-up to the search of

the Avery property, including Mr. Colborn’s background and training as an evidence technician.

Dkt. #105, p. 49; Dkt. 290-19 trans. Pp. 141-71.

       Response: Undisputed that MaM, a 10-hour documentary series about events that

spanned two decades, including a five-week murder trial, truncated certain testimony. See Dkt.

291 ¶ 54. Disputed as immaterial. MaM speaks for itself. See General Objections §§ I, III supra.




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       70.      MAM omits numerous transcript pages in which Mr. Colborn describes searches

on the Avery property before the key was found. Dkt. #132-1 trans. Pp. 76-121.

       Response: Undisputed that MaM, a 10-hour documentary series about events that

spanned two decades, including a five-week murder trial, truncated certain testimony and did not

include all of Colborn’s testimony, which spanned 152 transcript pages and comprised more than

three hours of footage. See Dkt. 291 ¶ 54.

       71.      Contrary to the Glynn accusations repeated in MAM, Glynn elicited testimony

from Mr. Colborn that establishes that there would have been no reason, under the jail’s record-

keeping practices, for Mr. Colborn to make a report of the call that he transferred from the jail.

Dkt. #120-14 at 14:1-23; Dkt. #129-1 at 2:46-4:19.

       Response: Disputed as inaccurate, attorney argument not supported by the record, and

immaterial. Colborn testified that it wasn’t his role to follow up on the Jail Call, but Glynn did

not elicit testimony from Colborn about whether there was reason to make a record of the Jail

Call. See Dkt. 290-7. Colborn testified at the Avery trial in response to questioning by Kratz that

he had no reason to make a record, Dkt. 120-29 at 70-71 (212:14-213:5), and MaM depicted this,

see Ep. 7 (Dkt. 120-7) at 23:46–24:03.

       72.      Glynn also elicited testimony that established that Mr. Colborn had no authority

to investigate the call further, directly contrary to Glynn’s accusations in MAM:

       Glynn:          At any rate, you recognized that this was significant enough that
                       you should forward that call that was coming in from another
                       detective to someone in the Manitowoc County Sheriff’s
                       Department to take it further, correct?

       Colborn:        Yes.

       Glynn:          It wasn’t within your jurisdiction to take it any further, correct?
                       Mr. Colborn: No, sir.




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       Glynn:          I mean, even if you had wanted to, you didn’t have the legal
                       authority under your job duties to do that.

       Colborn:        Correct.

Dkt. #129-1 at 12:41-14:30; Dkt. #120-14 p. 14.

       Response: Undisputed that the civil trial deposition transcript reflects an exchange with

substantially the same gist. The transcript exchange between Glynn and Colborn is as follows:

       Glynn:          “Okay. At any rate, you recognized this was significant enough
                       that you should forward that call that was coming in from another
                       detective to someone in the Manitowoc County Sheriffs
                       Department to take it further, correct?”

       Colborn:        “Yes, sir.”

       Glynn:          “It wasn't within your jurisdiction to take it any further, correct?”

       Colborn:        “No, sir.”

       Glynn:          “And even if you had wanted to, you didn't have the legal authority
                       under your job duties to do that.”

       Colborn:        “Correct.”

Dkt. 129-1 at 12:41-14:30; Dkt. 120-14 at 14. Disputed as inaccurate that Glynn accused

Colborn of failing to investigate further. Glynn represented Avery in his civil rights case against

Manitowoc County, MTSO, Thomas Kocourek, and Dennis Vogel for failing to investigate

exculpatory evidence, among other things. He was accusing those defendants of misconduct, not

Colborn. See Dkt. 291 ¶¶ 6, 16–18. MaM accurately reflects Colborn’s limited authority at the

time of the Jail Call and the fact that he passed the information to higher-ups for decision on how

to handle. Dkt. 271 ¶¶ 57-62. MaM speaks for itself, and the Court must consider it as a whole

and in context. See General Objections §§ I, III supra.

       73.      MAM also portrays Mr. Colborn as furthering the cover-up in his deposition

testimony that he did not recall with whom he may have discussed, in 2003, the prior call to the

jail. Through juxtaposition with other witnesses’ testimony that is pieced together to suggest that


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Mr. Colborn may have discussed the report with an assistant district attorney in 2003, MAM

implies that the other witnesses’ testimony exposes Mr. Colborn’s testimony as untruthful. Dkt.

#120-2 at 23:50-26:52. The testimony by Mr. Colborn that MAM includes stops just short of a

clarification that would have dispelled any nefarious construction of Mr. Colborn’s testimony:

Glynn asks Mr. Colborn, “But you’re not ruling out the possibility that you may have discussed

it,” to which Mr. Colborn replies, “No I’m not ruling out the possibility that I may have

discussed it with someone else.” Dkt. #129-1 at 19:06-19:34. The omission of this clarification is

used to attempt to portray a more stark contrast between Mr. Colborn’s testimony and that of

others.

          Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 5 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

          73(a). MAM also portrays Mr. Colborn as furthering the cover-up in his deposition

testimony that he did not recall with whom he may have discussed, in 2003, the prior call to the

jail. Undisputed that MaM portrays Colborn in his deposition testifying that he did not

specifically recall discussing the Jail Call with others before 2003. See Ep. 2 (Dkt. 120-2) at

23:34–24:00. The deposition testimony speaks for itself, and Colborn has not alleged he testified

falsely. See Dkt. 291 ¶¶ 11, 12; Dkt. 324 ¶¶ 11, 12 (Colborn not disputing facts). Disputed as

attorney argument unsupported by record evidence that accurate portrayal of deposition

testimony somehow constitutes a portrayal of Colborn “as furthering the cover-up.” The parties

accused of failing to investigate exculpatory evidence against Avery were Manitowoc County,

MTSO, Thomas Kocourek, and Dennis Vogel, not Colborn. See Dkt. 291 ¶¶ 6, 16–18; Dkt. 324

¶¶ 6, 18 (Colborn not disputing facts).




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       73(b). Through juxtaposition with other witnesses’ testimony that is pieced together to

suggest that Mr. Colborn may have discussed the report with an assistant district attorney in

2003, MAM implies that the other witnesses’ testimony exposes Mr. Colborn’s testimony as

untruthful. Dkt. #120-2 at 23:50-26:52. Undisputed that, as depicted in MaM, law enforcement

officers testified inconsistently regarding whether someone in MTSO told Colborn not to worry

about the Jail Call because MTSO had “the right guy” (some believed Sheriff Kocourek likely

delivered this message to Colborn). See Dkt. 291 ¶ 13. Colborn’s SAC in this lawsuit contradicts

his own sworn testimony on this point. See Dkt. 105 ¶ 25; cf. Dkt. 290-7 at 15:7–24; Dkt. 324

¶ 13 (disputing fact with no explanation). Disputed as a legal conclusion and attorney argument

not supported by the record that MaM “implies that the other witnesses’ testimony exposes Mr.

Colborn’s testimony as untruthful.” See Dkt. 291 ¶ 117.

       73(c). The testimony by Mr. Colborn that MAM includes stops just short of a

clarification that would have dispelled any nefarious construction of Mr. Colborn’s testimony[.]

Disputed as attorney argument unsupported by record evidence.

       73(d). Glynn asks Mr. Colborn, “But you’re not ruling out the possibility that you may

have discussed it,” to which Mr. Colborn replies, “No I’m not ruling out the possibility that I

may have discussed it with someone else.” Dkt. #129-1 at 19:06-19:34. Undisputed.

       73(e). The omission of this clarification is used to attempt to portray a more stark

contrast between Mr. Colborn’s testimony and that of others. Disputed as attorney argument

unsupported by any record evidence that this “omission” was an “attempt to portray” anything

other than the proceedings in Avery’s civil suit within the context of a 10-hour documentary

series about events that spanned two decades, including a 5-week murder trial. See also

Response to 73(b), above, which Defendants incorporate here by reference.




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       74. In general, a comparison between Mr. Colborn’s actual testimony at the Halbach trial

and the MAM version reveals striking differences. At the trial, Mr. Colborn is virtually always

shown looking up at the questioner and making eye contact after speaking into the microphone

on the witness stand. Barker Decl., Exs. 3, 4 and 5. In MAM, he is rarely if ever shown making

eye contact. He appears to be looking down much of the time. Dkt. #120-7 at 16:03-20:33,

21:43-24:30.

       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 2 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       74(a). In general, a comparison between Mr. Colborn’s actual testimony at the Halbach

trial and the MAM version reveals striking differences. Disputed as attorney argument

unsupported by record evidence, vague, misleading, removed from context, and immaterial.

Defendants respond to Colborn’s specific “examples” as they arise below. Undisputed that

MaM substituted comparable footage where necessary due to the Unterminated Feed Footage

Issue. See Response to 17, above, which Defendants incorporate here by reference.

       74(b). At the trial, Mr. Colborn is virtually always shown looking up at the questioner

and making eye contact after speaking into the microphone on the witness stand. Barker Decl.,

Exs. 3, 4 and 5. In MAM, he is rarely if ever shown making eye contact. He appears to be

looking down much of the time. Dkt. #120-7 at 16:03-20:33, 21:43-24:30. Undisputed that,

when testifying at trial, Colborn at times made eye contact with the examining attorney.

Disputed as inaccurate and attorney argument unsupported by record evidence. Further disputed

to the extent read to imply these scenes were somehow fabricated. All footage of Colborn’s trial

testimony in MaM comes from the trial. Any moments showing Colborn not looking up and




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making eye contact are moments that actually occurred and were captured in mixed-feed footage.

See Dkt. 288 ¶¶ 29, 55, 78, 79; Dkt. 291 ¶¶ 76–82, 114. The Producer Defendants were unable to

use raw footage from the witness-facing camera due to the Unterminated Feed Footage Issue.

See Response to 17, above, which Defendants incorporate here by reference.

       74. Additional edits to Mr. Colborn’s testimony appear to change his physical reaction,

including those summarized below:10

             Different visual into footage of testimony at Barker Decl. Ex. 5A CHRM
              864 at 14:45-14:55. Plaintiff testified, “That’s what he told me, he never
              talked to her.” After that statement in raw footage, Mr. Colborn continues
              to hold direct eye contact with the questioner. In MAM, after that
              statement [Dkt. #120-7 at 16:10-16:20], he looks down, then up, then
              down again (and it cuts to Steven Avery staring intently at him).
              Defendants substituted a different visual following this response.

             Barker Decl. Ex. 5B CHRM 866 at 5:54-6:00 is audio of Ken Kratz during
              which he begins a question by stating “Sergeant Colborn,” Mr. Colborn
              looks up toward the questioner when his name is mentioned. In MAM,
              over those words, he looks down and fiddles with his glasses instead.
              MAM then splices in “You were asked, as I understand as part of a civil
              lawsuit” – Mr. Colborn is shown in MAM (Dkt. #120-7 at 17:34-17:47) as
              looking down during this question. In Barker Decl. Ex. 5C CHRM 866 at
              7:10-7:25, during the question, he makes eye contact with the questioner
              as the question is asked.

             A completely different “reaction shot” to Dean Strang saying “I have
              some questions for you” in MAM (Dkt. #120-7 at 19:24-19:35), as
              compared to Barker Decl. Ex. 5D CHRM 866 at 10:58-11:05, during
              which Mr. Colborn looks more confident in the footage of his original
              reaction.

             In Episode 7 (Dkt. #120-7 at 21:59-22:11), Mr. Colborn’s response to a
              spliced question that asked him whether there was “no time” that he was at
              the Avery property that he was not there with Lieutenant Lenk, is edited so
              that his “Not that I can recall” response (Barker Decl. Ex. 5E CHRM 867
              at 29:40-30:2), and a corresponding pause that demonstrated Plaintiff’s
              genuine attempt to recall and formulate an answer to the question, was

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  As noted above, see note 2 supra, Colborn included two different paragraphs numbered 74.
For the Court’s convenience, Defendants preserved Colborn’s numbering, but note that this
results in 95 additional proposed facts rather than the 94 listed.


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               instead replaced with a definite and quick “No sir,” in an apparent attempt
               to buttress the impression for viewers that Plaintiff definitively was
               always at the property with Lt. Lenk and that Plaintiff knew that fact
               immediately and for certain, without having to think about it, in support
               of their allegation of a conspiracy involving Lt. Lenk and Mr. Colborn.
               Although the response “not that I can recall” is included in another
               responses immediately following that question positing that there was no
               time that Plaintiff was not there with Mr. Lenk, the omission of the “Not
               that I can recall” response to the prior question undermines the
               consistency of Plaintiff’ s testimony in response to these questions.

              In Episode 7 (Dkt. #120-7 at 22:20-22:27), MAM swaps out a “Yes, sir”
               response that shows Plaintiff looking down as he answers and during the
               next question posed by Mr. Strang, when in fact, Plaintiff responds to the
               question (whether the case was the largest investigation in which he had
               been involved), by briefly looking down to speak into the microphone and
               then immediately looking back up at Mr. Strang (Barker Decl. Ex. 5E
               CHRM 867 at 29:40-30:21).

              In Episode 7 (Dkt. #120-7 at 22:35-22:40), MAM inserts a response of
               “Correct” that shows Plaintiff appearing to pause and look down after
               responding to an altered question about his reports (and MAM omits
               information about the extent of his report to downplay Mr. Colborn’s total
               contribution to the reports, as explained in Exhibit B to the Second
               Amended Complaint at Dkt. #105 pp. 50-51), omitting and replacing two
               “That’s correct, sir” and “Correct” responses that show Plaintiff looking
               down briefly to the microphone for each answer but then looking back up
               to the questioner each time (Barker Decl. Ex. 5F CHRM 867 at 31:00-
               31:17).

       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 18 distinct proposed facts which should have been separately enumerated,

in violation of Civil L.R. 56(b)(2)(B)(ii). Each of these involves the Unterminated Feed Footage

Issue. See Response to 17, above, which Defendants incorporate here by reference . Responding

to each subpart:

       74(a). Additional edits to Mr. Colborn’s testimony appear to change his physical

reaction, including those summarized below[.] Disputed as attorney argument unsupported by

record evidence, vague, misleading, removed from context, and immaterial. Defendants respond




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to Colborn’s specific “examples” as they arise below. See Response to 17, above, which

Defendants incorporate here by reference (Unterminated Feed Footage Issue).

       74(b)(1).       Different visual into footage of testimony at Barker Decl. Ex. 5A CHRM

864 at 14:45-14:55. Plaintiff testified, “That’s what he told me, he never talked to her.” After

that statement in raw footage, Mr. Colborn continues to hold direct eye contact with the

questioner. Undisputed that in the raw footage, Colborn testified as cited and looked up

afterward. See Dkt. 312 Ex. 5A CHRM864. See Response to 17, above, which Defendants

incorporate here by reference (Unterminated Feed Footage Issue).

       74(b)(2).       In MAM, after that statement [Dkt. #120-7 at 16:10-16:20], he looks

down, then up, then down again (and it cuts to Steven Avery staring intently at him). Undisputed

that in MaM, the visual shows Avery silently sitting in court while Colborn’s voice is heard

responding, “That’s what he told me. He never talked to her,” followed by Colborn silently

looking down, looking up and forward, and then looking up to his right. See Ep. 7 (Dkt. 120-7) at

16:10–16:20. MaM speaks for itself. See General Objection § I, III supra. See also Response to

17, above, which Defendants incorporate here by reference (Unterminated Feed Footage Issue).

       74(b)(3).       Defendants substituted a different visual following this response.

Undisputed. Due to the Unterminated Feed Footage Issue, there was no usable footage of

Colborn on the witness stand at this moment providing this particular answer to Kratz, so Demos

substituted footage from another part of Kratz’s examination, including a shot of Avery while

Colborn answered the question, and then footage of Colborn waiting between questions. See Dkt.

288 ¶ 78; see also Dkt. 283, Exs. 21–24 (videos demonstrating how usable footage from that

moment was unavailable due to Unterminated Feed Footage Issue). The Producer Defendants did

not substitute footage out of any bias or ill will, nor did the substitution alter the meaning of




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Colborn’s testimony in any material way. See Dkt. 288 ¶ 78; see also Response to 17, above,

which Defendants incorporate here by reference (Unterminated Feed Footage Issue).

       74(c)(1).       Barker Decl. Ex. 5B CHRM 866 at 5:54-6:00 is audio of Ken Kratz during

which he begins a question by stating “Sergeant Colborn,” Mr. Colborn looks up toward the

questioner when his name is mentioned. Undisputed that the raw footage shows Colborn looking

up to his right and then looking up and forward while rubbing his right hand on his chin. See

Dkt. 312, Ex. 5B CHRM000866. See Response to 17, above, which Defendants incorporate here

by reference (Unterminated Feed Footage Issue).

       74(c)(2).       In MAM, over those words, he looks down and fiddles with his glasses

instead. MAM then splices in “You were asked, as I understand as part of a civil lawsuit” – Mr.

Colborn is shown in MAM (Dkt. #120-7 at 17:34-17:47) as looking down during this question.

Undisputed that MaM shows Colborn looking forward, to his right, and then down before

adjusting his glasses while Kratz asks the question. The visual then cuts to Kratz speaking, the

courtroom gallery with Avery family members and Wisconsin DOJ investigator Deb Strauss, and

then back to Colborn for his response. See Ep. 7 (Dkt. 120-7) at 17:34–17:47. Due to the

Unterminated Feed Footage Issue, there was no useable footage of Colborn on the witness stand

listening to Kratz asking this particular question, so Demos substituted footage from another part

of Kratz’s examination while Colborn was listening and waiting for him to complete his

question. See Dkt. 288 ¶ 55, Dkt. 283, Ex. 5–8 (videos demonstrating how usable footage from

that moment was unavailable due to Unterminated Feed Footage Issue). The Producer

Defendants did not substitute footage out of any bias or ill will, nor did the substitution alter the

meaning of Colborn’s testimony in any material way. See Dkt. 288 ¶ 55; see also Response to

17, above, which Defendants incorporate here by reference (Unterminated Feed Footage Issue).




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       74(c)(3).       In Barker Decl. Ex. 5C CHRM 866 at 7:10-7:25, during the question, he

makes eye contact with the questioner as the question is asked. Undisputed that the raw footage

shows Colborn looking up during this question. See Response to 17, above, which Defendants

incorporate here by reference (Unterminated Feed Footage Issue).

       74(d). A completely different “reaction shot” to Dean Strang saying “I have some

questions for you” in MAM (Dkt. #120-7 at 19:24-19:35), as compared to Barker Decl. Ex. 5D

CHRM 866 at 10:58-11:05, during which Mr. Colborn looks more confident in the footage of his

original reaction. Undisputed that MaM features footage of the witness that differs from the raw

footage although the difference is immaterial. Due to the Unterminated Feed Footage Issue, there

was no usable footage of Colborn waiting for Strang to ask his next question at 55:25–55:35 of

Episode 5, so Demos substituted a comparable waiting shot—the “confident” shot—there. See

Dkt. 288 ¶¶ 65, 66; see also Dkt. 283 Exs. 17–20 (videos demonstrating how usable footage

from that moment in Episode 5 was unavailable due to Unterminated Feed Footage Issue).

Having already used that shot of Colborn’s reaction in Episode 5, the Producer Defendants could

not reuse it, so they substituted another shot of Colborn waiting for a question at 19:24–19:35 of

Episode 7. See Dkt. 288 ¶¶ 65, 66. The Producer Defendants did not substitute footage out of any

bias or ill will, nor did the substitution alter the meaning of Colborn’s testimony in any material

way. See Dkt. 288 ¶ 65. Colborn complains here that Defendants do not use a shot that makes

him “look[] more confident,” but this is the exact shot that Colborn criticizes for showing him

“shift[ing] uncomfortably” in CAPFF ¶ 15, supra. See Dkt. 288 ¶¶ 65, 66.

       74(e). In Episode 7 (Dkt. #120-7 at 21:59-22:11), Mr. Colborn’s response to a spliced

question that asked him whether there was “no time” that he was at the Avery property that he

was not there with Lieutenant Lenk, is edited so that his “Not that I can recall” response (Barker




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Decl. Ex. 5E CHRM 867 at 29:40-30:2), and a corresponding pause that demonstrated

Plaintiff’s genuine attempt to recall and formulate an answer to the question, was instead

replaced with a definite and quick “No sir,” in an apparent attempt to buttress the impression

for viewers that Plaintiff definitively was always at the property with Lt. Lenk and that Plaintiff

knew that fact immediately and for certain, without having to think about it, in support of their

allegation of a conspiracy involving Lt. Lenk and Mr. Colborn. Although the response “not that I

can recall” is included in another responses immediately following that question positing that

there was no time that Plaintiff was not there with Mr. Lenk, the omission of the “Not that I can

recall” response to the prior question undermines the consistency of Plaintiff’ s testimony in

response to these questions. Undisputed that MaM features footage of Colborn responding “No,

sir” rather than “Not that I can recall” at 21:59–22:11 of Episode 7. Due to the Unterminated

Feed Footage Issue, there was only one instance of usable footage of Colborn saying “Not that I

recall” from that line of questioning, so Demos substituted a “No, sir” for the first instance and

used the original “Not that I can recall” for the second instance. See Dkt. 288 ¶ 76. The Producer

Defendants did not substitute footage out of any bias or ill will, nor did the substitution alter the

meaning of Colborn’s testimony in any material way. See Dkt. 288 ¶ 76; see also Response to

17, above, which Defendants incorporate here by reference (Unterminated Feed Footage Issue).

       74(f). In Episode 7 (Dkt. #120-7 at 22:20-22:27), MAM swaps out a “Yes, sir” response

that shows Plaintiff looking down as he answers and during the next question posed by Mr.

Strang[.] Plaintiff [in fact] responds to the question (whether the case was the largest

investigation in which he had been involved), by briefly looking down to speak into the

microphone and then immediately looking back up at Mr. Strang (Barker Decl. Ex. 5E CHRM

867 at 29:40-30:21). Undisputed that MaM features footage of Colborn’s “Yes, sir” response




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from Strang’s subsequent question at 22:20–22:27 of Episode 7. Due to the Unterminated Feed

Footage Issue, the usable footage of Colborn providing his response is a moment too late, as it

cuts between Strang and Colborn while Colborn was already answering his question, so Demos

substituted footage and an identical “Yes, sir” response from the next question, which isn’t cut

off. See Dkt. 288 ¶ 79, Dkt. 283, Ex. 25–28 (video demonstrating how usable footage from that

moment was unavailable due to Unterminated Feed Footage Issue).The Producer Defendants did

not substitute footage out of any bias or ill will, nor did the substitution alter the meaning of

Colborn’s testimony in any material way. See Dkt. 288 ¶ 79; see also Response to 17, above,

which Defendants incorporate here by reference (Unterminated Feed Footage Issue).

       74(g). In Episode 7 (Dkt. #120-7 at 22:35-22:40), MAM inserts a response of “Correct”

that shows Plaintiff appearing to pause and look down after responding to an altered question

about his reports[.] MAM omits information about the extent of his report to downplay Mr.

Colborn’s total contribution to the reports, as explained in Exhibit B to the Second Amended

Complaint at Dkt. #105 pp. 50-51[.] MaM omit[s] and replac[es] two “That’s correct, sir” and

“Correct” responses that show Plaintiff looking down briefly to the microphone for each answer

but then looking back up to the questioner each time (Barker Decl. Ex. 5F CHRM 867 at 31:00-

31:17). Undisputed that MaM features footage of Colborn responding “Correct” rather than

“That’s correct, sir” at 22:35–22:40 of Episode 7. Due to the Unterminated Feed Footage Issue,

the usable footage of Colborn providing this response cuts away from Colborn immediately after

he responds, “That’s correct, sir,” so Demos substituted a shot of Colborn responding “Correct”

from the same examination where the camera stays on Colborn longer so that the series could

show Strang’s question, the image of the report being discussed, and Colborn’s response.

Dkt. 288 ¶ 80; Ep. 7 (Dkt. 120-7) at 22:35–22:39. The Producer Defendants did not substitute




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footage out of any bias or ill will, nor did the substitution alter the meaning of Colborn’s

testimony in any material way. See Dkt. 288 ¶ 80; see also Response to 17, above, which

Defendants incorporate here by reference (Unterminated Feed Footage Issue).

       75.     MAM does not fairly represent Mr. Colborn in excerpts from video depositions

taken during Avery’s civil trial. The full video deposition of Mr. Colborn’s testimony in Avery’s

civil case demonstrates that Mr. Colborn appeared confident and relaxed and made regular eye

contact with the examining attorney. Dkt. #129-1. In contrast, in the clips of Mr. Colborn’s

testimony at Mr. Colborn’s civil suit deposition that appear in MAM, his gaze is not matched to

the examining attorneys. Dkt. #120-2 at 17:34-17:44, 18:27-19:05, 19:42-20:00. Moreover, the

deposition footage was not displayed in full screen in MAM, so that Mr. Colborn appears to be

looking down in answering questions, but the full-screen video shows that he was looking at an

exhibit. Dkt. #129-1 at 4:10 PM, 4:13-4:17 PM. The document cannot be seen on MAM. See

Dkt. #120-2 at 18:30-19:05.

       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 5 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       75(a). MAM does not fairly represent Mr. Colborn in excerpts from video depositions

taken during Avery’s civil trial. Disputed as a legal conclusion and attorney argument

unsupported by record evidence, vague, and misleading. The claim that MaM “does not fairly

represent” Colborn is not a fact, but a legal contention. It is inappropriate for inclusion here as a

proposed material fact, and the Court should disregard it. To the extent construed as a fact,

Defendants dispute and deny this allegation. The content of MaM speaks for itself. See General




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Objections §§ I, III supra. Defendants respond to Colborn’s specific “examples” as they arise

below.

         75(b). The full video deposition of Mr. Colborn’s testimony in Avery’s civil case

demonstrates that Mr. Colborn appeared confident and relaxed and made regular eye contact

with the examining attorney. Dkt. #129-1. Undisputed that, in his deposition for Avery’s civil

lawsuit, Colborn at times made eye contact with the examining attorney. Disputed as attorney

argument unsupported by record evidence, inaccurate, and immaterial. The video deposition

speaks for itself. See General Objection § III supra. Any moments in MaM showing Colborn

testifying actually occurred and were captured in raw deposition footage. See Dkt. 288 ¶¶ 17–20;

Dkt. 291 ¶¶ 71; see also Dkt. 320, Prod. Def. SPFOF ¶ 45 (Colborn admitting how testifying

made him feel uncomfortable); Dkt. 320, Prod. Def. Resp. PFOF ¶ 78. Colborn’s former counsel

of record, Michael Griesbach, described watching Avery civil suit deposition testimony of “the

officers who were most directly accused of wrongdoing—either in the first Avery case or in the

second,” which includes Colborn, as “watching them squirm” and observed that MaM’s portrayal

of their testimony “was not simply a case of only selective editing to make them look bad.” Dkt.

289-31; Dkt. 320, Prod. Def. SPFOF ¶ 46.

         75(c). In contrast, in the clips of Mr. Colborn’s testimony at Mr. Colborn’s civil suit

deposition that appear in MAM, his gaze is not matched to the examining attorneys. Dkt. #120-2

at 17:34-17:44, 18:27-19:05, 19:42-20:00. Disputed as attorney argument unsupported by

record evidence, inaccurate, and immaterial. Colborn alternates between looking up at the

attorney and looking down at a paper reflected in his eyeglasses. See Ep. 2 (Dkt. 120-2) at

17:34–17:44, 18:27–19:05, 19:42–20:00. MaM speaks for itself, and the Court must consider it

as a whole and in context. See General Objections §§ I, III supra.




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       75(d). Moreover, the deposition footage was not displayed in full screen in MAM, so

that Mr. Colborn appears to be looking down in answering questions, but the full-screen video

shows that he was looking at an exhibit. Dkt. #129-1 at 4:10 PM, 4:13-4:17 PM. Undisputed

that the video footage from Colborn’s deposition is fit to the screen pursuant to required

technical specifications in a way that does not show the paper and table in front of him. See Ep. 2

(Dkt. 120-2) at 17:34–17:44, 18:27–19:05, 19:42–20:00.

       75(e). The document cannot be seen on MAM. See Dkt. #120-2 at 18:30-19:05.

Disputed as inaccurate and immaterial. Colborn is shown looking down while Stephen Glynn

asks, “You’ve gone over exhibit 138,” and continues with questions referencing the document.

The presence of the document is apparent from the questioning, and a reflection of the paper is

visible in Colborn’s eyeglasses. See Ep. 2 (Dkt. 120-2) at 18:27-19:05. MaM speaks for itself,

and the Court must consider it as a whole and in context. See General Objections §§ I, III supra.

       76.      Barbara and Andrew Colborn divorced on February 23, 2022, after filing for

divorce on March 10, 2021. (B. Colborn Decl. ¶2).

       Response: Undisputed.

       77.      Andrew Colborn acted differently after Making a Murderer was released because

of the allegations made about him there: He drank more, though he did not overindulge. He was

quieter, avoided going out in public, was suspicious of everybody, and was continually

apprehensive and hypervigilant about threats he had received and about confrontations with

strangers. He worried about these things constantly. He was always anxious. He never returned

to normal after Making a Murderer was released, and he was never able to let go of the

defamation he endured; in Barbara Colborn’s view, it consumed him. (B. Colborn Decl. ¶¶5, 6,

7, 8; A. Colborn Decl. ¶4, 5).




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       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 11 distinct proposed facts which should have been separately enumerated,

in violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       77(a). Andrew Colborn acted differently after Making a Murderer was released

because of the allegations made about him there[.] Undisputed that Colborn claims he acted

differently after MaM’s release and that he attributes his change in behavior to MaM. Disputed

to the extent this allegation implies a legally cognizable causal connection that neither Colborn

nor his ex-wife are qualified to make. Colborn did not disclose an expert on the extent or cause

of his alleged emotional distress. See Dkt. 269 at 43-44. Further, to date, Colborn has watched

little more than an hour of the series, see Dkt. 271 ¶ 126, and his ex-wife reports that Colborn’s

behavior also changed as a result of Avery’s trial for Halbach’s murder. See Dkt. 273 ¶¶ 8-9. He

admitted at his deposition in this case that he did not begin taking medication for his alleged

emotional distress until he filed this lawsuit (three years after MaM’s release). He also admitted

that, these days, his alleged emotional distress is so mild that not even his live-in girlfriend

notices its alleged manifestations. Dkt. 271 ¶ 132.

       77(b). He drank more, though he did not overindulge. Undisputed that Colborn claims

to have started drinking more after MaM’s release. Disputed for the reasons set forth in the

Response to 77(a), above, which Defendants incorporate here by reference. Colborn’s ex-wife

also reports that Colborn’s drinking increased as a result of Avery’s trial for Halbach’s murder.

See Dkt. 273 ¶ 9.

       77(c). He was quieter[.] Undisputed that Colborn claims to have become more

reserved after MaM’s release, but otherwise disputed for the reasons set forth in the Response to

77(a), above, which Defendants incorporate here by reference.




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       77(d). He avoided going out in public[.] Undisputed that Colborn claims to have

avoided going out in public after MaM’s release, but otherwise disputed for the reasons set forth

in the Response to 77(a), above, which Defendants incorporate here by reference.

       77(e). He was suspicious of everybody[.] Undisputed that Colborn claims to be

suspicious of everyone after MaM’s release, but otherwise disputed for the reasons set forth in

the Response to 77(a), above, which Defendants incorporate here by reference.

       77(f).   And he was continually apprehensive and hypervigilant about threats he had

received and about confrontations with strangers. Undisputed that Colborn claims to be

continually apprehensive and hypervigilant after MaM’s release, but otherwise disputed for the

reasons set forth in the Response to 77(a), above, which Defendants incorporate here by

reference.

       77(g). He worried about these things constantly. Undisputed that Colborn claims to

have become more worrisome after MaM’s release, but otherwise disputed for the reasons set

forth in the Response to 77(a), above, which Defendants incorporate here by reference.

       77(h). He was always anxious. Undisputed that Colborn claims to have become more

anxious after MaM’s release, but otherwise disputed for the reasons set forth in the Response to

77(a), above, which Defendants incorporate here by reference.

       77(i).   He never returned to normal after Making a Murderer was released[.]

Undisputed that Colborn claims to be unable to return to normalcy after MaM’s release.

Disputed for the reasons set forth in the Response to 77(a), above, which Defendants incorporate

here by reference. Further noted that several individuals confirm Colborn became so fixated on

MaM and suing over it that he could not let it go, even to this day. See Dkt. 273 ¶¶ 20, 24-25, 26;

Dkt. 278 ¶¶ 11-12, 15, 18.




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       77(j).   And he was never able to let go of the defamation he endured[.] Disputed

because the allegation that Colborn endured “defamation” is not a fact, but a legal conclusion. It

is inappropriate for inclusion here, and the Court should disregard it. Undisputed that Colborn

seems unwilling (if not unable) to “let go” of the reputational harm he believes he has incurred.

Further noted, that Colborn believes many third parties harmed his reputation and he is also

unwilling to “let go” of that belief. Dkt. 265 ¶¶ 17-22. See also the Response to 77(i), above,

which Defendants incorporate here by reference.

       77(k). In Barbara Colborn’s view, it consumed him. (B. Colborn Decl. ¶¶5, 6, 7, 8; A.

Colborn Decl. ¶4, 5). Undisputed that Colborn’s ex-wife made this statement in a declaration

Colborn obtained from her. Further undisputed that Colborn seems consumed with punishing

Defendants for documenting the accusations that Avery and his counsel publicly levied against

him at Avery’s trial for the murder of Halbach. Disputed for the reasons set forth in Response to

77(j), above, which Defendants incorporate here by reference.

       78.      Andrew Colborn always took his job in law enforcement seriously and was

disturbed, troubled, and offended by how Making a Murderer portrayed him and about its

negative effect on his reputation. (B. Colborn Decl. ¶9; A. Colborn Decl. ¶24).

       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 2 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       78(a). Andrew Colborn always took his job in law enforcement seriously. Undisputed,

though immaterial.

       78(b). He was disturbed, troubled, and offended by how Making a Murderer portrayed

him and about its negative effect on his reputation. (B. Colborn Decl. ¶9; A. Colborn Decl. ¶24).




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Undisputed that Colborn claims he was disturbed, troubled, and offended by MaM, that he

claims his reputation was negatively impacted by MaM, and that he attributes all of this to MaM.

Disputed to the extent this allegation implies a legally cognizable causal connection between

MaM and Colborn’s alleged emotional distress that neither Colborn nor his ex-wife are qualified

to make. Colborn did not disclose an expert on the extent or cause of his alleged emotional

distress. See Dkt. 269 at 43-44. Further, to date, Colborn has watched little more than an hour of

the series, see Dkt. 271 ¶ 126, and his ex-wife reports that Colborn’s behavior also changed as a

result of Avery’s trial for Halbach’s murder. See Dkt. 273 ¶¶ 8-9. Colborn admitted at his

deposition that the trial itself, see Dkt. 271 ¶ 139, and statements by various third parties also

harmed his reputation and even led to a death threat. Dkt. 265 ¶¶ 17-22. He also admitted at his

deposition that he did not begin taking medication for his alleged emotional distress until he filed

this lawsuit (three years after MaM’s release). And he admitted that, these days, his alleged

emotional distress is so mild that not even his live-in girlfriend notices its alleged manifestations.

Dkt. 271 ¶¶ 132-34.

       79.      Colborn received many threatening e-mails and threatening voice mail messages.

He received mail from strange addresses and instructed his wife not to open any of the mail. He

received exploding graffiti and other things from strangers. (B. Colborn Decl. ¶10; A. Colborn

Decl. ¶¶10, 11, 12).

       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 3 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       79(a). Colborn received many threatening e-mails and threatening voice mail

messages. Undisputed that Colborn claims to have received (often anonymous) threatening




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emails and voicemail messages. Disputed as inadmissible and immaterial as they are not

probative of any allegation at issue in this case. Colborn has made no effort to authenticate the

alleged anonymous voicemails or comments, they are hearsay to the extent offered to prove the

truth of the matter asserted, and such evidence has been soundly rejected by courts across the

country in defamation actions.11 Further disputed that the senders of the messages are “viewers”

of MaM—Colborn testified in this case that he does not know whether they watched MaM unless

they expressly said so in their message. See Dkt. 271 ¶ 128. Further disputed that that the

individuals who left Colborn anonymous messages are representative of the reasonable viewer;

indeed, Colborn has admitted they are not. See id.; see also Dkt. 309 at 4-5, General Objection

No. 6.

          79(b). He received mail from strange addresses and instructed his wife not to open any

of the mail. Undisputed that Colborn claims to have received mail and instructed his wife not to

open it after MaM’s release and that he attributes these behaviors to MaM. Disputed to the

extent this allegation implies a legally cognizable causal connection that neither Colborn nor his

ex-wife are qualified to make. Colborn did not disclose an expert on the extent or cause of his

alleged emotional distress. See Dkt. 269 at 43-44. Further, to date, Colborn has watched little

more than an hour of the series, see Dkt. 271 ¶ 126, and his ex-wife reports that Colborn’s

behavior also changed as a result of Avery’s trial for Halbach’s murder. See Dkt. 273 ¶¶ 8-9. He

admitted at his deposition in this case that he did not begin taking medication for his alleged

emotional distress until he filed this lawsuit (three years after MaM’s release). He also admitted

that, these days, his alleged emotional distress is so mild that not even his live-in girlfriend

notices its alleged manifestations. Dkt. 271 ¶¶ 132-34.


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     See note 7 supra.


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          79(c). He received exploding graffiti and other things from strangers. (B. Colborn Decl.

¶10; A. Colborn Decl. ¶¶10, 11, 12). Undisputed that Colborn claims to have received

“exploding graffiti and other things from strangers.” Disputed because the messages are

inadmissible and immaterial as not probative of any allegation at issue in this case. Colborn has

made no effort to authenticate the alleged anonymous voicemails or comments, they are hearsay

to the extent offered to prove the truth of the matter asserted, and such evidence has been

soundly rejected by courts across the country in defamation actions.12 Further disputed that these

are “viewers” of MaM—Colborn testified in this case that he does not know whether they

watched MaM unless they expressly said so in their message. See Dkt. 271 ¶ 128. Further

disputed that that the individuals who left Colborn anonymous messages are representative of

the reasonable viewer; indeed, Colborn has admitted they are not. See id.; see also Dkt. 309 at 4-

5, General Objection No. 6.

          80.    After Making a Murderer, Andrew Colborn became hypervigilant and did things,

such as boarding up the door at his home, because he feared the risk of attack or robbery. If

strange cars sometimes appeared in the driveway, his fear became heightened. He was extra

vigilant when rallies to free Steven Avery were scheduled and occurred. (B. Colborn Decl. ¶12).

          Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 3 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

          80(a). After Making a Murderer, Andrew Colborn became hypervigilant and did things,

such as boarding up the door at his home, because he feared the risk of attack or robbery.

Undisputed that Colborn claims he acted differently after MaM’s release and that he attributes


12
     See note 7 supra.


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his change in behavior to MaM. Disputed to the extent this allegation implies a legally

cognizable causal connection that neither Colborn nor his ex-wife are qualified to make. Colborn

did not disclose an expert on the extent or cause of his alleged emotional distress. See Dkt. 269 at

43-44. Further, to date, Colborn has watched little more than an hour of the series, see Dkt. 271

¶ 126, and his ex-wife reports that Colborn’s behavior also changed as a result of Avery’s trial

for Halbach’s murder. See Dkt. 273 ¶¶ 8-9. He admitted at his deposition in this case that he did

not begin taking medication for his alleged emotional distress until he filed this lawsuit (three

years after MaM’s release). He also admitted that, these days, his alleged emotional distress is so

mild that not even his live-in girlfriend notices its alleged manifestations. Dkt. 271 ¶¶ 132-34.

       80(b). If strange cars sometimes appeared in the driveway, his fear became heightened.

See Response to 80(a), above, which Defendants incorporate here by reference.

       80(c). He was extra vigilant when rallies to free Steven Avery were scheduled and

occurred. (B. Colborn Decl. ¶12). See Response to 80(a), above, which Defendants incorporate

here by reference.

       81.      Andrew Colborn worried about his children and told them to be on the lookout

whenever anything about Steven Avery came on the news. (B. Colborn Decl. ¶13).

       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 2 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       81(a). Andrew Colborn worried about his children[.] Undisputed that Colborn claims

he acted differently after MaM’s release and that he attributes his change in behavior to MaM.

Disputed to the extent this allegation implies a legally cognizable causal connection that neither

Colborn nor his ex-wife are qualified to make. Colborn did not disclose an expert on the extent




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or cause of his alleged emotional distress. See Dkt. 269 at 43-44. Further, to date, Colborn has

watched little more than an hour of the series, see Dkt. 271 ¶ 126, and his ex-wife reports that

Colborn’s behavior also changed as a result of Avery’s trial for Halbach’s murder. See Dkt. 273

¶¶ 8-9. He admitted at his deposition in this case that he did not begin taking medication for his

alleged emotional distress until he filed this lawsuit (three years after MaM’s release). He also

admitted that, these days, his alleged emotional distress is so mild that not even his live-in

girlfriend notices its alleged manifestations. Dkt. 271 ¶¶ 132-34.

        81(b). He told them to be on the lookout whenever anything about Steven Avery came

on the news. (B. Colborn Decl. ¶13). See Response to 81(a), above, which Defendants

incorporate here by reference.

        82.      Andrew Colborn received voice mails while working at the Manitowoc County

Sheriff’s Department intended for him and other law enforcement and e-mails at home. The

messages were vile, profane, menacing, and intimidating. Strangers sent a package that looked

like a bomb and insults accompanied by sinister warnings, circulated pictures of Colborn and his

family on the Internet, took pictures of Colborn and his automobile license plate to circulate, and

chastised him publicly, all because of Making a Murderer’s accusations. (A. Colborn Decl. ¶¶2,

3, 10, 12, 15, Exs. 1, 2).

        Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 6 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

        82(a). Andrew Colborn received voice mails while working at the Manitowoc County

Sheriff’s Department intended for him and other law enforcement and e-mails at home.

Undisputed that Colborn claims to have received anonymous voicemails and other messages.




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Disputed because the messages are inadmissible and immaterial as not probative of any

allegation at issue in this case. Colborn has made no effort to authenticate the alleged anonymous

voicemails or comments, they are hearsay to the extent offered to prove the truth of the matter

asserted, and such evidence has been soundly rejected by courts across the country in defamation

actions.13 Further disputed that these are “viewers” of MaM—Colborn testified in this case that

he does not know whether they watched MaM unless they expressly said so in their message. See

Dkt. 271 ¶ 128. Also disputed that that the individuals who left Colborn anonymous messages

are representative of the reasonable viewer; indeed, Colborn has admitted they are not. See id.;

see also Dkt. 309 at 4-5, General Objection No. 6.

          82(b). The messages were vile, profane, menacing, and intimidating. See Response to

82(a), above, which Defendants incorporate here by reference.

          82(c). Strangers sent a package that looked like a bomb and insults accompanied by

sinister warnings[.] See Response to 82(a), above, which Defendants incorporate here by

reference.

          82(d). [Strangers] circulated pictures of Colborn and his family on the Internet[.] See

Response to 82(a), above, which Defendants incorporate here by reference.

          82(e). [Strangers] took pictures of Colborn and his automobile license plate to

circulate, and chastised him publicly[.] See Response to 82(a), above, which Defendants

incorporate here by reference.

          82(f).   All [of this was] because of Making a Murderer’s accusations. (A. Colborn Decl.

¶¶2, 3, 10, 12, 15, Exs. 1, 2). Disputed. This is not a fact, but a legal conclusion and unsupported

argument by counsel in that it affirmatively links Colborn’s alleged emotional distress to MaM


13
     See note 7 supra.


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and also states that MaM itself accused Colborn of misconduct when in fact MaM merely

documented accusations by others (and rebuttals to same). MaM speaks for itself, and the Court

must consider it as a whole and in context. See General Objections §§ I, III supra. See also

Response to 82(a), above, which Defendants incorporate here by reference .

       83.      Colborn’s employer hides him from publicity and public events even now. (A.

Colborn Decl. ¶16).

       Response: Undisputed that, in his declaration, Colborn claims his employer told him

“not to appear in anything involving the media at the hospital” and that “[a]nytime there is a

press conference at the hospital, [he is] asked to leave.” Disputed as inadmissible hearsay. Also

disputed in that, even if accurate and admissible, Colborn has no evidentiary support for his

apparent belief that his employer’s request is somehow related to or as a result of MaM. Further

disputed to the extent this allegation is read or intended to imply that Colborn’s employer thinks

less of him because of MaM. Colborn has no evidence to support such an allegation.

       84.      When Colborn attended car shows, he used a false name so his car would not be

vandalized. (A. Colborn Decl. ¶6; B. Colborn Decl. ¶11).

       Response: Undisputed that Colborn claims he acted differently after MaM’s release and

that he attributes his change in behavior to MaM. Disputed to the extent this allegation implies a

legally cognizable causal connection that neither Colborn nor his ex-wife are qualified to make.

Colborn did not disclose an expert on the extent or cause of his alleged emotional distress. See

Dkt. 269 at 43-44. Further, to date, Colborn has watched little more than an hour of the series,

see Dkt. 271 ¶ 126, and his ex-wife reports that Colborn’s behavior also changed as a result of

Avery’s trial for Halbach’s murder. See Dkt. 273 ¶¶ 8-9. He admitted at his deposition in this

case that he did not begin taking medication for his alleged emotional distress until he filed this




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lawsuit (three years after MaM’s release). He also admitted that, these days, his alleged

emotional distress is so mild that not even his live-in girlfriend notices its alleged manifestations.

Dkt. 271 ¶¶ 132-34.

       85.      Because of Making a Murderer, when sitting in a restaurant, Colborn typically

sits so he can see the door. (A. Colborn Decl. ¶10).

       Response: Undisputed that Colborn claims he acted differently after MaM’s release and

that he attributes his change in behavior to MaM. Disputed to the extent this allegation implies a

legally cognizable causal connection that neither Colborn nor his ex-wife are qualified to make.

Colborn did not disclose an expert on the extent or cause of his alleged emotional distress. See

Dkt. 269 at 43-44. Further, to date, Colborn has watched little more than an hour of the series,

see Dkt. 271 ¶ 126, and his ex-wife reports that Colborn’s behavior also changed as a result of

Avery’s trial for Halbach’s murder. See Dkt. 273 ¶¶ 8-9. He admitted at his deposition in this

case that he did not begin taking medication for his alleged emotional distress until he filed this

lawsuit (three years after MaM’s release). He also admitted that, these days, his alleged

emotional distress is so mild that not even his live-in girlfriend notices its alleged manifestations.

Dkt. 271 ¶¶ 132-34.

       86.      Although he was in law enforcement, because of Making a Murderer, Colborn

made especially sure his weapon was loaded and ready to be used if needed. (A. Colborn Decl.

¶8).

       Response: Undisputed that Colborn claims he acted differently after MaM’s release and

that he attributes his change in behavior to MaM. Disputed to the extent this allegation implies a

legally cognizable causal connection that neither Colborn nor his ex-wife are qualified to make.

Colborn did not disclose an expert on the extent or cause of his alleged emotional distress. See




                                       132
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Dkt. 269 at 43-44. Further, to date, Colborn has watched little more than an hour of the series,

see Dkt. 271 ¶ 126, and his ex-wife reports that Colborn’s behavior also changed as a result of

Avery’s trial for Halbach’s murder. See Dkt. 273 ¶¶ 8-9. He admitted at his deposition in this

case that he did not begin taking medication for his alleged emotional distress until he filed this

lawsuit (three years after MaM’s release). He also admitted that, these days, his alleged

emotional distress is so mild that not even his live-in girlfriend notices its alleged manifestations.

Dkt. 271 ¶¶ 132-34.

       87.        Colborn’s circle of friends has decreased since Making a Murderer, and he is

closely guarded with even close friends and relatives. He trusts few people because of Making a

Murderer. Making a Murderer affected Colborn’s important social, family, and employment

relationships. He lives in a constant state of anxiety because of Making a Murderer. (A. Colborn

Decl. ¶¶9, 14).

       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 5 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       87(a). Colborn’s circle of friends has decreased since Making a Murderer[.]

Undisputed that Colborn believes this allegation to be true. Disputed as to the implication that

MaM caused his friends to think less of his or distance themselves from him. Moreover,

individuals Colborn identified in discovery uniformly attested that MaM did not change their

opinion of Colborn and that, to the extent their relationship is now more distant, it’s not because

of MaM but because he distanced himself from them at the time of the Avery trial and because

he was unfaithful to and divorced his ex-wife. Dkt. 271 ¶¶ 146-47; Dkt. 273 ¶ 9.




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Dkt. 289-27 at 00362. Further disputed to the extent this allegation implies a legally cognizable

causal connection that neither Colborn nor his ex-wife are qualified to make. Colborn did not

disclose an expert on the extent or cause of his alleged emotional distress. See Dkt. 269 at 43-44.

Further, to date, Colborn has watched little more than an hour of the series, see Dkt. 271 ¶ 126,

and his ex-wife reports that Colborn’s behavior also changed as a result of Avery’s trial for

Halbach’s murder. See Dkt. 273 ¶¶ 8-9. He admitted at his deposition in this case that he did not

begin taking medication for his alleged emotional distress until he filed this lawsuit (three years

after MaM’s release). He also admitted that, these days, his alleged emotional distress is so mild

that not even his live-in girlfriend notices its alleged manifestations. Dkt. 271 ¶¶ 132-34.

       87(b). [H]e is closely guarded with even close friends and relatives. Undisputed that

Colborn claims he acted differently after MaM’s release and that he attributes his change in

behavior to MaM. Disputed to the extent this allegation implies a legally cognizable causal

connection that neither Colborn nor his ex-wife are qualified to make. Colborn did not disclose

an expert on the extent or cause of his alleged emotional distress. See Dkt. 269 at 43-44. Further,

to date, Colborn has watched little more than an hour of the series, see Dkt. 271 ¶ 126, and his

ex-wife reports that Colborn’s behavior also changed as a result of Avery’s trial for Halbach’s

murder. See Dkt. 273 ¶¶ 8-9. He admitted at his deposition in this case that he did not begin

taking medication for his alleged emotional distress until he filed this lawsuit (three years after

MaM’s release). He also admitted that, these days, his alleged emotional distress is so mild that

not even his live-in girlfriend notices its alleged manifestations. Dkt. 271 ¶¶ 132-34.

       87(c). He trusts few people because of Making a Murderer. See Response to 87(b),

above, which Defendants incorporate here by reference .




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       87(d). Making a Murderer affected Colborn’s important social, family, and employment

relationships. See Response to 87(a)-(b), above, which Defendants incorporate here by reference.

       87(e). He lives in a constant state of anxiety because of Making a Murderer. (A.

Colborn Decl. ¶¶9, 14). See Response to 87(b), above, which Defendants incorporate here by

reference .

       88.      He instructed his wife not to pick up the mail out of fear that it may harm her.

One day he received a package that looked like it contained an explosive, and dismantled it with

the help of the sheriff’s department. The package was sent regarding the events portrayed by

Making a Murderer. (A. Colborn Decl. ¶10).

       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 3 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       88(a). He instructed his wife not to pick up the mail out of fear that it may harm her.

Undisputed that Colborn claims he told his wife to not get the mail and that he attributes his

change in behavior to MaM. Disputed to the extent this allegation implies a legally cognizable

causal connection that neither Colborn nor his ex-wife are qualified to make. Colborn did not

disclose an expert on the extent or cause of his alleged emotional distress. See Dkt. 269 at 43-44.

Further, to date, Colborn has watched little more than an hour of the series, see Dkt. 271 ¶ 126,

and his ex-wife reports that Colborn’s behavior also changed as a result of Avery’s trial for

Halbach’s murder. See Dkt. 273 ¶¶ 8-9. He admitted at his deposition in this case that he did not

begin taking medication for his alleged emotional distress until he filed this lawsuit (three years

after MaM’s release). He also admitted that, these days, his alleged emotional distress is so mild

that not even his live-in girlfriend notices its alleged manifestations. Dkt. 271 ¶¶ 132-34.




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          88(b). One day he received a package that looked like it contained an explosive, and

dismantled it with the help of the sheriff’s department. Undisputed that Colborn claims to have

received an anonymous package. Disputed as inadmissible and immaterial as not probative of

any allegation at issue in this case. Colborn has made no effort to authenticate the alleged

messages he received, they are hearsay to the extent offered to prove the truth of the matter

asserted, and such evidence has been soundly rejected by courts across the country in defamation

actions.14 Further disputed that the person who sent the alleged package had watched MaM—

Colborn testified in this case that he does not know whether senders of messages watched MaM

unless they expressly said so in their message. See Dkt. 271 ¶ 128. Further disputed that that any

individual who would send something that looks like an explosive is representative of the

reasonable viewer; indeed, Colborn has admitted such individuals are not reasonable. See id.; see

also Dkt. 309 at 4-5, General Objection No. 6.

          88(c). The package was sent regarding the events portrayed by Making a Murderer. (A.

Colborn Decl. ¶10). See Response to 88(b), above, which Defendants incorporate here by

reference. Further disputed that the evidence indicates that the package contained any reference

to MaM.

          89.     He always answered the phone at home because he did not want his wife to be

exposed to the threats that often occurred on those calls. (A. Colborn Decl. ¶11).

          Response: Undisputed that Colborn claims he acted differently after MaM’s release and

that he attributes his change in behavior to MaM. Disputed to the extent this allegation implies a

legally cognizable causal connection that neither Colborn nor his ex-wife are qualified to make.

Colborn did not disclose an expert on the extent or cause of his alleged emotional distress. See


14
     See note 7 supra.


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Dkt. 269 at 43-44. Further, to date, Colborn has watched little more than an hour of the series,

see Dkt. 271 ¶ 126, and his ex-wife reports that Colborn’s behavior also changed as a result of

Avery’s trial for Halbach’s murder. See Dkt. 273 ¶¶ 8-9. He admitted at his deposition in this

case that he did not begin taking medication for his alleged emotional distress until he filed this

lawsuit (three years after MaM’s release). He also admitted that, these days, his alleged

emotional distress is so mild that not even his live-in girlfriend notices its alleged manifestations.

Dkt. 271 ¶¶ 132-34. Further disputed as immaterial, as neither this fact nor the portion of

Colborn’s declaration on which it relies appear in Colborn’s Brief in Opposition to Defendants’

Motions for Summary Judgment, see generally Dkt. 327, and because it does not related to any

of the four IIED elements. See Dkt. 269 at 41-44.

       90.      Colborn did not seek professional help because he was concerned that a

diagnosis of anxiety or worse could affect his employment as a law enforcement officer carrying

a weapon. (A. Colborn Decl. ¶14).

       Response: Undisputed that, in his declaration, Colborn claims he did not seek

counseling because “having a diagnosis of anxiety or worse could have affected my employment,

being a law enforcement officer carrying a weapon.” Disputed as immaterial, as neither this fact

nor the portion of Colborn’s declaration on which it relies appear in Colborn’s Brief in

Opposition to Defendants’ Motions for Summary Judgment. See generally Dkt. 327. Further

noted that, although now retired from law enforcement, Colborn still has not sought counseling

or any other professional help other than prescriptions from his primary care doctor after he sued

Defendants. See Third Walker Decl. Ex. 5 at Interrogatory No. 11.




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       91.      Because of Making a Murderer, Colborn is stopped in public by strangers who

ask his identity or confront him and often finds people staring at him in public. Strangers

sometimes take his picture. (A. Colborn Decl. ¶¶17-20, Ex. 3).

       Response: Defendants object to this proposed finding of fact as compound, joining as 1

proposed fact at least 2 distinct proposed facts which should have been separately enumerated, in

violation of Civil L.R. 56(b)(2)(B)(ii). Responding to each subpart:

       91(a). Because of Making a Murderer, Colborn is stopped in public by strangers who

ask his identity or confront him and often finds people staring at him in public. Disputed as

inaccurate. In his interview for Convicting a Murderer,




                                                                  See Dkt. 289-27 at 00360; see

also Third Walker Decl. Ex. 4 (Colborn Tr.) at 314:11-316:10; cf. Dkt. 317 ¶ 19. Also disputed

as to any implication that such strangers have actually watched MaM or that it caused them to

think less about Colborn (as opposed to simply being curious about him or having their opinion

of him improved). Colborn has no evidentiary support for either implication. Further disputed as

immaterial, as neither this fact nor the portions of Colborn’s declaration on which it relies appear

in Colborn’s Brief in Opposition to Defendants’ Motions for Summary Judgment, see generally

Dkt. 327, and because it does not related to any of the four IIED elements. See Dkt. 269 at 41-44.

       91(b). Strangers sometimes take his picture. (A. Colborn Decl. ¶¶17-20, Ex. 3).

Undisputed that, in his declaration, Colborn claims “a discharged patient took a photo of me

leaving the hospital.” See Dkt. 317 ¶ 20. Disputed that a photograph taken by a single person

supports an allegation that “strangers” sometimes take his picture. Further disputed as to any




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implication that such strangers have actually watched MaM or that it caused them to think less

about Colborn (as opposed to simply being curious about him or having their opinion of him

improved). Colborn has no evidentiary support for either implication. Further disputed as

immaterial, as neither this fact nor the portion of Colborn’s declaration on which it relies appear

in Colborn’s Brief in Opposition to Defendants’ Motions for Summary Judgment, see generally

Dkt. 327, and because it does not related to any of the four IIED elements. See Dkt. 269 at 41-44.

       92.      Scotland Yard issued a public statement condemning Colborn and law

enforcement in Manitowoc over the Avery case after Making a Murderer occurred. (A. Colborn

Decl. ¶21, Ex. 4).

       Response: Undisputed that attached as an exhibit to Colborn’s declaration is an article

with the headline, “EXCLUSIVE: Is the Making a Murderer killer guilty or not? 5 Scotland Yard

detectives give their verdicts.” Disputed that this article constitutes an official “public

statement” by Scotland Yard. Further disputed to the extent Colborn’s allegation attempts to

summarize the statement, which speaks for itself. See General Objections § III supra. Further

disputed as immaterial, as neither this fact nor the exhibit to which it cites appear in Colborn’s

Brief in Opposition to Defendants’ Motions for Summary Judgment, See generally Dkt. 327, and

because it does not related to any of the four IIED elements. See Dkt. 269 at 41-44.

       93.      A current Google search shows that his name generates over 500,000 hits with

videos. (A. Colborn Decl. ¶30).

       Response: Undisputed that attached to Colborn’s declaration is an exhibit purporting to

show Google searches generating over 500,000 hits. Disputed as immaterial, as neither this fact

nor the exhibit to which it cites appear in Colborn’s Brief in Opposition to Defendants’ Motions

for Summary Judgment, see generally Dkt. 327, and because it does not related to any of the four




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IIED elements. See Dkt. 269 at 41-44. Further noted that there are many positive, supportive

mentions of Colborn on the Internet, and this search report presumably includes those mentions.

         94.    He continues to be the subject of Internet articles referencing Making a Murderer,

and those articles are critical of him. (Dkt. 316 D. Bursik Decl. ¶ Ex 4).

         Response: Undisputed that attached to the declaration of Debra Bursik is a September

18, 2022 article by John Ferak which references MaM because the article is about this lawsuit.

Disputed that the attachment of one article establishes that Colborn “continues to be the subject

of Internet articles referencing [MaM] and those articles are critical of him.” Further disputed

that the Ferak article is critical; it simply reports on matters of public interest and concern,

including this lawsuit, which Colborn voluntarily commenced. Further disputed as immaterial.

Colborn submits this fact in support of his argument that his intentional infliction of emotional

distress claim should survive. Whether there continues to be reporting on Colborn’s lawsuit

against the Defendants over MaM is immaterial to any of the four IIED elements. See Dkt. 269 at

41-44.




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NETFLIX’S RESPONSE TO PLAINTIFF’S ADDITIONAL, UNENUMERATED FACTS
             CONTAINED ONLY IN PLAINTIFF’S RESPONSE TO
           NETFLIX’S PROPOSED FINDINGS OF FACT (DKT. 323)15

        95.    The Wisconsin Department of Justice report states that there “was no basis to

bring criminal charges or assert ethics violations against anyone involved in the investigation and

prosecution of this case. At worst, the sheriff’s department failed to investigate a viable suspect,

Gregory Allen . . . .” Dkt. 120-11 at 14.

        Response: Undisputed that this quotation comes from the Wisconsin DOJ report.

Disputed that this quote fully reflects the ultimate findings of the report, which should be read in

its entirety and speaks for itself. See Dkt. 290-5. Netflix notes, incidentally, that Colborn’s own

former counsel called the report a “whitewash.” Dkt. 291 ¶ 17.

        96.    Colborn’s 2003 deposition testimony in Avery’s civil lawsuit did not include the

words “unusual,” “recall,” or “recalled.” Rather, the following is an excerpt of how Colborn

testified:

        Q.     You then, in 2003, following the publicity that we’ve already discussed
               relating to Mr. Allen and Mr. Avery, and you’re concerned that perhaps
               the caller that was calling was speaking about Mr. Allen and Mr. Avery,
               true?

        A.     I was wondering about that, yes.

        Q.     Sure. You brought that up to someone else, correct?

15
  These facts—Nos. 95 through 131—appear only in Colborn’s Response to Netflix’s Statement
of Proposed Material Facts (Dkt. 323), and were not included by Colborn in his Additional
Proposed Findings of Fact (Dkt. 325). This is improper under the local rules for the Eastern
District of Wisconsin. Accordingly, Netflix objects to their inclusion in Colborn’s response to
Netflix’s proposed facts, as well as to reference to or reliance on them in Colborn’s papers in
opposition to Netflix’s Motion for Summary Judgment. See General Objections § II supra.
Further, Netflix objects to consideration of any facts beyond the 100 permitted by Civil Local
Rule 56(b)(2)(B)(ii). Netflix leaves it to the Court to decide how to handle the unenumerated
facts, the inclusion of which puts Colborn well over the 100 additional facts permitted by the
Local Rules. Netflix believes the Court is entitled to disregard them entirely, but it nevertheless
responds to them.



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       A.      Yes, sir.

       Q.      And to whom did you bring that up?

       A.      To Lieutenant Lenk.

Dkt. 120-14 at 16:4-13.

       Response: Undisputed, though immaterial. See Dkt. 271 ¶ 4.

       97.     Colborn’s 2003 deposition testimony in Avery’s civil lawsuit did not include the

words “prison” or “imprisoned.” Dkt. 120-14 at 11:1-6; Dkt. 120-15 at 2.

       Response: Undisputed, though immaterial. See Dkt. 271 ¶ 5.

       98.     In his deposition in this case, former Manitowoc County Sheriff Kenneth Petersen

testified that he was the only one from Manitowoc County conflicted out of the investigation into

Avery for Halbach’s murder. See Barker Decl. Ex. 12 (Petersen Tr.) at 149-150.

       Response: Undisputed. But see Dkt. 271 ¶ 11 (citing Calumet County detective’s

testimony from Avery trial that all Manitowoc County personnel were conflicted out).

       99.     Judge Patrick Willis issued an order in Avery’s criminal trial for the Halbach

murder on the State’s motion that sought “to preclude the introduction of any evidence pertaining

to the Avery’s wrongful conviction on charges of sexual assault and attempted homicide in Case

no. 85 FE 118.” See Dkt. 279-3 at 2. Judge Willis’ order does not use the words “frame-up

evidence,” and he did not specifically identify Lenk and Colborn as the only two officers the

defense could attempt to implicate as participants in the alleged conspiracy against Avery. Id. at

3-5.

       Response: Undisputed that the prosecution moved to exclude Avery from putting on a

“frame up” defense at trial, including by excluding evidence of his wrongful rape conviction, and

that Judge Patrick Willis denied that motion. See Dkt. 279-3; Dkt. 290-16; Dkt. 291 ¶¶ 48, 50.

Further undisputed that the order Colborn cites does not use the words “frame-up evidence.”


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See Dkt. 279-3. But see Dkt. 290-16 at 2 (“the defendant seeks the introduction of the blood vial

evidence to be used as part of a ‘frame-up’ defense”), 3, 8, 9, 10, 12, 13 (repeatedly using phrase

“frame-up evidence”); see also Dkt. 291 ¶ 50 (identifying Colborn and Lenk as officers Avery

could accuse of frame up). Disputed as inaccurate as to the rest. See Dkt. 279-3 (CHRM034924)

at 34928-32 (naming only Lenk and Colborn, and explicitly excluding testimony regarding

Petersen).

          100.   Avery’s defense counsel did not argue to the jury that a call Colborn made to

dispatch regarding the RAV4’s license plate number indicated Colborn had located the SUV

before it was discovered in the salvage yard. Rather, Avery’s counsel argued the following:

          This sounds a lot like what road patrol officers do when they come across a
          stalled car, an abandoned car, a car where it shouldn’t be. That’s what this sounds
          like. Draw your own conclusions, obviously look at it like from any other piece of
          evidence.

Dkt. 120-35 at 5 (33:20-25).

          Response: Undisputed that the excerpted quotation above is by one of Avery’s attorneys

from the transcript of Avery’s criminal trial for Halbach’s murder. Disputed as to Colborn’s

characterization of the arguments made by Avery’s counsel at trial. The trial transcript speaks for

itself.

          101.   Although Michael Griesbach made the statements quoted in Netflix’s SPMF Nos.

21, 22, he later changed his mind about his own statements. Decl. of Michael Griesbach ¶¶ 3-10.

          Response: Undisputed that Griesbach claims to have changed his mind about his own

statements, relying on excerpts from his book Indefensible to support that he changed his mind

prior to November 3, 2022, the date of his declaration submitted in support of his former client’s

opposition to Netflix’s Motion for Summary Judgment. Disputed that Indefensible supports that

Griesbach changed his mind that law enforcement, including Colborn, may have planted



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evidence to ensure Avery’s conviction. See Third Walker Decl. Ex. 6 (excerpts of Griesbach’s

Indefensible) at 31-32, 102-103, 133 (examples of Griesbach, in Indefensible, indicating

uncertainty whether Colborn and Lenk planted evidence to frame Avery).

       102.    At his deposition in this case, Colborn was asked if he agreed with certain

newspaper articles, and merely agreed that his understanding was consistent with the articles and

that he did not dispute the article headline. He did not testify that Judge Willis permitted Avery

and his defense team to “point [the] finger at deputies” or attempt to prove Avery was “framed.”

       Response: Disputed as inaccurate. At his deposition in this case, Colborn testified to the

following:

       Q.              . . . Do you dispute [the headline’s] accuracy that this is what the defense
                       was allowed to do [point the finger at deputies and attempt to prove he
                       was framed]?

       [Objection omitted]

       A.              No, I don’t dispute the headline.

       [...]

       Q.              . . . Isn’t it true that the judge allowed the attorneys to prove that Avery
                       was framed?

       [...]

       A.              Yes, it’s my understanding that the judge allowed that.

See Dkt. 279 Ex. 2 (Colborn Tr.) at 32:12-33:15 (emphasis added).

       103.    At her deposition in this case, Moira Demos testified that MaM did not show

footage of “actual events,” but rather footage taken at actual events then edited extensively by

Defendants. Barker Decl. Ex. 11 at 180-207; id. Ex. 19.

       Response: Disputed that the quote “actual events” appears anywhere in the deposition

testimony of Moira Demos. Further disputed as misleading and mischaracterizing the evidence,




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which is a summary of more than 25 pages of testimony. Further disputed as immaterial, as all

documentaries edit their source material for length. See Dkt. 269 at 2, 24.

       104.    At his deposition in this case, Colborn was only questioned about “instances” in

MaM, not the entirety of the series.

       Response: Undisputed. Counsel could not examine Colborn about the entirety of the

series because he has watched little more than hour of the 10-hour documentary, has not watched

any of the last three episodes, and has no intention of watching anymore. See Dkt. 271 ¶ 126.

Indeed, in response to Defendants’ expedited motion for additional time to depose Colborn (Dkt.

255), Colborn argued that the purpose of a deposition is only to ask a witness about “what he or

she knows, nothing more, nothing less,” and that, because Colborn was unaware of most of the

contents of his Complaint or MaM, Colborn would be unable to answer most of Defendants’

questions which should “limit the field of questions about which” Colborn could be asked. See

Dkt. 255 at 2; Dkt. 257 at 32:20-33:30 (audio of hearing on expedited motion).

       105.    Avery did not testify at his own criminal trial for Halbach’s murder, see Barker

Decl. Ex. 8, but MaM includes numerous direct accusations by Avery against Colborn.

       Response: Undisputed that Avery did not testify at his criminal trial. Disputed that

MaM includes any accusations, direct or indirect, against Colborn, except insofar as those

accusations were made by Avery’s attorneys in the course of Avery’s criminal trial. Further

disputed to the extent Colborn relies on his improper Addendum to support this allegation. See

General Objections § I supra.

       106.    In Episode 1 of MaM, an incident of animal abuse incident is portrayed as

essentially an accident and that it was a product of Avery hanging out with the wrong friends.

The incident is also portrayed using Avery’s voiceovers. Conversely, Judge Willis’ Decision and




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Order describes the cat incident as the “defendant built a bonfire in his backyard, soaked a cat in

gasoline and oil, and threw the cat in the fire. After the cat ran out of the fire, the defendant

poured more gasoline on it before the animal died.” Dkt. 290-14 at 10-13.

       Response: Disputed as mischaracterizing the evidence, not “of and concerning”

Colborn, and immaterial. MaM speaks for itself, and the Court must consider it as a whole and in

context. See General Objections §§ I, III supra; see also Dkt. 309, General Objections 1-3; Dkt.

291 ¶¶ 3, 4, 47, 70.

       107.     In Episode 1 of MaM, Avery describes several burglaries that he committed,

explaining them as occurring when he and others were looking for something to do, and they

decided to rob a tavern. MaM includes scene showing $14.00 in quarters and two six packs of

Pabst beer and two cheese sandwiches, implying that this is what was taken in the burglaries.

Dkt. 120-1 at 9:30-10:00.

       Response: Disputed as mischaracterizing the evidence, not “of and concerning”

Colborn, and immaterial. MaM speaks for itself, and the Court must consider it as a whole and in

context. See General Objections §§ I, III supra; see also Dkt. 309, General Objections 1-3; Dkt.

291 ¶¶ 4, 70.

       108.     In Episode 1 of MaM, an incident involving Sandy Morris is portrayed as brought

on by her allegedly “spreading rumors” about Avery, leaving him befuddled as to how else to

handle the situation. Dkt. 120-1 at 12:31-14:00.

       Response: Disputed as mischaracterizing the evidence, not “of and concerning”

Colborn, and immaterial. MaM speaks for itself, and the Court must consider it as a whole and in

context. See General Objections §§ I, III supra; see also Dkt. 309, General Objections 1-3; Dkt.

291 ¶¶ 3, 4, 47, 70.




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       109.    At their depositions in this case, Defendants were unable to identify the

individuals in the bar or provide any information about them, see Dkts. 286-3, 286-6, therefore

Defendants cannot establish that the individuals who are represented as claiming that Avery was

framed were from Manitowoc or that the bar at which they were playing pool was in Manitowoc.

       Response: Disputed as vague, misleading, incomplete, and immaterial. Netflix does not

know who Colborn means in referring to the collective “Defendants.” There are four defendants

in this case, yet this paragraph cites only to Netflix deposition transcripts. Netflix representative

Lisa Nishimura testified that she does not know the identities of the unidentified bar patrons who

appear in Episode 3 of MaM. See Dkt. 286-3 (Nishimura Tr.) at 172:18-20. With respect to

whether Nishimura knew anything regarding whether the individuals were from Manitowoc or

whether the bar was in Manitowoc, she was not asked that at her deposition. See id. at 172:1-

173:3. Netflix representative Adam Del Deo testified that he does not recall whether he knew

“the identities of any of those people at the time” of producing MaM. See Dkt. 286-6 (Del Deo

Tr.) at 156:5-7. He was not asked at his deposition if he knew whether the individuals were from

Manitowoc or whether the bar was in Manitowoc. See id. at 154:15-156:16; see also Dkt. 320,

Prod. Def. Resp. PFOF ¶ 60.

       110.    Although Episode 4 of MaM includes text on screen that states Investigator

Wiegert and prosecutor Norm Gahn were present at the clerk of court’s office inspecting the vial

of Avery’s blood, this scene in MaM does not show who was present at the time.

       Response: Disputed as inaccurate, mischaracterizing the evidence, not “of and

concerning” Colborn, and immaterial. MaM speaks for itself, and the Court must consider it as a

whole and in context. See General Objections §§ I, III supra; see also Dkt. 309, General




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Objections 1-3. Both Mark Wiegert and Norm Gahn’s faces are shown in frame with the blood

vial in the Styrofoam container. See Ep. 4 (Dkt. 120-4) at 1:03:33–1:03:41.

       111.    In Episode 2 of MaM, where the jail call is first discussed by Stephen Glynn, all

references to Colborn’s status as a jail employee at the time of the call were omitted. Dkt. 120-2

at 17:20-18:25, 19:05-21:00; see also Barker Decl. Ex. 2 (Manhardt #509).

       Response: Disputed as mischaracterizing the evidence, not “of and concerning”

Colborn, and immaterial. MaM speaks for itself, and the Court must consider it as a whole and in

context. See General Objections §§ I, III supra; Dkt. 309, General Objections 1-3; see also Ep. 7

(Dkt. 120-7) at 17:46-18:30 (including Colborn’s testimony that he received the jail call “when I

was working [in] my capacity as a corrections officer at the Manitowoc County Jail”).

       112.    Sgt. William Tyson did not testify that he had been told that Manitowoc County

deputies should not be left alone on the Avery property, but he knew that a Manitowoc County

district attorney had told the Manitowoc officers not to be alone on the property. Dkt. 290-19 at

23:17-25:4.

       Response: Disputed as inaccurate. Tyson testified on the sixth day of the Avery trial, “It

was told to me that no Manitowoc County deputy should be alone on the property.” Third

Walker Decl. Ex. 7 (CHRM009267) at 175:13-14 (“It was told to me that no Manitowoc County

deputy should be alone on the property.”); see Ep. 7 (Dkt. 120-7) at 3:36–6:19. Undisputed that

in Tyson’s continued testimony, he testified that he knew that a district attorney had also told the

Manitowoc officers that they should not to be alone on the property. MaM speaks for itself, and

the Court must consider it as a whole and in context. See General Objections §§ I, III supra; see

also Dkt. 309, General Objections 1-2.




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         113.   The reason MaM included footage of prosecutors criticizing Avery’s “frame-up”

defense theory was in order for MaM to retell prosecutors’ versions of events with rebuttals from

Avery, his family, and his attorneys’ out-of-court statements. Barker Decl. Ex. 2 (Manhard 493).

         Response: Disputed as mischaracterizing the evidence, not “of and concerning”

Colborn, immaterial, and attorney argument unsupported by evidence. MaM speaks for itself,

and the Court must consider it as a whole and in context. See General Objections §§ I, III supra;

Dkt. 309, General Objections 1-3; see also Dkt. 269 at 36-37 (including non-exhaustive bullet

point list of “rebuttal” footage included in MaM supportive of law enforcement). The “reason”

MaM included the referenced footage is that the Producer Defendants sought to tell a complete

story. See Dkt. 288 ¶¶ 35, 46–48; 290 ¶¶ 34, 45–47 (explaining that, where the filmmakers did

not have access to a subject of MaM, they still sought to include that subject’s perspective

through some other means, such as press conferences, newspaper clippings, or the like).

         114.   Episode 7 of MaM uses an excerpt of news coverage of a reporter (who is

unidentified) in order to set up Strang’s response to the reporter that the evidence of the

conspiracy in which Colborn is alleged by them to have participated is greater than that on which

he has seen federal prosecutors convict defendants in conspiracy cases. Dkt. 120-7 at 24:30-

25:47.

         Response: Disputed as mischaracterizing the evidence and attorney argument

unsupported by evidence. MaM speaks for itself, and the Court must consider it as a whole and

in context. See General Objections §§ I, III supra; see also Dkt. 309, General Objections 1-2.

The reason MaM included the referenced footage is that the Producer Defendants sought to tell a

complete story that showed various differing viewpoints, including through press conferences,




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legal proceedings, and news reports featuring, when sources otherwise were not available for or

refused an interview. See Dkt. 291 ¶ 68; Dkt. 290 ¶¶ 13, 14, 85.

       115.    Episode 8 of MaM includes numerous elements that are slanted toward or in favor

of Avery and his supporters.

       Response: Disputed as mischaracterizing the evidence, not “of and concerning”

Colborn, vague, immaterial, and attorney argument not supported by evidence. MaM speaks for

itself, and the Court must consider it as a whole and in context. See General Objections §§ I, III

supra; see also Dkt. 309, General Objections 1-3.

       116.    Episode 9 of MaM includes numerous elements heavily favoring Avery and his

supporters.

       Response: Disputed as mischaracterizing the evidence, not “of and concerning”

Colborn, vague, immaterial, and attorney argument not supported by evidence. MaM speaks for

itself, and the Court must consider it as a whole and in context. See General Objections §§ I, III

supra; see also Dkt. 309, General Objections 1-3.

       117.    Episode 10 of MaM includes numerous elements heavily favoring Avery and his

supporters.

       Response: Disputed as mischaracterizing the evidence, not “of and concerning”

Colborn, vague, immaterial, and attorney argument not supported by evidence. MaM speaks for

itself, and the Court must consider it as a whole and in context. See General Objections §§ I, III

supra; see also Dkt. 309, General Objections 1-3.

       118.    Netflix representatives noted the presence of potentially defamatory material in

MaM on more than one occasion. Barker Decl. Ex. 1 (NFXCOL0002071).




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       Response: Disputed as inaccurate, misleading, removed from the context of the entire

note, not “of and concerning” Colborn, and immaterial. The note, in context, reads, “20:30 –

21:00 – This Jerry Buting sequence is really powerful, let’s just ensure his assertions aren’t

defamatory. His statement needs to align with the filings they made in court.” Dkt. 330-1 at

NFXCOL0002071. Contrary to Colborn’s suggestion, this note shows exercise of care by

Netflix; the note calls attention to a “powerful” sequence for consideration by the Producer

Defendants, consistent with their promise to provide a “truthful and accurate” series to Netflix

that did not defame anyone. See Dkt. 271 ¶¶ 86, 101. All Defendants took care to ensure the

accuracy of the series within the scope of their respective roles. The Producer Defendants had

their own legal team, and no one at Netflix vetted the series. Dkt. 271 ¶¶ 87, 89. Further noted

that this isolated note does not support Colborn’s allegation of “on more than one occasion.”

       119.    On numerous occasions, Netflix representatives provided direction indicating

what was needed for the next round of edits and suggested, through their comments, additional

changes that they wanted to see made. See, e.g., Barker Decl. Ex. 1 (NFXCOL0000199-202,

208-210, 215-219).

       Response: Disputed that Netflix “directed” MaM or required the Producer Defendants to

make changes to it. Undisputed that Netflix would provide to the filmmakers “notes,” which

served as suggestions and jumping-off points for discussion, though not demands, and that the

Netflix team helped shape MaM by reviewing edited, assembled footage—“cuts”—for their

overall look and feel and from the perspective of a Netflix subscriber. See Dkt. 271 ¶¶ 95, 97.

Disputed that just because a suggestion was made means it was necessarily implemented. For

example, although Netflix suggested the filmmakers should “[p]otentially add Allan [Avery]’s

quote from the top of Ep3 . . . to the cliffhanger” of Episode 2, the final version of Episode 2 that




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was released includes no quotes or statements from Allan Avery at all. See Dkt. 309 ¶ 72 &

Netflix’s Response; see also Dkt. 320, Prod. Def. SPFOF ¶¶ 3, 9.

       120.      After reviewing a revised version of Episode 5, Netflix observed that “setting up

Colborn as the cop to potentially plant the car works really well now,” showing that they were

aware of changes between episode versions.

       Response: Undisputed that Netflix representatives viewed several versions of Episode 5,

and at one point, provided the filmmakers with the following note, “54:20 – Setting Colburn up

as the potential cop to plant the car works really well now. Sensational and strong end to this

episode.” Disputed that this indicates Netflix was aware of all changes made between episode

versions. Members of the Netflix creative team that worked on MaM did not conduct a side-by-

side comparison of cuts to previous iterations in an attempt to understand what precisely the

filmmakers added or cut to improve the flow of the episodes. See Dkt. 271 ¶ 96. The Netflix

team was reviewing the cuts for their overall look and feel and from the perspective of a Netflix

subscriber. Id. ¶ 95. Further noted that Avery and his counsel positioned Colborn as “the

potential cop to plant the car,” not Netflix. MaM simply documented what transpired at trial. See

Dkt. 271 ¶ 31.

       121.      Netflix can point to nothing in its creative notes that cautioned Chrome to avoid

sacrificing accuracy in order to speed up the pace of a scene.

       Response: Disputed as inaccurate and misleading. On several occasions, Netflix flagged

for the filmmakers the need for the series to be truthful and accurate. See, e.g., Dkt. 330-1 at

NFXCOL0002071 (“20:30 – 21:00 – This Jerry Buting sequence is really powerful, let’s just

ensure his assertions aren’t defamatory. His statement needs to align with the filings they made

in court.”); NFXCOL0000213 (“47:37 – Can we hold a bit longer on Colburn’s face here. He




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looks caught. Same at 48:10 – 48:25. We know this is court footage that may not exist. Just a

suggestion.”); NFXCOL0002079 (“51:55 – Triple check Buting’s statement here for legal. He is

directly claiming they framed Steven. Make sure this is 100% covered in their legal filings.”).

       122.    Netflix can point to no instruction advising the Chrome Defendants not to replace

or substitute reactions or footage, which jurors may infer as consistent with Netflix’s intent to

“engage the viewer” at all costs, including the truth.

       Response: Disputed as inaccurate. To provide just one example, the license agreement

between the parties is a clear instruction from Netflix to the Producer Defendants that no edits to

the series should be made which may compromise its truth or accuracy. See Dkt. 271 ¶ 86. See

also Response to 122, above, which Defendants incorporate here by reference. Further disputed

that what a jury may infer is not a fact, but a legal conclusion and attorney argument unsupported

by evidence. It is therefore inappropriate for inclusion here as a response to a proposed material

fact, and the Court should disregard it.

       123.    Netflix received access to “cuts” of MaM that were never provided to Colborn.

Dkt. 272 at 2 ¶ 5; Dkt. 275 at 2 ¶ 5.

       Response: Undisputed, though immaterial. As explained to Colborn in discovery,

Netflix had only fleeting access to the “cuts,” did not retain them, and thus was not able to

produce them in discovery.

       124.    Netflix representatives visited Chrome’s editing studio, from which jurors may

infer that Netflix viewed raw footage and/or other source materials, despite the Netflix

representatives’ claims that they have little to no recollection of what occurred at those visits.

Dkt. 279-38 at 2; Barker Decl. Ex. 15 (Nishimura Tr.) at 51-52.




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        Response: Undisputed that Netflix representatives visited the filmmakers at their editing

studio. Disputed as immaterial. Further disputed that what a jury may infer is not a fact, but a

legal conclusion and attorney argument unsupported by evidence. It is therefore inappropriate for

inclusion here as a response to a proposed material fact, and the Court should disregard it. To the

extent construed as a fact, Netflix disputes and denies this allegation. Colborn has provided no

evidence to support this “inference,” whereas Netflix has submitted evidence affirmatively

establishing that no Netflix employee who worked on MaM ever received or reviewed raw

footage of the underlying events depicted in MaM. See Dkt. 271 ¶ 110. Additionally, Netflix has

submitted affirmative evidence establishing that no Netflix employee who worked on MaM ever

received or reviewed any other source material from the events MaM documents, such as

deposition or trial transcripts or exhibits. Id. ¶ 111.

        125.    At his deposition in this case, Adam Del Deo admitted that he reviewed the series

notes. Barker Decl. Ex. 16 (Del Deo Tr.) 89-90, 96.

        Response: Undisputed.

        126.    At her deposition in this case, Lisa Nishimura admitted that she reviewed the

series notes. Barker Decl. Ex. 15 (Nishimura Tr.) 54-55.

        Response: Undisputed.

        127.    Nishimura and Del Deo encouraged Chrome Defendants to use techniques to

portray law enforcement officers as “the baddies” and as “villains” of MaM because either they

were intending MaM to convey that law enforcement planted evidence or they were being

reckless as to truth or falsity.

        Response: Disputed as a legal conclusion and attorney argument unsupported by

evidence. Further disputed as inaccurate, misleading, removed from the context of the entire




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note, not “of and concerning” Colborn, and immaterial. In the note remarking about “the

baddies,” Colborn was expressly omitted from the list. See Dkt. 279 Ex. 27 (NFXCOL0001976)

at 2009. What’s more, these notes are about music in the series, and therefore are not

“statements” that can defame Colborn. See Dkt. 269 at 25; Dkt. 271 ¶ 150; Dkt. 309 ¶ 73 &

Netflix’s Response.

       128.    The woman with whom Colborn lives does not know of any physical

manifestations of his alleged emotional distress because he does not discuss them with her.

       Response: Undisputed that Colborn testified that his live-in girlfriend does not know of

any physical manifestations of his alleged emotional distress and that he does not discuss them

with her but further noted that, at his deposition in this case, Colborn testified that any physical

manifestations of his alleged emotion address are so mild that even the woman he lives with is

unable to observe them. See Dkt. 271 ¶ 132.

       129.    At his deposition in this case, Colborn testified that statements by third parties

after the release of MaM harmed his reputation. Dkt. 279-2 (Colborn Tr.) 141:8-20.

       Response: Undisputed. At his deposition in this case, Colborn also admitted that

statements by several third parties during and after the Avery trial defamed him and led to death

threats. See Dkt. 271 ¶ 140.

       130.    Netflix included in MaM commentary by Glynn regarding the jail call Colborn

received. Dkt. 120-2 at 18:20-19:20.

       Response: Undisputed that MaM includes statements of opinion by Glynn regarding the

jail call Colborn received. See Dkt. 271 ¶¶ 35-36; see also, e.g., Dkt. 309 ¶ 9 & Netflix’s

Response.




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Dated: December 9, 2022         Respectfully submitted,

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